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The following constitutes the ruling of the court and has the force and effect therein described.




Signed January 11, 2024
______________________________________________________________________

                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION


         In re:                                                         Chapter 11

         IMPEL PHARMACEUTICALS INC., et al. 1                           Case No. 23-80016 (SGJ)

                                  Debtors.                              (Jointly Administered)


                               ORDER (I)(A) APPROVING THE BID
                              PROCEDURES; (B) AUTHORIZING THE
                    DEBTORS TO SELECT JN BIDCO LLC AS THE STALKING
                         HORSE PURCHASER SUBSTANTIALLY ALONG
                        THE TERMS DEFINED IN THE STALKING HORSE
                           APA AND APPROVING BID PROTECTIONS;
                       (C) ESTABLISHING BID DEADLINES, AN AUCTION,
                    AND A SALE HEARING; (D) APPROVING THE FORM AND
                   MANNER OF SALE NOTICE; (E) APPROVING ASSIGNMENT
                  AND ASSUMPTION PROCEDURES; (F) APPROVING THE FORM
                 AND MANNER OF POTENTIAL ASSUMPTION AND ASSIGNMENT
                 NOTICE; (II)(A) AUTHORIZING THE SALE OF THE ASSETS FREE
             AND CLEAR; AND (B) APPROVING THE ASSUMPTION AND ASSIGNMENT
              OF DESIGNATED CONTRACTS; AND (III) GRANTING RELATED RELIEF




     1
      The Debtors in this chapter 11 case, together with the last four digits of the Debtor’s federal tax identification number,
     are: Impel Pharmaceuticals Inc. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’ service
     address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
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         Upon the motion (“Motion”) 2 of the debtors and debtors in possession in the above-

captioned chapter 11 cases (collectively, the “Debtors”), for entry of an order (this “Order”)

(i)(a) approving the proposed bid procedures attached hereto as Exhibit 1 (the “Bid Procedures”)

in connection with the Sale of all or substantially all of the Debtors’ Assets, (b) authorizing the

Debtors’ to select JN Bidco LLC or its designee as the Stalking Horse Purchaser substantially

along the terms defined in the Stalking Horse APA, attached hereto as Exhibit 2 and approving

the Bid Protections; (c) establishing the dates and deadlines relating to the Bid Deadline, the

Auction, and the Sale Hearing, (d) approving the form and manner of the notice of the Sale, the

Auction, and the Sale Hearing, substantially in the form attached hereto as Exhibit 3 (the “Sale

Notice”), (e) approving the assumption and assignment procedures of executory contracts or

unexpired leases in connection with the Sale (the “Designated Contracts”), substantially in the

form attached hereto as Exhibit 4 (the “Assignment and Assumption Procedures”), and

(f) approving the form and manner of the potential assignment and assumption notice, substantially

in the form attached hereto as Exhibit 5 (the “Assignment Notice”), and (ii) authorizing and

approving (a) the sale of the Assets free and clear of all pledges, liens, security interests,

encumbrances, claims, charges, options, and interests except to the extent otherwise set forth in

the purchase agreement executed by the Debtors and the Winning Bidder, and (b) the assumption

and assignment of Designated Contracts (if any), and (iii) granting related relief, each as more

fully set forth in the Motion; and upon consideration of the First Day Declaration; and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this matter being a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2); and the Court being able to issue a final




2
 Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to them in the
Motion.

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order consistent with Article III of the United States Constitution; and venue of this proceeding

and the Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

appropriate notice of and opportunity for a hearing on the Motion having been given; and the relief

requested in the Motion being in the best interests of the Debtors’ estates, their creditors and other

parties in interest; and the Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor, it is HEREBY FOUND THAT:

       A.      The findings and conclusions set forth in this Order constitute the Court’s findings

of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this

proceeding pursuant to Bankruptcy Rule 9014. To the extent that any of the following findings of

fact constitute conclusions of law, they are adopted as such. To the extent any of the following

conclusions of law constitute findings of fact, they are adopted as such.

       B.      The Bid Procedures attached as Exhibit 1 are fair, reasonable, and appropriate, and

are designed to promote participation and active bidding and ensure that the highest or otherwise

best value is generated for the Assets. The Bid Procedures were negotiated at arm’s length, in

good faith, and without collusion.

       C.      The Stalking Horse APA, attached as Exhibit 2, is the result of extensive, good-

faith, arm’s-length negotiations. The approval of the Stalking Horse Bidder as a “stalking-horse”

bidder and the Stalking Horse APA as a “stalking-horse” sale agreement is in the best interests of

the Debtors and their estates and creditors, and the Debtors have demonstrated compelling and

sound justifications for such relief. The Stalking Horse APA will enable the Debtors to secure a

fair baseline price for the Assets and accordingly will provide a clear benefit to the Debtors’

estates, their creditors and all other parties in interest. The Bid Protections are justified to retain



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the Stalking Horse Purchaser’s commitment to the consummation of the Sale Transaction and to

enable the Debtors to maximize the ultimate purchase price of the Assets.

       D.      The Bid Protections, to the extent due and payable under the Stalking Horse APA,

(i) shall be deemed an actual and necessary cost of preserving the Debtors’ estates within the

meaning of section 503(b) of the Bankruptcy Code and treated as an allowed superpriority

administrative expense claim against the Debtors’ estates pursuant to section 503(b) of the

Bankruptcy Code; (ii) are reasonable and appropriate, including in light of the size and nature of

the sale of the Assets and the commitments that have been made, and efforts that have been and

will be expended by, the Stalking Horse Purchaser notwithstanding that the proposed transaction

may be subject to better and higher offers; (iii) have been negotiated by the parties and their

respective advisors at arm’s-length and in good faith, and (iv) are necessary to ensure that the

Stalking Horse Purchaser will continue to pursue the proposed Sale Transaction. The Bid

Protections under the Stalking Horse APA were a material inducement for, and a condition of the

Stalking Horse Purchaser’s entry into the Stalking Horse APA. The Stalking Horse Purchaser has

provided a material benefit to the Debtors and their creditors by increasing the likelihood that the

best possible purchase price for the Assets will be realized.

       E.      The Sale Notice attached as Exhibit 3 and Assignment Notice attached as Exhibit 5

are appropriate and reasonably calculated to provide all interested parties with timely and proper

notice of the Bid Procedures (including the Bid Deadline, the Auction, and the Sale Hearing), the

Assumption and Assignment Procedures, the Sale, the Designated Contracts (if any) and related cure

amounts, and all relevant and important dates and deadlines with respect to the foregoing. No other

or further notice of the Sale, the Auction, or the assumption and assignment of Designated Contracts

shall be required.



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       F.      The Assumption and Assignment Procedures attached as Exhibit 4 are fair,

reasonable, and appropriate and comply with the provisions of Bankruptcy Code 365.

       G.      The Debtors demonstrated a compelling and sound business justification for this Court

to enter this Order, to approve the Bid Procedures and the Assumption and Assignment Procedures,

and to establish the dates and deadlines set forth in the Bid Procedures.

IT IS HEREBY ORDERED THAT:

       1.      The relief requested in this Motion is GRANTED as set forth herein.

       2.      Any and all objections to the relief granted that have not been withdrawn with

prejudice, waived, or settled, and all reservations of rights included in such objections, are

overruled, and denied on the merits with prejudice.

       3.      The Bid Procedures attached hereto as Exhibit 1 are fully incorporated and

approved in their entirety. All dates and deadlines set forth in the Bid Procedures are hereby

established. The failure to specifically include or reference a particular provision of the Bid

Procedures in this Bid Procedures Order shall not diminish or impair the effectiveness of such

provision.

       4.      The Bid Procedures shall govern the submission, receipt, and analysis of all bids

relating to any proposed sale of the Assets and the conduct of the Auction and sale of the Assets.

Any party desiring to bid on the Assets shall comply with this Order, including the Bid Procedures.

The Debtors are authorized to take all actions as are necessary or appropriate to implement the Bid

Procedures and otherwise effectuate the relief granted in this Order.

       5.      Credit bids shall be permitted to the extent any such credit bid is permitted the

Bankruptcy Code and nonbankruptcy law; provided, however, that any credit bid must include a

cash component equal to or exceeding the amount of the Bid Protections.



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       6.      The Bid Protections are approved and are justified to retain the Stalking Horse

Purchaser’s commitment to the consummation of the Sale Transaction enable the Debtors to

maximize the ultimate purchase price of the Assets. Any amounts that become due and payable,

pursuant to the Bid Protections in accordance with the Stalking Horse APA and this Order shall

constitute a superpriority administrative expense of the Debtors’ estates pursuant to section 503(b)

of the Bankruptcy Code, with priority over any and all administrative expenses of the kind

specified in section 503(b) of the Bankruptcy Code. For the avoidance of doubt, the Stalking

Horse Purchaser shall not be required to include an amount in cash necessary to satisfy the Bid

Protections as part of any Overbid.

       7.      Absent further order of the Court, no person or entity, other than the Stalking Horse

Bidder (solely to the extent set forth in this Order), shall be entitled to any expense reimbursement

or break-up fee or similar protection by the Debtors for submitting a Bid or in any way participating

in the sale process for the Assets.

       8.      The form of the Sale Notice attached as Exhibit 3 is approved. The failure to

specifically include a reference to any particular provision of the Bid Procedures in the Sale Notice

shall not diminish or impair the effectiveness of such provision. The Debtors are authorized to

serve the Sale Notice on all known parties in interest in the chapter 11 case and post the Sale Notice

on the Debtors’ claims, noticing, and solicitation agent’s website for the case.

       9.      Objections to any Sale, including any objection to (a) the Sale of any Assets free

and clear of all pledges, liens, security interests, encumbrances, claims, charges, options, and

interests pursuant to Bankruptcy Code section 363(f), (b) the proposed assumption and assignment

of any executory contract or unexpired lease (including any proposed cure amount), and/or (c)

entry of any Sale Order, must (x) be in writing and specify the nature of such objection, (y) comply



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with the Bankruptcy Code, Bankruptcy Rules, Bankruptcy Local Rules and all orders of the Court,

and (z) be filed with the Court by January 25, 2024, at 4:00 p.m. (prevailing Central Time);

provided, however that any objections solely on the basis of adequate assurance of further

performance by the Winning Bidder or Backup Bidder must be filed in the same manner described

by the foregoing and served on the Objection Notice Parties, as defined in the Assumption and

Assignment Procedures, no later than January 30, 2024, at 4:00 p.m. (CT).

       10.     If any party fails to file an objection by the foregoing deadline, such party shall be

(a) barred from asserting any objection to the relief requested in the Motion or to the consummation

of the Sale, including the transfer of the Assets to the Winning Bidder free and clear of all pledges,

liens, security interests, encumbrances, claims, charges, options, and interests pursuant to

Bankruptcy Code section 363(f) and (b) deemed to consent to such “free and clear” sale for

purposes of Bankruptcy Code section 363(f).

       11.     The Assumption and Assignment Procedures attached as Exhibit 4 are approved.

       12.     As set forth in the Assumption and Assignment Procedures, the Debtors will file

with the Court and serve the Cure Notice on or before January 5, 2024, (the “Initial Cure Notice

Deadline”).   Any objections to the Initial Cure Notice, including the Cure Amount or the

assumption and assignment of any contract or lease included on the Cure Notice must be filed and

served by January 26, 2024, at 4:00 p.m. (prevailing Central Time) (the “Cure Objection

Deadline”).

       13.     As set forth in the Assumption and Assignment Procedures, the Debtors may file

with the Court and serve the Supplemental Cure Notice until such time as the closing of the Sale.

Any objection to the Supplemental Cure Notice, including the Cure Amount, must be filed within




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fourteen (14) days following the date of service of such Supplemental Cure Notice (the

“Supplemental Cure Objection Deadline”).

       14.     The form of the Assignment Notice attached as Exhibit 5 is approved. The Debtors

are authorized to serve the Assignment Notice on all non-Debtor counterparties to Designated

Contracts (if any) as soon as reasonably practicable after the Debtors file the Notice of Winning

Bid.   The inclusion of a contract in any list of Designated Contracts or an Assignment Notice,

Cure Notice (as defined in the Assumption and Assignment Procedures), or Supplemental Cure

Notice (as defined in the Assumption and Assignment Procedures) shall not (a) obligate the

Debtors to assume or assign such contract or (b) constitute any admission or agreement by the

Debtors that such contract is an executory contract. Only those contracts that are included on a

schedule of assumed and acquired contracts attached to definitive documentation in the Sale that

is approved by the Sale Order will be assumed and assigned.

       15.     All persons or entities (whether or not a Qualified Bidder) that participate in the

bidding process shall be deemed to have knowingly and voluntarily (a) consented to the entry of a

final order by this Court in connection with the Motion to the extent that it is later determined that

this Court, absent consent of the parties, cannot enter final orders or judgments in connection

herewith consistent with Article III of the United States Constitution and (b) waived any right to

jury trial in connection with any disputes relating to the any of the foregoing matters.

       16.     Notwithstanding the relief granted herein and any actions taken pursuant to such

relief, nothing in this Order shall be deemed (a) an admission as to the amount of, basis for, or

validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Debtors’ or any party in interest’s rights to dispute any

claim or interest on any grounds; (c) a promise or requirement to pay any claim; (d) a waiver of



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the Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any other

applicable law; (e) an implication or admission that any particular claim is of a type specified or

defined in this order or any other order granting the relief requested in this motion or a finding that

any particular claim is an administrative expense claim or other priority claim; (f) an approval to

assume, adopt, or reject any agreement, contract, program, policy, or lease under section 365 of

the Bankruptcy Code; or (g) an admission as to the validity, priority, enforceability, or perfection

of any lien on, security interest in, or other encumbrance on property of the Debtors’ estates. Any

payment made pursuant to this order is not intended to be nor should it be construed as an

admission as to the validity of any claim or a waiver of the Debtors’ rights to subsequently dispute

such claim.

       17.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion, and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local Rules

are satisfied by such notice.

       18.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

shall be immediately effective and enforceable upon its entry.

       19.     The Debtors are authorized to take all such reasonable actions necessary to

effectuate the relief granted in this Order in accordance with the Motion.

       20.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

                                    # # # END OF ORDER # # #




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Submitted By:

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Proposed Counsel to the Debtors and Debtors
in Possession
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                                  Exhibit 1

                                Bid Procedures
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                         Chapter 11

    IMPEL PHARMACEUTICALS INC., et al. 1                           Case No. 23-80016 (SGJ)

                             Debtors.                              (Jointly Administered)


                                               BID PROCEDURES

       On December 19, 2023 (the “Petition Date”), the debtors and debtors in possession in the
above-captioned chapter 11 cases (collectively, the “Debtors”) filed voluntary petitions for relief
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Northern District of Texas (the “Court”).

        On December 20, 2023, the Debtors filed a motion [Docket No. 18] (the “Bid Procedures
Motion”) with the Court seeking entry of orders, among other things: (i)(a) approving procedures
for the solicitation of bids in connection with the proposed sale of substantially all of the Debtor’s
assets, (these “Bid Procedures”), (b) authorizing the Debtors to select JN Bidco LLC as the
Stalking Horse Purchaser substantially along the terms defined in the Stalking Horse APA and
approving the Bid Protections, (c) establishing the dates and deadlines set forth in these Bid
Procedures, including the Bid Deadline, Auction, and Sale Hearing, (d) approving the form of Sale
Notice, (e) approving the Assumption and Assignment Procedures for the Designated Contracts
(if any), (f) approving the form of Assignment Notice, and (ii)(a) authorizing the sale of the Assets
free and clear of all pledges, liens, security interests, encumbrances, claims, charges, options, and
interests except to the extent otherwise set forth in the purchase agreement executed by the Debtors
and the Winning Bidder and (b) approving the assumption and assignment of Designated Contracts
(if any), and (iii) granting related relief.

       On [•], 2024, the Court entered the Order (I)(A) Approving the Bid Procedures;
(B) Authorizing the Debtors to Selection JN Bidco LLC as the Stalking Horse Purchaser
Substantially Along the Terms Defined in the Stalking Horse APA and Approving Bid Protections;
(C) Establishing Bid Deadlines, an Auction, and a Sale Hearing; (D) Approving the Form and
Manner of Sale Notice; (E) Approving Assignment and Assumption Procedures; (F) Approving the
Form and Manner of Potential Assumption and Assignment Notice; and (II)(A) Authorizing the
Sale of Assets Free and Clear; (B) Approving the Assumption and Assignment of Designated
Contracts; and (III) Granting Related Relief [Docket No. [•]] (the “Bid Procedures Order”), 2

1
 The Debtors in this chapter 11 case, together with the last four digits of the Debtor’s federal tax identification number,
are: Impel Pharmaceuticals Inc. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’ service
address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
2
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Bid Procedures Motion,
the Bid Procedures, and the Bid Procedures Order, as applicable.
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which approved, among other things, the procedures set forth below pursuant to which the Debtors
are authorized to sell all of substantially all of the Debtors’ assets (the “Assets”).

        The Bid Procedures Order also authorized, among other things, the Debtors’ entry into that
certain Asset Purchase Agreement, dated as of December 19, 2023 (as amended, supplemented, or
otherwise modified by the parties thereto, the “Stalking Horse APA”) 3 between the Debtors and
JN Bidco LLC (“JN Bidco” or the “Stalking Horse Purchaser”), pursuant to which, after a
comprehensive marketing and sale process initiated before the commencement of these chapter 11
cases, the Stalking Horse Purchaser has agreed to purchase substantially all of the Assets and to
assume certain liabilities of the Debtors, each as specifically enumerated in the Stalking Horse
APA and subject to the terms and conditions set forth therein. The Stalking Horse APA shall serve
as the stalking horse bid (the “Stalking Horse Bid”) for Assets, subject to higher and better bids in
accordance with the terms and conditions of these Bid Procedures.

       The Debtors are offering interested parties the opportunity to acquire some or all of the
Debtors’ Assets. The Debtors’ representatives shall oversee the Sale (defined below) process.

    ANY PARTY INTERESTED IN PROPOSING A POTENTIAL TRANSACTION
    SHOULD CONTACT THE DEBTORS’ PROPOSED INVESTMENT BANKER,
    MOELIS & COMPANY LLC, IF THEY HAVE ANY QUESTIONS OR NEED
    ADDITIONAL INFORMATION:

                       ASHISH CONTRACTOR (Ashish.Contractor@moelis.com)
                            GABOR SZABO (Gabor.Szabo@moelis.com)
                            BARAK KLEIN (Barak.Klein@moelis.com)
                         ANDREW CARLSON (Andrew.Carlson@moelis.com)
                          PETER WITTWER (Peter.Wittwer@moelis.com)

      I.       KEY DATES

        These Bid Procedures provide interested parties with the opportunity to qualify for, and
participate in, one or more potential Auctions (as defined below) to be conducted by the Debtors
and to submit competing bids (each, a “Bid”) for some or all the Assets. In accordance with
these Bid Procedures, the Debtors will (a) coordinate with each Potential Bidder (as defined
below) regarding the conduct of their respective due diligence, (b) evaluate bids from Potential
Bidders, (c) negotiate any Bid made, and (d) make such other determinations as are provided for
in these Bid Procedures (collectively, the “Bidding Process”).

       The key dates for the sale process are as follows. The Debtors, after consultation with the
Consultation Parties, may extend any of the deadlines in these Bid Procedures.




3
    A copy of the Stalking Horse APA is attached to the Bid Procedures Order as Exhibit 2.
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                                      SALE TRANSACTION MILESTONES

                  EVENT OR DEADLINE                                           DATE AND TIME
                                                                    (ALL IN PREVAILING CENTRAL TIME)
    Petition Date                                           P = 0 (Tuesday, December 19, 2023)
    Bid Procedures Objection Deadline                       7 days prior to the hearing to approve the Bid
                                                            Procedures, at 4:00 pm CT
    Initial Cure Notice Deadline                            P + 17 (January 5, 2024)
    Bid Procedures Hearing                                  P + 22 (January 10, 2024) at 9:30 am
    Service and Publication of Sale Notice                  1 business day after entry of the Bid Procedures
                                                            Order or as soon as reasonably practicable
                                                            thereafter
    Bid Deadline 4                                          P + 35 (January 23, 2024) at 4:00 pm
    Sale Objection Deadline                                 P + 37 (January 25, 2024) at 4:00 pm
    Cure Objection Deadline                                 P + 38 (January 26, 2024) at 4:00 pm
    Determination of Qualified Bids                         As soon as reasonably practicable following the Bid
                                                            Deadline
    Auction (if necessary)                                  P + 41 (January 29, 2024) at 9:00 am
    Deadline to File Notice of Winning Bed                  As soon as reasonably practicable following the
                                                            Auction
    Post-Auction Objection Deadline                         P + 42 (January 30, 2024) at 4:00 pm
    Sale Hearing                                            P + 44 (February 1, 2024) at 9:30 am
    Anticipated Closing Date                                P + 55 (February 12, 2024)

       II.        SUBMISSIONS TO THE DEBTORS; CONSULTATION PARTIES

        All submissions to the Debtors required or permitted to be made under these Bid
Procedures must be directed to each of the following persons or entities unless otherwise provided
(collectively, the “Notice Parties”):

             A.     Debtors: Impel Pharmaceuticals Inc. and Impel NeuroPharma Australia Pty Ltd
                    (attn: Brandon Smith (brandon.smith@teneo.com)).

             B.     Debtors’ Proposed Counsel: Sidley Austin LLP (attn: Rakhee                                     Patel
                    (rpatel@sidley.com) and Jackson T. Garvey (jgarvey@sidley.com));

             C.     Debtors’ Proposed Special Corporate Counsel: Fenwick & West LLP (attn: Alan
                    Smith (acsmith@fenwick.com), Ethan Skerry (eskerry@fenwick.com), and
                    Matthew McCabe (mmccabe@fenwick.com));

             D.     Debtors’ Proposed Investment Banker: Moelis & Company LLC (attn: Ashish
                    Contractor        (Ashish.Contractor@moelis.com),    Gabor       Szabo
                    (Gabor.Szabo@moelis.com), Andrew Carlson (Andrew.Carlson@moelis.com),
                    and Peter Wittwer (Peter.Wittwer@moelis.com); and


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    The Debtors reserve their right, in their own discretion, to move the deadline for the submission of qualified bids.
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          E.     Debtors’ Interim Management Personnel: Brandon Smith of Teneo Capital LLC
                 (attn:    Nathan     Cook    (nathan.cook@teneo.com);     Jeremy      Burr
                 (jeremy.burr@teneo.com)).

       The “Consultation Parties” as used in these Bid Procedures are: (A) Oaktree Fund
Administration, LLC, in its capacity as administrative agent under the Senior Secured Credit
Agreement (as defined in the First Day Declaration) (the “Administrative Agent”) and its advisors,
including Sullivan & Cromwell LLP (the “Secured Creditor Advisors”), so long as no prepetition
secured party has become a bidder in the sale process, and (B) advisors to the Official Committee
of Unsecured Creditors, if any (the “Committee Advisors”)

       If a Consultation Party, in its capacity as such, receives material information in connection
with Bids or bidders in a Sale Transaction process, which information is not provided to all
Potential Bidders in such Sale Transaction process, such party shall be prohibited from being
deemed a Qualified Bidder in connection with such Sale Transaction process, unless such
information is provided to all other Potential Bidders in such Sale Transaction process by the
applicable bid deadline or promptly following receipt of such information by such party.

        In the event that any Consultation Party or an affiliate of the foregoing submits a bid that
is a Qualified Bid, any obligation of the Debtors to consult with the bidding party or its affiliates
established under these Bid Procedures will be waived, discharged, and released without further
action; provided that the bidding party will have the same rights as any other Qualified Bidder set
forth above.

   III.        MARKETING PROCESS

        To facilitate a value-maximizing exit from these chapter 11 cases, the Debtors are
conducting a marketing process for the sale or disposition of all or any portion of the Assets under
section 363 of the Bankruptcy Code (the “Sale”). The Debtors retained Moelis & Company LLC
(“Moelis”), a leading international investment banking and financial advisory firm, in September
2023 to serve as its proposed investment banker. After conducting initial due diligence, the
Debtors, in consultation with Moelis, conducted an extensive prepetition marketing process for
sale of the Debtors’ Assets, as more fully described in the Contractor Declaration.

        Moelis continues to engage with additional potential bidders, and will continue to do so
until a Sale Transaction is approved by this Court. The Debtors may distribute (if not already
distributed) to a person or entity (other than the Stalking Horse Bidder) interested in purchasing
any or all of the Assets (a “Potential Bidder”) an “Information Package” consisting of:

          a.     a copy of the Bid Procedures, the Bid Procedures Order, and the Bid Procedures
                 Motion;

          b.     a form of non-disclosure agreement (“NDA”), substantially in the form attached as
                 Schedule 1, and acceptable to the Debtors; and

          c.     any other materials appropriate under the circumstances.
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   IV.        OVERVIEW

        The Debtors seek to sell substantially all of the Debtors’ Assets. Except as otherwise
provided in any Winning Bidder’s purchase agreement, all of the Debtors’ right, title, and interest
in and to the Assets shall be sold free and clear of all liens, claims, encumbrances and interests
(collectively, the “Encumbrances”) to the maximum extent permitted by section 363 of the
Bankruptcy Code (other than Permitted Liens and Assumed Liabilities), with these Encumbrances
to attach to the proceeds of the Sale with the same validity and priority as such Encumbrances
applied against the Assets.

   V.         POTENTIAL BIDDER REQUIREMENTS

        To receive due diligence information, including full access to the Debtors’ electronic data
room and to additional non-public information regarding the Debtors, or otherwise participate in
the bidding process or be considered for any purpose under the Bidding Procedures, a Potential
Bidder must deliver the following documents (collectively, the “Preliminary Bid Documents”) by
email to the Notice Parties (unless the Debtors, in their business judgment and in consultation with
the Consultation Parties, choose to waive any of the following requirements for any Potential
Bidder):

         a.     an executed NDA on terms acceptable to the Debtors;

         b.     identity of the Potential Bidder, including its legal name, jurisdiction and form of
                organization, and details regarding the ownership and capital structure of the
                Potential Bidder, including details related to the Potential Bidder’s beneficial
                owners, ultimate beneficial owners, and controlling entities, and any of the
                principals, corporate officers, or other representatives that are authorized to appear
                for and act on behalf of the Potential Bidder with respect to the contemplated
                transaction; and description of the nature and extent of any due diligence the
                Potential Bidder wishes to conduct; and

         c.     a description of the due diligence the Potential Bidder seeks to conduct;

         d.     sufficient information, as reasonably determined by the Debtors, in consultation
                with the Consultation Parties, that the Potential Bidder (i) has or may reasonably
                obtain the financial capacity to close the Sale (including current audited or verified
                financial statements of, or verified financial commitments obtained by, the
                Potential Bidder (or, if the Potential Bidder is an entity formed for the purpose of
                acquiring the property to be sold, the party that will bear liability for a breach) as
                well as an overview of any recent transactions), the adequacy of which must be
                acceptable to the Debtors; and

         e.     sufficient information, as reasonably determined by the Debtors, that the Potential
                Bidder has the ability to receive any and all necessary governmental, licensing,
                regulatory, and other approvals.
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        Promptly after a Potential Bidder delivers Preliminary Bid Documents, the Debtors shall
(i) determine and notify each Potential Bidder as to whether such Potential Bidder has submitted
acceptable Preliminary Bid Documents, (ii) provide copies of any such notices to the Notice Parties
and the Stalking Horse Purchaser, and (iii) provide copies of any such Preliminary Bid Documents
to the Consultation Parties. Only those Potential Bidders that have submitted acceptable
preliminary documentation (each, an “Acceptable Bidder”) to the reasonable satisfaction of the
Debtors and their advisors, in consultation with the Consultation Parties, may submit bids to
purchase the Assets.

      VI.     DUE DILIGENCE

        The Debtors will provide instructions to Acceptable Bidders for accessing the virtual data
room established by Moelis in connection with the Sale Transaction process (the “Data Room”).
The Debtors will address all reasonable requests for additional information and due diligence
access. The Debtors may refuse any party access to due diligence information, including access
to the Data Room, in whole or in part and at any time, if the Debtors determine in their reasonable
business judgment after consultation with counsel that (i) access by such party may be harmful to
the Debtors or their estates or (ii) such party has not established that it intends or has the capacity
to consummate a Sale Transaction for the Assets in good faith.

        The due diligence period and the Data Room shall be open until the Bid Deadline (as
defined below). After the Bid Deadline, the Debtors shall have no obligation to furnish due
diligence information. The Debtors may, in the exercise of their reasonable business judgment
and in consultation with their counsel and the Consultation Parties, extend a party’s time to conduct
due diligence.

        The Debtors make no representation or warranty as to the information provided through
this due diligence process or otherwise, including the documents in the Data Room, except as set
forth in any executed definitive documents for the Sale.

       Each Acceptable Bidder and Bidder (as defined below) shall comply with all reasonable
requests with respect to information and due diligence access by the Debtors or their advisors
regarding such Acceptable Bidder or Bidder, as applicable, and its contemplated Sale Transaction.

II.         NO COMMUNICATIONS AMONG BIDDERS

        There shall be no communications regarding potential Bids, a potential Sale Transaction,
or another potential transaction between or among any bidders, including the Stalking Horse
Purchaser, unless the Debtors have previously authorized such communication in writing (such
authorization, for the avoidance of doubt, email from the Debtors’ counsel being sufficient).
The Debtors reserve the right, in their reasonable business judgment, to disqualify any bidder that
the Debtors believe in their reasonable judgment has communicated with another bidder in
violation of these Bid Procedures.

        For the avoidance of doubt, the joining of Bids between Potential Bidders or Acceptable
Bidders is permitted; provided that, if any Potential Bidders or Acceptable Bidders are interested
in joining Bids, the Debtors’ advisors will facilitate the communications between such parties and
the potential joining of Bids.
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   VII.        INDICATIONS OF INTEREST

        The Debtors reserve the right to require Acceptable Bidders to submit written indications
of interest prior to the Bid Deadline specifying, among other things, the Assets proposed to be
acquired, the amount and type of consideration to be offered, and any other material terms to be
included in a bid by such party; provided that the Consultation Parties shall have the right to review
any indications of interest received by the Debtors. If an Acceptable Bidder fails to comply with
any such request by the Debtors, the Debtors may deny such Acceptable Bidder further diligence
access or deny such Acceptable Bidder further participation in the Auction process. The Debtors
also reserve the right to exclude any Acceptable Bidder (prior to its submission of a Qualified Bid)
from continuing in the Auction process if the Debtors determine that the consideration proposed
to be paid by such Acceptable Bidder is insufficient.

   VIII. BID DEADLINES

       Bids (including all requirements to be considered a Qualified Bid (defined below)) must
be submitted in writing to the Notice Parties so as to be actually received by no later than January
23, 2024 at 4:00 pm (prevailing Central Time) (the “Bid Deadline”).

   IX.         QUALIFIED BID REQUIREMENTS

       Only bids (“Bids”) and bidders that satisfy the following conditions will be considered or
permitted to participate in the bidding, Auction, or Sale (each, a “Qualified Bid”) and the bidder(s)
submitting a Qualified Bid, a “Qualified Bidder”):

          a.      Timeliness. The Bid must be in writing and timely and properly submitted in
                  accordance with the Bid submission process set forth below, including successful
                  and timely delivery of the Good Faith Deposit (defined below).

          b.      Identity of Bidder. The Bid must fully disclose the identity of each person or
                  entity that is participating in the Bid (and the complete terms of such participation)
                  and each such person or entity shall have delivered an executed NDA to the Debtors
                  in accordance with the instructions set forth above. “Participation” in a Bid
                  includes persons or entities that are equity holders in an entity specially formed
                  for the purpose of effectuating a Sale Transaction for the Assets.

          c.      Proposed Transaction Perimeter and Purchase Price. The Bid must propose a
                  Sale Transaction for substantially all of the Debtors’ Assets or identify with the
                  precision customary for a sale of this type the Assets included in such Bid and
                  identify (a) the cash consideration to be paid (or the amount of any credit bid as
                  allowed herein) for the Assets included in the Bid and (b) any liabilities to be
                  assumed as part of the proposed acquisition, including a reasonable estimate of
                  the cash value thereof (clauses (a) and (b) together, the “Proposed Purchase
                  Price”).

          d.      Proposed APA. The Bid must state that the bidder is prepared to consummate the
                  transaction promptly following entry of an order approving the Sale and be
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           accompanied by (a) a purchase and sale agreement executed by the bidder (the
           “Proposed APA”), a form of which will be available in the Data Room (the “Form
           APA”), (b) a redline of the Proposed APA against the Form APA, and (c) evidence
           of authorization and approval from the board (or comparable governing body) of
           each person or entity participating in the Bid with respect to the submission,
           execution, delivery, and performance of the Bid and Proposed APA.

     e.    Lack of Contingencies; Binding Bid. The Bid must be (a) unqualified and not
           subject to any contingencies or conditions (including any further due diligence,
           material financing conditions, internal approval (such as but not limited to board
           approval)) and (b) include a written commitment by the applicable Potential
           Bidder to serve as Backup Bidder in the event that such Bid is not selected as the
           Winning Bid and will be binding and irrevocable until (i) if such bid is the Winning
           Bid or a Backup Bid, the earlier of (x) the closing of the Sale or (y) 45 days after
           the conclusion of the Auction (or, if no Auction is held, 45 days after the date on
           which the Debtors file a notice of cancellation of Auction) or (ii) two (2) business
           days after entry of an order approving the Winning Bid and (if applicable) the
           Backup Bid for the applicable Assets (such order, a “Sale Order”).

     f.    Regulatory and Third-Party Approvals. The Bid must set forth each regulatory
           and third-party approval required for the bidder to consummate the proposed Sale
           Transaction(s), if any, and the date by which the bidder expects to receive such
           approvals, and those actions the bidder will take to ensure receipt of such
           approvals as promptly as possible.

     g.    Adequate Assurance Information. The Bid must include financial and other
           information sufficient for the Debtors, in consultation with the Consultation
           Parties, to make a reasonable determination as to the bidder’s financial and other
           capabilities to consummate the transactions contemplated by the Proposed APA
           by no later than February 12, 2024, including (a) the availability of funds to satisfy
           the Proposed Purchase Price and (b) information constituting adequate assurance
           of future performance under contracts and leases to be assumed pursuant to section
           365 of the Bankruptcy Code (if any) (“Adequate Assurance Information”), which
           information the Debtors may request be supplemented or altered such that it can be
           served on counterparties to any contracts or leases to be assumed and assigned in
           connection with the Sale that request such information. Provision of the Adequate
           Assurance Information to the Debtors shall, and shall be deemed to, constitute
           consent by the bidder for the Debtors to share such Adequate Assurance
           Information with the counterparties under Potential Assumed Contracts and
           Designated Contracts on a confidential basis; provided that the Debtors shall not
           be required to enter into any nondisclosure or similar agreement with such
           counterparties to provide the Adequate Assurance Information and shall not be
           liable for such counterparties’ failure to abide by the confidentiality of the
           Adequate Assurance Information.

     h.    Identification of Assigned Contracts.         The Bid must identify any and all
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                executory contracts and unexpired leases to which the Debtors are a party that the
                bidder wishes to have assumed and assigned to it in connection with the Sale (if
                any). The bidder shall be solely responsible for the payment of any cure costs
                required pursuant to section 365 of the Bankruptcy Code.

        i.      Management and Employee Obligations. Each Bid must indicate whether the
                bidder intends to hire all or some of the employees who are primarily employed in
                connection with the Assets to be included in the proposed Sale Transaction.

        j.      As-is, Where-is. Each Bid must include a written acknowledgement and
                representation that the bidder: (1) has had an opportunity to conduct any and all
                due diligence regarding the proposed Sale Transaction(s) prior to making its offer;
                (2) has relied solely upon its own independent review, investigation, or inspection
                of any documents in making its Bid; (3) did not rely upon any written or oral
                statements, representations, promises, warranties, or guaranties whatsoever,
                whether express, implied by operation of law, or otherwise, by the Debtors or their
                advisors or other representatives regarding the Sale Transaction or the
                completeness of any information provided in connection therewith or the Auction
                (if any); and (4) did not engage in any collusive conduct and acted in good faith in
                submitting its Bid.

        k.      Expected Closing Date. Each Bid must state the Acceptable Bidder’s expected
                date of closing the applicable Sale.

        l.      Lack of Bid Protections. Unless consented to in writing by the Debtors and
                approved by the Court (and excluding the Stalking Horse Bid), the Bid must not
                request or entitle the bidder to any break-up fee, topping fee, expense
                reimbursement, or similar type of payment (and by submitting a bid, a bidder shall
                be deemed to have waived its right to pursue a substantial contribution claim under
                section 503 of the Bankruptcy Code in any way related to the submission of its bid
                or these Bid Procedures) or indemnification by the Debtors in favor of the bidder.

        m.      Bidder’s Contact Information. The Bid must include contact information for
                the specific person(s) the Debtors should contact in the event they have questions
                regarding the bid.

        By submitting a Bid, a bidder is deemed to acknowledge (and shall represent in any
definitive document) that (i) it has had an opportunity to inspect and examine the Assets and to
conduct any and all due diligence prior to submitting its bid, (ii) it has relied solely upon its own
independent review, investigation, and/or inspection of the Assets and any documents in
submitting its bid, (iii) it did not rely upon any written or oral statements, representations,
promises, warranties, or guaranties whatsoever, whether express or implied by operation of law or
otherwise, regarding the Debtors’ business, the Assets, or the completeness of any information
provided in connection with the Bid Procedures or the Sale process.

      By submitting a Bid, each bidder is agreeing, and shall be deemed to have agreed, to abide
by and honor the terms of the Bid Procedures and to refrain from (A) submitting a Bid after
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conclusion of the Auction (if any) or (B) seeking to reopen the Auction (if any) once closed. The
submission of a Bid shall constitute a binding and irrevocable offer (a) for the Winning
Bidder(s), until consummation of the Sale Transaction(s), (b) for the Backup Bidder (if any),
as provided in these Bid Procedures, as provided herein, and (c) for any Bidder other than
the Winning Bidder(s) and Backup Bidder, until two (2) business days after entry of an order
approving the Winning Bid and (if applicable) the Backup Bid for the applicable Assets (such
order, a “Sale Order”), and each Bid must include a written acknowledgement and
representation to such effect.

        As soon as reasonably practicable following the Bid Deadline, the Debtors, in consultation
with the Consultation Parties, shall determine which Acceptable Bidders are Qualified Bidders and
will notify the Acceptable Bidders whether Bids submitted constitute Qualified Bids, which will
enable such Qualified Bidders to participate in the Auction. Any Bid that is not deemed a Qualified
Bid shall not be considered by the Debtors; provided that if the Debtors receive a Bid prior to the
Bid Deadline that does not satisfy the requirements of a Qualified Bid, the Debtors may provide
the Acceptable Bidder with the opportunity to remedy any deficiencies prior to the Auction. The
Stalking Horse Purchaser shall be deemed to be a Qualified Bidder, the Stalking Horse Bid shall
be deemed a Qualified Bid, and the Stalking Horse Purchaser may participate in the Auction with
respect to the Assets.

        The Debtors and their advisors shall maintain in confidence in accordance with the
applicable executed NDA any information provided by a bidder that is designated as confidential,
except as otherwise set forth in these Bid Procedures, and shall use such confidential information
only in connection with the evaluation of Bids or otherwise in connection with the chapter 11 case
or in accordance with the executed NDA. Notwithstanding the foregoing and any provisions in an
executed NDA, the Debtors and Debtors’ advisors may disclose confidential information (i) with
the prior written consent of the applicable bidder, (ii) to the applicable bidder, and (iii) as otherwise
required or allowed by any applicable confidentiality agreement with respect to a particular bidder
or other agreement, law, court, or other governmental order, or regulation, including, as
appropriate, regulatory agencies.

    X.      BID SUBMISSION AND EVALUATION PROCESS; GOOD FAITH DEPOSITS

       Concurrent with the submission of its Bid, and in no event later than the Bid Deadline, a
bidder must deposit with the Debtors in cash 2.6% of the bidder’s Proposed Purchase Price (the
“Good Faith Deposit”), which shall be refundable as described below. Bank information for the
Debtors will be included in the Data Room. The Debtors, in their business judgment, after
consultation with the Consultation Parties, may elect to waive or modify the requirement of a Good
Faith Deposit on a case-by-case basis.

        Each bidder shall comply with all reasonable requests by the Debtors for additional
information and due diligence access regarding the ability of a bidder to consummate the Sale. A
bidder’s failure to comply with such requests may be a basis for the Debtors to determine such
bidder is not a Qualified Bidder and the associated Bid is not a Qualified Bid.

       Notwithstanding anything herein to the contrary, the Debtors, in consultation with the
Consultation Parties, reserve the right to work with (A) Potential Bidders and Acceptable Bidders
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to aggregate two or more Bids into a single consolidated Bid prior to the applicable Bid Deadline
and (B) Qualified Bidders to aggregate two or more Qualified Bids into a single Qualified Bid
prior to the conclusion of the Auction (if any). The Debtors reserve the right to cooperate with
any Acceptable Bidder to cure any deficiencies in a Bid that is not initially deemed to be a
Qualified Bid. The Debtors may accept a single Qualified Bid or multiple Bids that, if taken
together in the aggregate, would otherwise meet the standards for a single Qualified Bid (in which
event those multiple bidders shall be treated as a single Qualified Bidder and their Bid a single
Qualified Bid for purposes of the Auction (if any)).

        The Debtors shall determine, in their reasonable business judgment, in consultation with the
Consultation Parties, (i) which Bids meet the criteria to qualify as a Qualified Bid and (ii) if there
is more than one Qualified Bid, which Qualified Bid will serve as the baseline Bid at the
commencement of the Auction to facilitate obtaining the highest and best value for the Debtors’
estates. Any Bid that does not meet the criteria for a Qualified Bid set forth above shall be rejected
as a non-conforming bid.

       The Debtors shall determine, in their reasonable judgment after consultation with the
Debtors’ financial and legal advisors, and the Committee, if any, and with the Administrative
Agent’s consent, so long as no prepetition secured party has submitted a Qualified Bid and with
such consent not to be unreasonably withheld, which of the Qualified Bids is likely to result in the
highest and best value to the Debtors’ estates (the “Initial Highest Bid”).

        Not later than 24 hours before the commencement of the Auction, to the extent feasible,
the Debtors will provide to those participating in the Auction (the “Auction Participants”) and the
Consultation Parties a copy of the Initial Highest Bid. To allow the Auction Participants to
evaluate the Initial Highest Bid, the Debtors shall use commercially reasonable efforts to disclose
the value that, in their business judgment, and with the Administrative Agent’s consent, so long as
no prepetition secured party has submitted a Qualified Bid and with such consent not to be
unreasonably withheld, and in consultation with the Committee, if any, they place on the Initial
Highest Bid. The Debtors shall also use commercially reasonable efforts to disclose to each
Auction Participant the value that, in their business judgment, they place on such Auction
Participant’s Qualifying Bid.

   XI.     STALKING HORSE AND BID PROTECTIONS

        Notwithstanding anything herein to the contrary, the Stalking Horse Purchaser shall not be
required to submit an additional Qualified Bid prior to the Auction. To provide the Stalking Horse
Purchaser with an incentive to participate in a competitive process and to compensate the Stalking
Horse Purchaser for (i) performing substantial due diligence and incurring the expenses related
thereto and (ii) entering in the Stalking Horse APA with the knowledge and risk that arises from
participating in the sale and subsequent bidding process, the Debtors have agreed to, pursuant to
the terms of the Bid Protections Order and the Stalking Horse APA, (x) a break-up fee (the “Break-
Up Fee”) equal to $450,000 and (y) the reimbursement from the Debtors of reasonable,
documented out of pocket fees, costs and expenses of the Stalking Horse Purchaser incurred in
connection with the Stalking Horse APA up to an amount equal to $300,000, each as and to the
extent more fully described in the Stalking Horse APA (the “Expense Reimbursement,” and
together with the Break-Up Fee, the “Bid Protections”).
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   XII.     NO QUALIFIED BIDS

    If no Qualified Bids other than the Stalking Horse Bid are received by the Bid Deadline, then
the Debtors shall cancel the Auction and designate the Stalking Horse Bid as the Winning Bid, and
pursue entry of a Sale Order approving the Sale to the Stalking Horse. If the Debtors make such
a determination, the Debtors shall file a notice with the Bankruptcy Court within one (1) business
day of making such determination.

   XIII. AUCTION

       If the Debtors receive more than one timely Qualified Bid, the Debtors shall conduct an
auction (the “Auction”) at 9:00 A.M. (prevailing Central Time) on January 29, 2024 (which
date may be modified by the Debtors in their business judgment with the consent of the
Administrative Agent) virtually or at such other place as agreed by the Debtors, the Administrative
Agent, and Committee, or approved by order of the Court, and of which the Debtors will notify
the Auction Participants. The Auction will be subject to the following rules:

       a.      Attendance and Participation. Only Qualified Bidders may participate in or
               make subsequent Bids at the Auction. Only the Debtors, Qualified Bidders,
               Consultation Parties, the United States Trustee, and such parties’ representatives
               and advisors may attend the Auction; provided that Qualified Bidders may appear
               through a duly authorized representative bearing a valid and enforceable power of
               attorney or other written proof evidencing their ability to bind the applicable
               Qualified Bidder, which document(s) shall be delivered to the Debtors prior to the
               commencement of the Auction.

       b.      Confirmation of Good Faith. Each Qualified Bidder will be required to confirm
               on the record at the Auction that (a) it has not engaged in any collusion with respect
               to the bidding or Sale and (b) its Qualified Bid and any subsequent Bid, is a good-
               faith bona fide offer and it intends to consummate the proposed sale if selected as
               a Winning Bidder.

       c.      Transcript. The Debtors shall maintain a written transcript of all Bids made and
               announced at the Auction, including the Baseline Bid, all Overbids, and the
               Winning Bid (and Backup Bid, as applicable).

       d.      Terms of Overbids.

                   a. Minimum Overbid Requirement. The Auction will begin at the Initial
                      Highest Bid, and each Qualified Bidder may submit subsequent Bids for the
                      Proposed Purchase Price in minimum overbid increments of at least
                      $250,000 over the amount of the Proposed Purchase Price in the highest or
                      otherwise best Bid at that time (“Overbids”); provided that if the Stalking
                      Horse Bid is the Initial Highest Bid, the initial overbid amount shall be also
                      include an amount necessary, in the Debtors’ determination, to satisfy the
                      Stalking Horse Purchaser’s Bid Protections in cash; and provided further that
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                  the Debtors, in consultation with their advisors and the Consultation Parties,
                  shall retain the right to modify the overbid increment at the Auction without
                  any additional or prior notice.

              b. Conclusion of Each Overbid Round. Upon the solicitation of each round of
                 Overbids, the Debtors may announce a deadline by which time any
                 Overbids must be submitted to the Debtors (an “Overbid Round Deadline”);
                 provided that the Debtors, in their reasonable business judgment and in
                 consultation with the Consultation Parties, may extend any Overbid Round
                 Deadline.

              c. Overbid Alterations. An Overbid may contain alterations, modifications,
                 additions, or deletions of any terms of the Bid no less favorable in the
                 aggregate to the Debtors’ estates than any prior Qualified Bid or Overbid,
                 as determined in the Debtors’ business judgment, in consultation with the
                 Consultation Parties, but shall otherwise comply with the terms of the Bid
                 Procedures. For the avoidance of doubt, the Stalking Horse Purchaser shall
                 not be required to include an amount in cash necessary to satisfy the Bid
                 Protections as part of any Overbid.

              d. Announcing Highest Bid. Subsequent to each Overbid Round Deadline, the
                 Debtors shall announce whether the Debtors, with the Administrative
                 Agent’s consent, so long as no prepetition secured party has submitted a
                 Qualified Bid and with such consent not to be unreasonably withheld, have
                 identified an Overbid as being higher or otherwise better than the Starting
                 Bid, in the initial Overbid round, or, in subsequent rounds, the Overbid
                 previously designated by the Debtors as the prevailing highest or otherwise
                 best Bid (the “Prevailing Highest Bid”). The Debtors shall describe to all
                 applicable Qualified Bidders the material terms of any new Overbid
                 designated by the Debtors as the Prevailing Highest Bid, as well as the value
                 attributable by the Debtors to such Prevailing Highest Bid.

     e.    Consideration of Overbids. The Debtors reserve the right, in their business
           judgment, in consultation with the Consultation Parties, to adjourn the Auction one
           or more times, to, among other things (1) facilitate discussions between the Debtors
           and Qualified Bidders, (2) allow Qualified Bidders the opportunity to consider how
           they wish to proceed, and (3) provide Qualified Bidders the opportunity to provide
           the Debtors with such additional evidence as the Debtors, in their business
           judgment, may require, that the Qualified Bidder has sufficient internal resources
           or has received sufficient non-contingent financing commitments to consummate
           the proposed Sale Transaction(s) at the prevailing Overbid amount.

     f.    No Round-Skipping. To remain eligible to participate in the Auction, in each
           round of bidding, each Qualified Bidder must submit an Overbid with respect to
           such round of bidding and to the extent a Qualified Bidder fails to submit an
           Overbid with respect to such round of bidding, such Qualified Bidder shall be
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           disqualified from continuing to participate in the Auction; provided that the Debtors
           may waive such requirement in their business judgment.

     g.    Reimbursable Expenses for the Stalking Horse Purchaser. For the Auction, the
           Debtors will take into account the Bid Protections in each round of bidding. The
           Bid Protections shall be payable as set forth in the Bid Procedures Order.

     h.    Closing the Auction. The Auction shall continue until there is only one Qualified
           Bid that the Debtors determine, in their business judgment and in consultation with
           their advisors and the Committee, if any, and with the consent of the Administrative
           Agent, so long as no prepetition secured party has submitted a Qualified Bid and
           with such consent not to be unreasonably withheld, to be the highest or otherwise
           best Qualified Bid for the applicable Assets. Such Qualified Bid shall be designated
           the “Winning Bid” for such Assets and the Qualified Bidder submitting such
           Qualified Bid shall be designated the “Winning Bidder,” at which time the Auction
           with respect to such Assets shall be closed. The Debtors, in consultation with their
           advisors and the Consultation Parties, may also designate a bid that is the next
           highest or otherwise best after the Winning Bid (the “Backup Bid”) and the Qualified
           Bidder submitting the Backup Bid shall be the backup bidder (the “Backup
           Bidder”). In no case shall such Auction close unless and until all Qualified Bidders
           have been given a reasonable opportunity to submit an Overbid at the Auction to
           the then Prevailing Highest Bid. The Debtors’ designation of a Qualified Bid as a
           Winning Bid (or Backup Bid, as applicable) shall be subject to and conditioned on
           the Bankruptcy Court’s approval of such Winning Bid (or Backup Bid, as
           applicable) and the Sale Transaction(s) contemplated thereby. As soon as
           reasonably practicable after the designation of a Winning Bid (or Backup Bid, as
           applicable), the Debtors shall finalize definitive documentation to implement the
           terms of such Winning Bid (or Backup Bid, as applicable) and cause such definitive
           documentation to be filed with the Bankruptcy Court.

     i.    Credit Bidding. Any party that has a valid and perfected lien on any of the Assets
           (a “Secured Creditor”) shall have the right to credit bid all or any portion of the
           Secured Creditor’s claim on a dollar-for-dollar basis pursuant to section 363(k) of
           the Bankruptcy Code; provided that a Secured Creditor shall have the right to credit
           bid its claim only with respect to the collateral by which such Secured Creditor is
           secured and only to the extent such credit bid is permitted under any relevant
           agreements and the Bankruptcy Code; provided further, however, that any credit
           bid must include a cash component equal to or exceeding the amount of the Bid
           Protections. Subject to Section II of these Bid Procedures, any Secured Creditor
           shall be deemed to be a Qualified Bidder, shall be deemed to have submitted a
           Qualified Bid, and may participate in the Auction with respect to the assets,
           provided that no other party other than the Administrative Agent may credit bid on
           the Collateral (as defined in the Cash Collateral Order) unless the entire amount of
           the allowed prepetition term loan secured indebtedness will be paid in full in cash
           on the closing of such credit bid transaction.

     j.    Rejection of Bids.     The Debtors in their reasonable business judgment, in
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               consultation with the Consultation Parties, may reject, at any time before entry of
               an order of the Bankruptcy Court approving a Successful Bid (or Backup Bid, as
               applicable), any Bid that the Debtors determine is (1) inadequate or insufficient, (2)
               not in conformity with the requirements of the Bankruptcy Code and/or the Bid
               Procedures, or (3) contrary to the best interests of the Debtors, their estates, their
               creditors, and other stakeholders.

       k.      Adjustment of Deposit. The Winning Bidder(s) and Backup Bidder(s) shall have
               one (1) business day from the announcement of the Winning Bid and Backup Bid
               to deposit with the Debtors in cash an amount sufficient to increase such bidder’s
               Good Faith Deposit to 10% of the Proposed Purchase Price provided for in the
               Winning Bid or Backup Bid, as applicable.

       l.      Announcement of Winning Bid and Backup Bid. As soon as reasonably
               practicable after conclusion of the Auction, the Debtors shall file with the Court a
               notice of the results of the Auction (the “Notice of Winning Bid”), which shall
               include (i) a copy of the Winning Bid and Backup Bid, (ii) the identities of the
               Winning Bidder(s) and Backup Bidder(s), and (iii) a list of all executory contracts
               and unexpired leases proposed to be assumed and assigned as part of the Sale (if
               any) and the cure cost pursuant to section 365(b) associated with each.

        The Debtors, in consultation with the Consultation Parties, may adopt such other rules for
the Auction (including procedural rules and rules that may depart from those set forth herein) that
they reasonably determine will result in the highest or otherwise best value for the Debtors’ estates
and that are not inconsistent with any Court order; provided that any changed or additional rules
of the Auction are not materially inconsistent with these Bid Procedures, do not favor one Qualified
Bidder over another, and are communicated to all participants substantially simultaneously at or
prior to the Auction.

   XIV. SALE

        A hearing to approve the Sale of the Assets to the Winning Bidder(s) in accordance with
the terms of the Winning Bid and pursuant to the Proposed APA associated therewith (the “Sale
Hearing”) will take place on February 1, 2024 at 9:30 A.M. (prevailing Central time).

            a. If, for any reason, a Winning Bidder fails to timely consummate the purchase of the
               Assets, the Debtors, in consultation with the Committee, if any, and with the
               Administrative Agent’s consent, not to be unreasonably withheld, may seek to
               consummate a Sale to the Backup Bidder in accordance with the terms of the
               Backup Bid and pursuant to the Proposed APA associated therewith without further
               approval by the Court (in which case the Backup Bidder shall be deemed the
               Winning Bidder).

            b. If a Winning Bidder fails to timely consummate the purchase of the Assets due to
               a breach or failure to perform on the part of the Winning Bidder, the defaulting
               Winning Bidder’s Good Faith Deposit shall be forfeited to the Debtors and the
               Debtors specifically reserve the right to seek all available damages from the
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               defaulting Winning Bidder.

           c. The Backup Bid(s) and the obligation of the Backup Bidder(s) to consummate the
              purchase of the Assets shall remain open and in full force, including with respect
              to the Backup Bidder’s Good Faith Deposit, until the earlier of (a) the closing of a
              Sale of the Assets to a Winning Bidder or Backup Bidder or (b) 45 days after the
              conclusion of the Auction (or, if no Auction is held, 45 days after the date on which
              the Debtors file a notice of cancellation of Auction).

           d. The Winning Bidder(s) and Backup Bidder(s) shall appear at the Sale Hearing
              personally or through a duly authorized representative who shall be prepared to
              testify in support of the Winning Bid(s) and the Winning Bidder’s, or Backup
              Bid(s) and Backup Bidder’s, ability to close the Sale in a timely manner and provide
              adequate assurance of future performance under any and all executory contracts and
              unexpired leases to be assumed and assigned as part of the Sale.

        Any objections to the proposed Sale, including objections to the proposed assumption and
assignment of any executory contract or unexpired lease (including any proposed cure cost), must
be filed with the Court no later than January 25, 2024 at 4:00 pm (prevailing Central time);
provided, however that any objections solely on the basis of adequate assurance of future
performance by the Winning Bidder or Backup Bidder must be filed no later than January 30,
2024, at 4:00 p.m. (CT).

       The Debtors and the Winning Bidder(s) shall consummate the Sale no later than February
12, 2024. At the closing of the Sale, the Winning Bidder(s) will be entitled to a credit for the
amount of its Good Faith Deposit.

   XV.     RETURN OF GOOD FAITH DEPOSITS

        The Good Faith Deposits shall be held in a non-interest-bearing account established and
held by, and in the name of, the Debtors. The Good Faith Deposits are not property of the Debtors
or their estates.

       Within five (5) business days of determining a Bid does not qualify as a Qualified Bid, the
Debtors shall return by check or wire the full amount of the Good Faith Deposit submitted in
connection with such non-qualified Bid. Within five (5) business days of the conclusion of the
Auction, the Debtors shall return by check or wire the full amount of each Good Faith Deposit
submitted by a party that is not selected as the Winning Bidder(s) or Backup Bidder(s).

        Unless a Sale is consummated with such bidder or the Good Faith Deposit is forfeited as
provided above, the full amount of the Winning Bidder’s or Backup Bidder’s Good Faith Deposit,
as applicable, shall be returned by check or wire within five business days of earlier of (i) the
closing of the Sale or (ii) 45 days after the conclusion of the Auction (or, if no Auction is held, 45
days after the date on which the Debtors file a notice of cancellation of Auction).

       All Good Faith Deposits shall be returned within five business days of the entry of an order
dismissing or converting the chapter 11 case under section 1112 of the Bankruptcy Code if such
dismissal or conversion occurs prior to the consummation of a Sale.
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    XVI. BID PROTECTIONS

         No bidder, whether or not a Qualified Bidder, shall be entitled to bid protections, other than
those Bid Protections provided for in the Stalking Horse APA for the Stalking Horse Purchaser,
unless consented to in writing by the Debtors and approved by the Court. The Debtors reserve
the right to seek, in consultation with their advisors and the Consultation Parties, approval of bid
protections from the Court on emergency notice to the extent the Debtors determine, in their
business judgment, that such bid protections are necessary or advisable under the circumstances
to facilitate obtaining the highest and best value for the Debtors’ estates.

    XVII. RESERVATION OF RIGHTS

       The Debtors reserve their rights to modify these Bid Procedures in their business judgment,
subject to the consent of the Administrative Agent, not to be unreasonably withheld, and in
consultation with the Committee, if any, in any manner that will best promote the goals of these
Bid Procedures or impose additional customary terms and conditions on the Sale, including
extending the deadlines set forth herein, adjourning the Auction or the Sale Hearing, adding
procedural rules that are reasonably necessary or advisable under the circumstances to conduct the
Auction, cancelling the Auction, and rejecting any or all Bids or Qualified Bids.

    XVIII. CONSENT TO JURISDICTION

       All Qualified Bidders at the Auction shall be deemed to have consented to the jurisdiction
of the Court and waived any right to a jury trial in connection with any disputes relating to the
Auction or the construction and enforcement of these Bid Procedures.

    XIX. FIDUCIARY DUTIES

        Notwithstanding anything to the contrary in the Bid Procedures or any document filed with
or entered by the Bankruptcy Court, nothing in the Bid Procedures or the Bid Procedures Order
shall require a Debtor or its board of directors, board of managers, or similar governing body to
take any action or to refrain from taking any action with respect to any Sale Transaction(s) or the
Bid Procedures to the extent such Debtor or governing body determines in good faith, in
consultation with counsel, that taking or failing to take such action, as applicable, would be
inconsistent with applicable law or its fiduciary obligations under applicable law.

         Further, notwithstanding anything to the contrary in the Bid Procedures or any document
filed with or entered by the Bankruptcy Court, until the closing of the Auction (if any), the Debtors
and their respective directors, managers, officers, employees, investment bankers, attorneys,
accountants, consultants, and other advisors or representatives shall have the right to: (A) consider,
respond to, and facilitate unsolicited alternate proposals for sales or other transactions involving
any or all of the Assets (each, an “Alternate Proposal”); (B) provide access to non-public
information concerning the Debtors to any entity or enter into reasonable and customary
confidentiality agreements or nondisclosure agreements with any entity; (C) maintain or continue
discussions or negotiations with respect to Alternate Proposals; (D) otherwise cooperate with,
assist, participate in, or facilitate any inquiries, proposals, discussions, or negotiations of Alternate
Proposals; and (E) enter into or continue discussions or negotiations with any person or entity
regarding any Alternate Proposals.
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Dated: January 9, 2024
Dallas, Texas                                SIDLEY AUSTIN LLP

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                                             Proposed Counsel to the Debtors and Debtors in
                                             Possession
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                                   SCHEDULE 1

                                     Form NDA
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                                                  [DATE]


                                            CONFIDENTIAL

  [Interested Party]
  [Address Line 1]
  [Address Line 2]

  Ladies and Gentlemen:

          In connection with the consideration of a possible negotiated transaction (a “Transaction”)
  between [Interested Party] (“[Name]” or “you”) and Impel Pharmaceuticals, Inc., a Delaware
  corporation (and/or Impel NeuroPharma Australia Pty Ltd (each, a “Debtor,” collectively the
  “Debtors” or the “Company,” and, together with [Name], the “Parties” and each of them, a
  “Party”)), the Company has furnished or may furnish to you certain information that is proprietary,
  non-public and/or confidential concerning it, its affiliates or subsidiaries and/or its business,
  including Confidential Information (as defined below in Section 1).

           1.      As a condition to furnishing such information to you, the Company requires that
  you agree to treat, and direct your Representatives (as defined below in this Section 1) to treat,
  confidentially any information, data, forecasts, financial or business plans and affairs, projections,
  products and product development plans, marketing plans, information regarding customers,
  clients, employees, contracts and contract terms, inventions, processes, intellectual property or
  know-how (whether prepared by a party, its affiliates, subsidiaries, agents, advisors or otherwise,
  and whether oral, written or electronic) that the Company or any of its Representatives has
  furnished or may hereafter furnish to you or your Representatives, or is otherwise received by you
  or your Representatives through due diligence investigation or discussions with employees or other
  Representatives of the Company, together with all analyses, summaries, notes, forecasts, studies,
  data and other documents and materials in whatever form maintained, whether prepared by the
  Company or you or their respective Representatives or others, which contain or reflect, or are
  generated from, any such information (being collectively referred to herein as “Confidential
  Information”), and to take or abstain from taking certain other actions set forth herein. As used
  herein, the term “Representative” means, when used with respect to any party, such party’s
  subsidiaries and affiliates and its and its subsidiaries’ and affiliates’ respective directors, officers,
  employees, affiliates, consultants, attorneys, agents, counsel, advisors and other representatives;
  provided that the term “Representative” with respect to you shall not include (a) any potential
  co-investors, equity partners or participants in a Transaction, or any other equity financing sources
  (including any of your investors, equity holders or limited partners), in each case without our prior
  written consent (and, upon such consent, shall be so included), (b) any potential debt financing
  sources without our prior written consent (and, upon such consent, shall be so included) or (c) any
  of your portfolio companies, including the directors, officers or employees of any such portfolio
  companies (in their capacity as such), without our prior written consent (and, upon such consent,
  shall be so included).

          2.       The term “Confidential Information” does not include information that (a) is
  already in your possession as shown by your files and records immediately prior to the time of
  disclosure; provided that such information is not known by you to be subject to a legal, contractual
  or fiduciary obligation of confidentiality to the Company or any other party with respect to such
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  information, (b) is or becomes generally available to the public other than as a result of a breach of
  the terms hereof by you or your Representatives, (c) is received by you on a non-confidential basis
  from a source other than the Company or its Representatives; provided that such source is not
  known by you to be bound by a legal, contractual or fiduciary obligation of confidentiality to the
  Company or any other party with respect to such information, or (d) is independently developed by
  you or your Representatives without reference to, reliance on or use of any Confidential
  Information.

           3.      You hereby agree that the Confidential Information will be used by you and your
  Representatives solely for the purpose of evaluating, proposing or negotiating a possible
  Transaction and for no other purpose, and will be kept confidential by you and your Representatives
  and will not be disclosed to any other person; provided that any of such information may be
  disclosed to your Representatives who need to know such information solely for the purpose of
  evaluating any such possible Transaction and who have been advised of this letter agreement and
  the confidential nature of the Confidential Information and the Transaction Information (as defined
  below in Section 7) and have agreed in writing to comply with the terms hereof (other than
  Section 11) to the same extent as if such Representative were a party hereto. Any action by any of
  your Representatives that would constitute a breach of this letter agreement if taken by you (other
  than Section 11) shall be deemed to constitute a breach of this letter agreement by you.
  Furthermore, you hereby agree, at your sole expense, to take all reasonable measures (including
  court proceedings) to restrain your Representatives from prohibited or unauthorized disclosure or
  use of such Confidential Information. You understand that the Company reserves the right to adopt
  additional specific procedures to protect the confidentiality of the Confidential Information and
  may seek to limit the disclosure or use of, and may establish additional specific procedures with
  respect to the access of, competitively sensitive Confidential Information. The Confidential
  Information shall remain the property of the Company, and disclosure to you shall not confer on
  you any rights (including any intellectual property rights) with respect to such Confidential
  Information, other than limited use rights specifically set forth in this letter agreement. You agree
  that you will take all reasonable measures to protect the secrecy of and avoid disclosure or use of
  Confidential Information in order to prevent it from falling into the public domain or the possession
  of any person or entity other than those persons or entities authorized hereunder to have any such
  information, which measures shall include the highest degree of care that you utilize to protect your
  own Confidential Information of a similar nature. You also agree to notify the Company in writing
  promptly of any unauthorized disclosure, misuse or misappropriation of the Confidential
  Information that comes to your attention.

          4.       You hereby acknowledge that you are aware, and that you will advise your
  Representatives who are informed or, to your knowledge, become aware of the matters that are the
  subject of this letter, that the United States securities laws prohibit any person who has received
  from an issuer material, nonpublic information from purchasing or selling securities of such issuer
  or from communicating such information to any other person under circumstances in which it is
  reasonably foreseeable that such person is likely to purchase or sell such securities.

          5.       In the event that you or any of your Representatives receives a request, or is legally
  required, to disclose all or any part of the information contained in the Confidential Information
  under the terms of a subpoena or order issued by a court or governmental or regulatory body of
  competent jurisdiction or under any applicable law, governmental proceeding or stock exchange
  rule, you agree to (a) except to the extent prohibited by applicable law, immediately notify the
  Company of the existence, terms and circumstances surrounding such a request or requirement so
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  that the Company may, at its expense, seek an appropriate protective order or other remedy and/or
  waive compliance with the applicable provisions of this letter agreement (and, if the Company
  seeks such an order or other remedy, you agree to provide such cooperation as the Company may
  reasonably request at its expense) and (b) if disclosure of such information is legally permitted,
  notify the Company in writing of such information to be disclosed as far in advance of its disclosure
  as practicable, exercise reasonable best efforts to obtain an order or other reliable assurance that
  confidential treatment will be accorded to such of the disclosed information that the Company so
  designates and then disclose only that portion of the Confidential Information that is legally
  required to be disclosed. Without limiting the foregoing, you will not oppose any action by the
  Company to obtain an appropriate protective order or other remedy with respect to such
  information.

           6.       Without the prior written consent of the Company, you will not, and will cause
  your Representatives not to, enter into any agreement, arrangement or understanding with any other
  person that limits, restricts or otherwise impairs in any manner, directly or indirectly, such person
  from making a proposal for, or engaging in discussions, conducting due diligence or entering into
  an agreement with respect to, any potential transaction between such person and the Company or
  the provision of financing in connection with a potential transaction involving the Company. You
  represent and warrant that, except as disclosed to the Company or its legal advisors prior to your
  execution of this letter agreement, neither you nor any Representative of yours have, prior to your
  execution of this letter agreement, taken any of the actions referred to in this Section 6; provided
  that, subject to obtaining the Company’s prior written consent with respect to including any
  potential equity or debt financing source as your Representative as provided in Section 1, nothing
  shall prohibit or restrict you from entering into customary “tree” arrangements with such financing
  institutions by which a deal team at each institution works on obtaining or providing potential debt
  financing for you for the Transaction (and is not permitted to work on obtaining or providing
  potential debt financing for any other bidder pursuing the Transaction, but other deal teams at such
  institution may do so).

           7.       Without the prior written consent of the Company, you will not, and will cause
  your Representatives not to, disclose to any person (other than to your Representatives who need
  to know such information solely for the purpose of a possible Transaction and who have been
  advised of this letter agreement and the confidential nature of such information and have agreed in
  writing to comply with the terms hereof (other than Section 11) to the same extent as if they were
  a party hereto): (a) the fact that investigations, discussions or negotiations between the Parties are
  taking place or have taken place concerning a possible Transaction, (b) any of the terms, conditions
  or other facts with respect to any such possible Transaction, including the status thereof or the other
  Party’s consideration of a possible Transaction, or (in your case) any opinion or view with respect
  to the Confidential Information or the Company, (c) that the Parties or any of their respective
  affiliates or subsidiaries are or have been considering or reviewing a transaction involving or
  relating to the other Party or (d) that this letter agreement exists or that Confidential Information
  has been requested or made available to you or your Representatives (clauses (a) through
  (d) collectively, “Transaction Information”).

          8.      This letter agreement does not constitute or create any obligation of the Company
  to provide any information to you. The Company may at any time in its sole discretion decline to
  provide you with any Confidential Information, deny your access to any electronic data room or
  terminate further discussions with you regarding a Transaction. You understand that neither the
  Company nor any of its Representatives have made or make any express or implied representation
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  or warranty as to the accuracy or completeness of any Confidential Information, and agree that
  neither the Company nor its Representatives shall have any liability to you or your Representatives
  or stockholders on any basis (including in contract, tort, under federal or state securities laws or
  otherwise), and neither you nor your Representatives will make any claims whatsoever against such
  other persons, with respect to or arising out of the review of or use or content of any Confidential
  Information or any errors therein or omissions therefrom, or any action taken or any inaction
  occurring in reliance on any Confidential Information, in each case, except as may be expressly
  provided in any definitive agreement with respect to any Transaction. You and your
  Representatives agree not to assert any claim of title or ownership to the Confidential Information,
  nor does this Agreement grant you or your Representatives any licenses in respect of any such
  information. If Confidential Information that is software is provided in object code form, you will
  not, and will not permit your Representatives or any third party to, reverse engineer, decompile, or
  disassemble such object code or take any other steps to derive a source code equivalent thereof.
  You shall be liable for any losses or damages incurred by the Company as a result of a breach or
  violation by you or your Representatives of any export control laws or regulations that apply to any
  of the Confidential Information.

           9.      At the request of the Company, you and your Representatives shall promptly, at
  your election, either (a) return to the Company all of the written or electronic Confidential
  Information received from the Company or (b) destroy all of the written or electronic Confidential
  Information then in your or your Representatives’ possession. In either event, you shall also destroy
  all written or electronic data developed or derived from the Confidential Information, and shall
  cause your Representatives to do likewise. All return and/or destruction pursuant to this Section 9
  shall be certified in writing to the Company by an authorized representative supervising such
  destruction. In such event, all of the oral Confidential Information and the Transaction Information
  shall remain subject to the terms of this letter agreement. Notwithstanding anything to the contrary
  in the foregoing, such obligation to return or destroy the Confidential Information shall not cover
  information (1) to the extent required to be retained by a regulator, bank examiner or pursuant to
  applicable law or regulation or (2) that is automatically maintained on routine computer system
  backup tapes, disks or other backup storage devices as long as such backed-up information is not
  used, disclosed, accessed or otherwise recovered from such backup devices; provided that such
  materials referenced in this sentence shall remain indefinitely subject to the terms of this letter
  agreement applicable to Confidential Information (irrespective of the termination of this letter
  agreement).

          10.      Neither you nor any of your Representatives will initiate or cause to be initiated
  any (a) communication concerning the Confidential Information, (b) requests for meetings with
  management in connection with a possible Transaction (including, for the avoidance of doubt, any
  equity or employment agreements to be entered into in connection therewith) or (c) any other
  communication relating to the Company (other than in the ordinary course of business) or a possible
  Transaction, in each case with any director, officer or employee of the Company or any of its
  subsidiaries who has not been designated by the Company to receive such communications. Any
  requests for information, meetings or discussions relating to a possible Transaction should be
  directed solely to Moelis & Company, LLC, unless otherwise specified in writing by the Company.

          11.     You agree that, for a period of 12 months from the date of this letter agreement,
  neither you nor your controlled affiliates will, directly or indirectly, solicit for employment any
  employee of the Company or any of its subsidiaries, or otherwise solicit, induce or encourage any
  such person to discontinue or refrain from entering into any employment or consulting relationship
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  (contractual or otherwise) with the Company or any of its subsidiaries; provided that this sentence
  shall not prohibit (a) general advertising or other general solicitation through newspaper
  advertisements or Internet posting services not targeted at the employees of the Company or its
  subsidiaries or (b) any broad based recruitment efforts conducted by a recruitment agency not
  directed by you or your affiliates at the Company or any of its subsidiaries.

           12.      You acknowledge that the Company may be entitled to the protections of the
  attorney work-product doctrine, attorney-client privilege or similar protections or privileges with
  respect to portions of the Confidential Information. The Company is not waiving, and will not be
  deemed to have waived or diminished, any of its attorney work-product protections, attorney-client
  privileges or similar protections or privileges as a result of the disclosure of such Confidential
  Information pursuant to this letter agreement. In furtherance of the foregoing, you will not claim
  or contend, in proceedings involving either Party, that the Company waived the protections of the
  attorney work-product doctrine, attorney-client privilege or similar protections or privileges as a
  result of the disclosure of such Confidential Information pursuant to this letter agreement.

           13.      You acknowledge and agree that the Confidential Information has competitive
  value and is of a confidential and proprietary nature. Furthermore, you acknowledge and agree that
  the Company would be irreparably injured by a breach of this letter agreement by you or your
  Representatives and that money damages are an inadequate remedy for an actual or threatened
  breach of this letter agreement because of the difficulty of ascertaining the amount of damage that
  will be suffered by the Company in the event that this letter agreement is breached. Therefore, you
  agree to the granting of specific performance of this letter agreement and injunctive or other
  equitable relief in favor of the Company as a remedy for any such breach, without proof of actual
  damages. You further waive any requirement for the securing or posting of any bond in connection
  with any such remedy. Such remedy shall not be deemed to be the exclusive remedy for your
  breach of this letter agreement, but shall be in addition to all other remedies available at law or
  equity to the other Party. In the event of an order by a court of competent jurisdiction relating to a
  breach of this letter agreement, the non-prevailing Party shall reimburse the prevailing Party for all
  reasonable attorneys’ fees incurred by the prevailing Party incurred in connection with any
  litigation relating to such breach.

            14.     No failure or delay by either Party in exercising any right, power or privilege under
  this letter agreement shall operate as a waiver thereof, and no single or partial exercise thereof shall
  preclude any other or further exercise thereof or the exercise of any right, power or privilege
  hereunder.

           15.       No contract or agreement providing for a Transaction shall be deemed to exist
  unless and until a definitive agreement has been executed and delivered by each of the parties
  thereto. Accordingly, each Party agrees that unless and until any definitive agreement with respect
  to a Transaction has been executed and delivered by the Parties, neither of the Parties nor any of
  their affiliates or subsidiaries will be under any legal obligation of any kind whatsoever with respect
  to such a Transaction by virtue of this or any written or oral expression with respect to such
  Transaction by any of its directors, officers, employees, agents or any other Representatives, except
  for the matters specifically agreed in this letter agreement and as may be set forth in any such
  definitive agreement. Each Party further acknowledges and agrees that (a) the other Party shall
  have no obligation to authorize or pursue with it any Transaction, (b) it understands that the other
  Party has not, as of the date hereof, authorized or made any decision to pursue any such Transaction
  and (c) the Company reserves the right, in its sole and absolute discretion and without giving any
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  reason therefor, to reject all proposals and to terminate discussions, negotiations and access to the
  Confidential Information, in each case at any time. For purposes of this letter agreement, the term
  “definitive agreement” does not include an executed letter of intent, this letter agreement or any
  other preliminary written agreement, nor does it include any written or oral offer or bid or any
  written or oral acceptance thereof.

           16.     This letter agreement shall inure to the benefit of and be binding upon the Parties
  and their respective successors and assigns, or to the extent applicable, such Party as debtor-in-
  possession or reorganized debtor in connection with a bankruptcy or insolvency proceeding of such
  Party, or the purchaser of such Party. This letter agreement contains the entire agreement between
  the Parties concerning the subject matter hereof and supersedes all previous agreements, written or
  oral, between the Parties or their respective affiliates, relating to the subject matter hereof. No
  waiver of the terms and conditions hereof will be binding unless approved in writing by the Party
  against whom such waiver is sought to be enforced. No amendment of this letter agreement will
  be binding unless approved in writing by both Parties. You will not assign or transfer any rights or
  obligations under this Agreement without the prior written consent of the Company and any
  attempted assignment, subcontract, delegation, or transfer in violation of the foregoing will be null
  and void (without limiting this Section 16).

           17.      If any term, provision, covenant or restriction of this letter agreement is held by a
  court of competent jurisdiction to be invalid, void or unenforceable, the remainder of the terms,
  provisions, covenants and restrictions of this letter agreement shall remain in full force and effect
  to the fullest extent permitted by law and shall in no way be affected, impaired or invalidated.

           18.       This letter agreement shall be governed by and construed in accordance with the
  laws of the State of Delaware applicable to agreements entered into and performed solely within
  the State of Delaware, without regard to any principles of conflicts of law that would refer a matter
  to another jurisdiction. EACH PARTY ALSO HEREBY IRREVOCABLY AND
  UNCONDITIONALLY CONSENTS TO SUBMIT TO THE JURISDICTION OF THE
  CHANCERY COURT OF THE STATE OF DELAWARE LOCATED IN WILMINGTON,
  DELAWARE, AND RELATED APPELLATE COURTS, AND OF THE UNITED STATES OF
  AMERICA LOCATED IN DELAWARE, for any actions, suits or proceedings arising out of, or
  relating to, this letter agreement or the transactions contemplated hereby, and each Party agrees not
  to commence any action, suits or proceeding relating thereto except in such courts; provided that
  to the extent the Company is a debtor in a bankruptcy or insolvency proceeding, such court shall
  have exclusive jurisdiction over this letter agreement to the fullest extent of applicable law. Each
  Party further agrees that service of any process, summons, notices or documents by U.S. registered
  mail, postage prepaid, to its address set forth in this letter agreement shall be effective service for
  process for any action, suit or proceeding brought against such Party in any such court. Each Party
  irrevocably and unconditionally waives any objection to the laying of venue of any action, suit or
  proceeding arising out of this letter agreement or the transactions contemplated hereby, in the courts
  of the State of Delaware or the United States of America located in the State of Delaware or the
  bankruptcy court or other court of competent jurisdiction overseeing the Company’s bankruptcy or
  insolvency proceeding, as applicable. Each Party hereby further irrevocably and unconditionally
  waives any right to trial by jury and waives and agrees not to plead or claim in any such court that
  any such action, suit or proceeding brought in any such court has been brought in an inconvenient
  forum.

          19.      For purposes of this letter agreement, (a) the term “person” means any individual,
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  corporation, partnership, limited liability company, firm, joint venture, association, joint-stock
  company, trust, unincorporated organization, governmental or regulatory body or other entity;
  (b) the term “affiliate” means, when used with respect to any party, a person that directly or
  indirectly, through one or more intermediaries, controls, is controlled by or is under common
  control with such party; (c) the term “subsidiary” means, when used with respect to any party, (i) a
  person that is directly or indirectly controlled by such party, (ii) a person of which such party
  beneficially owns, either directly or indirectly, more than 50% of the total combined voting power
  of all classes of voting securities of such person, the total combined equity interests of such person
  or the capital or profit interests, in the case of a partnership or (iii) a person of which such party has
  the power to vote, either directly or indirectly, sufficient securities to elect a majority of the board
  of directors or similar governing body of such person and; (d) the term “control” means, when used
  with respect to any specified person, the possession, directly or indirectly, of the power to direct or
  cause the direction of the management and policies of such person, whether through the ownership
  of voting securities or other interests, by contract, agreement or otherwise.

           20.     This letter agreement may be executed in counterparts, each of which shall be
  deemed to be an original, but both of which shall constitute the same agreement. Signatures to this
  letter agreement transmitted by facsimile transmission, by electronic mail in “portable document
  format” (.pdf) form, or by any other electronic means intended to preserve the original graphic and
  pictorial appearance of a document, will have the same effect as physical delivery of the paper
  document bearing the original signature.

            21.     Except as otherwise explicitly stated above, your obligations under this letter
  agreement shall terminate three years after the date of this letter agreement, except such obligations
  under Sections 8, 9 and 12 through 18, which shall have no expiration period. The termination of
  this letter agreement shall not relieve you from your responsibilities in respect of any breach of this
  letter agreement prior to such termination.

                                        [Signature Page Follows]
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[DATE], 2024
          If you are in agreement with the foregoing, please so indicate by signing and returning one copy of
this letter agreement, which will constitute our agreement with respect to the matters set forth herein.

                                                  Very truly yours,


                                                  IMPEL PHARMACEUTICALS, INC.


                                                  By:

                                                  Name:
                                                  Title:



Accepted, Confirmed and Agreed:

[Interested Party]


By:
Name:
Title:
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                                  Exhibit 2

                              Stalking Horse APA
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                       ASSET PURCHASE AGREEMENT


                                by and between


                         JN BIDCO LLC, as Purchaser,


                                     and




                 IMPEL PHARMACEUTICALS INC., as Seller


                         Dated as of December 18, 2023




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Schedule A             Subsidiaries


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Exhibit A                 Form of Escrow Agreement
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                             ASSET PURCHASE AGREEMENT

         THIS ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of December 18,
2023 (the “Agreement Date”) is entered into by and between JN Bidco LLC, a Puerto Rico limited
liability company (“Purchaser”) and Impel Pharmaceuticals Inc., a Delaware corporation (the
“Seller”).

                                          RECITALS

        WHEREAS, on or about December 20, 2023 (the “Petition Date”) the Seller and the
Subsidiary intend to file voluntary petitions for relief under chapter 11 of title 11 of the United
States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Northern
District of Texas (the “Bankruptcy Court”), thereby commencing chapter 11 cases (collectively,
the “Bankruptcy Cases”);

        WHEREAS, the Seller is a debtor-in-possession under the Bankruptcy Code and manages
its properties and assets pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code;

       WHEREAS, the Seller is engaged in the Business and owns, directly or indirectly, all of
the Transferred Assets;

        WHEREAS, the Seller desires to sell (or cause to be sold) to Purchaser, and Purchaser
desires to purchase from the Seller, all of the Transferred Assets Free and Clear, and the Seller
desires Purchaser to assume, and Purchaser desires to assume from the Seller, all of the Assumed
Liabilities, in each case upon the terms and subject to the conditions hereof, pursuant to a Sale
Order and Sections 105(a), 363 and 365 of the Bankruptcy Code and Rules 6004 and 6006 of the
Federal Rules of Bankruptcy Procedure;

       WHEREAS, the Transactions contemplated by this Agreement are subject to approval by
the Bankruptcy Court and will only be consummated pursuant, among other things, to the Sale
Order to be entered in the Bankruptcy Cases; and

        WHEREAS, concurrently with the execution of this Agreement, Purchaser shall deposit
(or cause to be deposited) an aggregate amount equal to the Deposit Escrow Amount into an escrow
account (the “Deposit Escrow Account”) to be established and maintained by Escrow Agent
pursuant to the Escrow Agreement.

       WHEREAS, concurrently with the execution of this Agreement, an affiliate of Purchaser
(the “Guarantor”) will enter into that certain letter agreement pursuant to which the Guarantor
will guarantee the payment and performance obligations of Purchaser under this Agreement.

       NOW, THEREFORE, in consideration of the premises and the mutual representations,
warranties, covenants, agreements and conditions set forth herein, and for other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto,
intending to be legally bound, hereby agree as follows:




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                                          ARTICLE 1.
                                        DEFINED TERMS

      1.1      Defined Terms. The following terms shall have the following meanings in this
Agreement:

       “Action” means any action, proceeding, arbitration or litigation (whether civil, criminal or
administrative) commenced, brought, conducted or heard by or before any Governmental
Authority or arbitrator.

        “Affiliate” of any particular Person means any other Person, directly or indirectly,
controlling, controlled by, or under common control with, such particular Person. For the purposes
of this definition, “control” (including, with correlative meaning, the terms “controlled by” and
“under common control with”) means the possession, directly or indirectly, of the power to direct
or cause the direction of the management and policies of a Person, whether through ownership of
voting securities, by contract or otherwise.

       “Agreement” has the meaning set forth in the preamble.

       “Agreement Date” has the meaning set forth in the preamble.

       “Allocation Schedule” has the meaning set forth in Section 2.11(a).

       “Alternate Transaction” has the meaning set forth in Section 9.1(b).

       “Applicable Law” means, with respect to any Person, any federal, provincial, state, local
law, ordinance, principle of common law, code, regulation or statute applicable to such Person or
such Person’s subsidiaries or to any of their respective securities, assets, properties or businesses.

       “Asset Tax Return” means any Tax Return relating to Asset Taxes.

        “Asset Taxes” means any Taxes with respect to the ownership or operation of the
Transferred Assets other than (a) Taxes based on net or gross income, and (b) Transfer Taxes.

       “Assigned Contracts” has the meaning set forth in Section 2.1(e).

       “Assumed Liabilities” has the meaning set forth in Section 2.3.

       “Assumption Notice” has the meaning set forth in Section 5.3(a).

       “Attorney-Client Information” has the meaning set forth in Section 10.17.

       “Auction” has the meaning set forth in Section 5.2(i).

        “Avoidance Actions” means any and all avoidance, recovery, subordination, or other
claims, actions, rights, or remedies that may be brought by or on behalf of the Seller or its estate
or other authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy
law, including, but not limited to, actions or remedies under sections 510, 542, 543, 544, 545, and
547 through and including 553 of the Bankruptcy Code.


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         “Back-Up Bid” means the second highest or otherwise best bid if the successful bidder
fails to consummate its bid in accordance with the Bid Procedures.

        “Back-up Termination Date” means the first to occur of (a) thirty (30) days after the entry
of the Sale Order, (b) consummation of the Transactions with the winning bidder at the Auction,
(c) Purchaser’s receipt of notice from the Seller of the release by the Seller of Purchaser’s
obligations under Section 5.2(i) and (d) March 13, 2024.

       “Bankruptcy Cases” has the meaning set forth in the Recitals.

       “Bankruptcy Code” has the meaning set forth in the Recitals.

       “Bankruptcy Court” has the meaning set forth in the Recitals.

        “Bid Procedures” means those certain bidding procedures for the Sale of the Seller’s
assets approved by the Bankruptcy Court.

       “Bid Procedures Motion” means a motion filed by Seller with the Bankruptcy Court to
seek approval of the Bid Procedures.

      “Bid Procedures Order” means an Order of the Bankruptcy Court approving the Bid
Procedures.

       “Bill of Sale and Assignment and Assumption Agreement” means the bill of sale and
assignment and assumption agreement, dated as of the Closing Date, by and between the Seller
and Purchaser, substantially in the form attached hereto as Exhibit B.

       “Business” means the business as presently conducted of the Seller Group related to (i) the
development, manufacture, sale, maintenance, and commercialization of the Trudhesa drug
product, the Trudhesa I123 POD device, and the Trudhesa Assets and (ii) the development,
manufacture, sale, maintenance, and commercialization of the INP105 drug product, the POD
devices, and the POD Technology Assets.

        “Business Day” means any day other than (a) a Saturday, Sunday or federal holiday or
(b) a day on which commercial banks in Seattle, Washington are authorized or required to be
closed.

        “Business Intellectual Property” means all Owned Intellectual Property Assets together
with all other Intellectual Property used in, held for use in, or necessary for the conduct of the
Business.

       “Buyer’s FDA Transfer Letters” means the letter to FDA in form and substance
reasonably agreed by Purchaser and the Seller, accepting the transfer of rights to the NDA issued
by FDA for Product from Seller.

        “Closing” has the meaning set forth in Section 2.7.

       “Closing Date” has the meaning set forth in Section 2.7.


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       “Code” means the Internal Revenue Code of 1986, as amended, or any successor law.

       “Competing Bid” has the meaning set forth in Section 5.1.

      “Confidentiality Agreement” means that certain Confidentiality Agreement, dated as of
October 17, 2023 by and between the Seller and Purchaser.

       “Consent” means any consent, approval, authorization, waiver or license.

       “Contract” means any written agreement, mortgage, indenture, lease (whether for real or
personal property), contract or subcontract.

       “Contracting Parties” has the meaning set forth in Section 10.15

        “Cure Costs” means any and all costs, expenses or actions that Purchaser is required to
pay or perform to assume any of the Assigned Contracts pursuant to section 365(b)(1)(A) and (B)
of the Bankruptcy Code.

       “Deposit Escrow Account” has the meaning set forth in the Recitals.

       “Deposit Escrow Amount” means $1,500,000.

       “Designated Contracts” has the meaning set forth in Section 5.3(b).

       “Designation Deadline” has the meaning set forth in Section 5.3(b).

        “Determined Cure Costs” means all Cure Costs for Assigned Contracts, as determined
by a final order of the Bankruptcy Court.

        “Enforceability Exceptions” means applicable bankruptcy, insolvency, reorganization,
moratorium, receivership and similar Applicable Laws affecting the enforcement of creditors’
rights generally and general equitable principles.

       “Environmental Laws” means any Applicable Law relating to pollution or protection of
the environment or worker health and safety (in respect of exposure to Hazardous Substances),
including such Applicable Laws relating to the use, treatment, storage, disposal, Release or
transportation of Hazardous Substances.

       “Escrow Agent” means PNC Bank, National Association.

       “Escrow Agreement” means the escrow agreement, dated as of the Agreement Date, by
and among Purchaser, the Seller and the Escrow Agent in substantially the form attached hereto
as Exhibit A.

       “Excluded Assets” has the meaning set forth in Section 2.2.

       “Excluded Books and Records” means the following originals and copies of those books
and records, documents, data and information (in whatever form maintained) of the Seller Group
and the Business: (i) all corporate minute books (and other similar corporate records) and stock


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records of the Seller Group, (ii) any books and records relating to the Excluded Assets or (iii) any
books, records or other materials that any member of the Seller Group (x) is required by Applicable
Law to retain (copies of which, to the extent permitted by Applicable Law, will be made available
to Purchaser upon Purchaser’s reasonable request), (y) reasonably believes is necessary to enable
it to prepare and/or file Tax Returns (copies of which will be made available to Purchaser upon
Purchaser’s reasonable request) or (z) are prohibited by Applicable Law from delivering to
Purchaser.

       “Excluded Contracts” has the meaning set forth in Section 2.5.

       “Excluded Liabilities” has the meaning set forth in Section 2.4.

        “Expense Reimbursement” means the reimbursement by the Seller of Purchaser’s actual
and reasonable out-of-pocket legal, accounting, and other third-party advisory or service costs and
expenses incurred in connection with the Transactions, as evidenced by invoice(s) provided to the
Seller, on the terms and subject to the conditions of Section 9.3.

       “FDA” means the United States Food and Drug Administration.

        “Final Order” means an Order, judgment or other decree of the Bankruptcy Court or any
other Governmental Authority of competent jurisdiction that has not been reversed, vacated,
modified or amended, is not stayed and remains in full force and effect; provided, that such Order
shall be considered a Final Order only after the time period for third parties seeking appeal has
expired without the filing of any appeal or motion for reconsideration.

     “Free and Clear” means free and clear of all Liens (other than the Permitted Liens and the
Assumed Liabilities) to the maximum extent permitted by Section 363(f) of the Bankruptcy Code.

      “GAAP” means generally accepted accounting principles in the United States as of the
Agreement Date.

        “Governmental Authority” means any domestic or foreign national, provincial, state,
multi-state or municipal or other local government, any subdivision, agency, commission or
authority thereof, any court (including the Bankruptcy Court) or tribunal or any quasi-
governmental or private body exercising any regulatory or taxing authority thereunder (including
the IRS and the FDA).

       “Hazardous Substances” means any substances, materials or wastes which are defined as
or included in the definition of “hazardous substances”, “hazardous wastes”, “hazardous
materials”, “toxic substances”, “pollutants” or “contaminants” under any Environmental Law,
including any petroleum or refined petroleum products, radioactive materials, friable asbestos or
polychlorinated biphenyls.

        “Intellectual Property” means any and all intellectual property and proprietary rights in
any jurisdiction throughout the world, including rights arising from the following: (i) patents and
patent applications, design rights, industrial design registrations and applications therefor,
divisions, continuations, continuations-in-part, reissues, substitutes, renewals, registrations,
confirmations, reexaminations, extensions and any provisional applications, and any foreign or


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international equivalent of any of the foregoing; (ii) trademarks (whether registered, unregistered
or applied for), service marks, trade dress, service names, trade names, brand names, product
names, slogans, logos, business names, corporate names, and other source or business identifiers,
all registrations and applications for registration thereof, and, in each case, together with all of the
goodwill associated therewith; (iii) works of authorship, copyrights and all registrations and
applications for registration thereof; (iv) trade secrets and know-how; (v) rights in formulae,
methods, techniques, processes, assembly procedures, software, software code (in any form,
including source code and executable or object code), subroutines, test results, test vectors, user
interfaces, protocols, schematics, specifications, drawings, prototypes, molds and models, and
other forms of technology (whether or not embodied in any tangible form and including all tangible
embodiments of the foregoing), and (vi) social media accounts, social media identifiers, internet
domain name registrations.

        “Intellectual Property Assignment Agreement” means the assignment agreement
assigning the Intellectual Property to Purchaser, in a form reasonably acceptable to Purchaser and
the Seller and executed and delivered at Closing.

       “Intellectual Property Registrations” means, as to any Owned Intellectual Property
Assets, any issuance, registration, application or other filing by, to or with any Governmental
Authority or authorized private registrar in any jurisdiction, including domain names, registered
trademarks and copyrights, issued and reissued patents and pending applications for any of the
foregoing.

        “IRS” means the United States Internal Revenue Service.

        “Knowledge” means (a) with regard to the Seller, the actual knowledge, without any
implication of verification or investigation concerning such knowledge, of Len Paolillo, Michael
Kalb and John Hoekman, in each case as of the Agreement Date (or, with respect to a certificate
delivered pursuant to this Agreement, as of the date of delivery of such certificate) and (b) with
regard to Purchaser, the actual knowledge, without any implication of verification or investigation
concerning such knowledge, of David Risk, Ray Canole and Nirav Patel as of the Agreement Date
(or, with respect to a certificate delivered pursuant to this Agreement, as of the date of delivery of
such certificate).

       “Law Firms” means Fenwick & West LLP, Sidley Austin LLP and each of their respective
successors.

         “Liabilities” shall mean debts, liabilities, duties, obligations or commitments of any nature
whatsoever, whether direct or indirect, asserted or unasserted, known or unknown, absolute or
contingent, accrued or unaccrued, matured or unmatured or otherwise, whenever or however
arising (including whether arising out of any Contract or in a tort claim based on negligence or
strict liability).

        “Lien” means all forms of lien (including mechanic’s, contractor’s or other similar liens
arising under or relating to the provision of goods or services on or to any Transferred Assets, and
liens arising under the Bankruptcy Code), encumbrance, defect or irregularity in title, pledge,
mortgage, deed of trust, deed to secure debt, security interest, charge, transfer restriction or similar



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agreement or encumbrance, including any dedication under any gathering, transportation, treating,
processing, fractionating, purchase, sale or similar agreements, or any other rights granted or
consensual as or against any Transferred Assets including but not limited to easements,
encroachments, rights of first refusal, options, or any other interest or right in property that
constitutes a lien or interest within the definition or adjudication of such terms under Section
101(37) of the Bankruptcy Code.

         “Material Adverse Effect” means a material adverse effect on the business, financial
condition or results of operations of the Business (including the Transferred Assets and Assumed
Liabilities) taken as a whole; provided, however, that none of the following shall be deemed (either
alone or in combination) to constitute, and none of the following shall be taken into account in
determining whether there has been or may be, a Material Adverse Effect: (a) any change in, or
effects arising from or relating to, general business or economic conditions affecting any industry
in which the Business operates; (b) any change in, or effects arising from or relating to, the United
States or foreign economies, or securities, banking or financial markets in general, or other general
business, banking, financial or economic conditions (including (i) any disruption in any of the
foregoing markets, (ii) debt defaults or other restructuring events of any country with respect to
which bondholders take a discount to the debt of any country or any increases in the interest rates
for any country’s debt, (iii) any change in currency exchange rates, (iv) any decline or rise in the
price of any security, commodity, contract or index and (v) any increased cost, or decreased
availability, of capital or pricing or terms related to any financing for the Transactions); (c) any
change from, or effects arising from or relating to, the occurrence, escalation or material worsening
of any act of God or other calamity, natural disaster, pandemic or disease, outbreak, hostility, act
of war, sabotage, cyber-attack or terrorism or military action; (d) any action taken by Purchaser or
its Affiliates with respect to the Transactions or with respect to the Business; (e) any action taken,
or failed to be taken, by the Seller at the request of or with the consent of Purchaser or otherwise
in compliance with the terms of this Agreement or any change from, or effects arising from or
relating to, Purchaser’s failure to consent to any action restricted by Section 6.1; (f) any change in,
or effects arising from or relating to changes in, Applicable Law or accounting rules (including
GAAP) or any interpretation thereof; (g) the failure of the Business to meet any of its projections,
forecasts, estimates, plans, predictions, performance metrics or operating statistics or the inputs
into such items (whether or not shared with Purchaser or its Affiliates or representatives);
(h) national or international political, labor or social conditions; (i) the public announcement of,
entry into or pendency of, actions required or contemplated by or performance of obligations
under, this Agreement and the Transactions or the identity of the parties to this Agreement,
including any termination of, reduction in or similar adverse impact on relationships, contractual
or otherwise, with any customers, suppliers, financing sources, licensors, licensees, distributors,
partners, employees or others having relationships with the Business; (j) the sale of any assets
other than the Transferred Assets to any third parties by a member of the Seller Group or any of
their Affiliates; (k) any effect arising or resulting from or related to the filing of the Bankruptcy
Cases; (l) any action required to be taken under any Applicable Law or Order or any existing
Contract by which any member of the Seller Group’s (or any of their properties) are bound; (m)
seasonal changes in the results of operations of the Seller Group; (n) any epidemic, pandemic,
outbreak of disease or other public health emergency (including COVID-19) or any escalation or
worsening of any such conditions or (o) any objections made in the Bankruptcy Court to this
Agreement, the Transactions, the Sale Order or the reorganization, any orders of the Bankruptcy
Court and any actions or omissions of the Seller in compliance with any order of the Bankruptcy


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Court and the assumption or rejection of any Assigned Contract; except in the cause of clauses (a)
through (c), (h) and (n), to the extent such conditions, events, changes, crises and disasters, as
applicable, do not have a material and disproportionate impact on the Business, taken as a whole,
compared to other industry participants (in which case, only the extent of such disproportionate
effect shall be taken into account when determining whether there is a Material Adverse Effect).

       “New Drug Application” or “NDA” means new drug application as approved by the FDA.

       “Nitrosamine Liabilities” means those Liabilities resulting from nitrosamine impurities
as discussed in the FDA’s February 2021 Guidance on Control of Nitrosamine Impurities in
Human Drugs with respect to the Trudhesa drug product.

       “Non-Transferred Asset” has the meaning set forth in Section 2.6(a).

       “Nonparty Affiliates” has the meaning set forth in Section 10.14.

        “Open Source Software” means any software that is licensed pursuant to a license approved
by the Open Source Initiative and listed at http://www.opensource.org/licenses/alphabetical or that
is considered “free” or “open source software” by the Free Software Foundation.

        “Order” means any award, decision, injunction, judgment, ruling or verdict entered,
issued, made or rendered by any Governmental Authority or arbitrator.

        “Organizational Documents” means (a) the articles or certificates of incorporation and
the by-laws of a corporation, (b) the partnership agreement and any statement of partnership of a
general partnership, (c) the limited partnership agreement and the certificate of limited partnership
of a limited partnership, (d) the operating or limited liability company agreement and the certificate
of formation of a limited liability company, (e) any charter, joint venture agreement or similar
document adopted or filed in connection with the creation, formation or organization of a Person
not described in clauses (a) through (d), and (f) any amendment to or equivalent of any of the
foregoing.

       “Outside Date” has the meaning set forth in Section 9.1(i).

        “Owned Intellectual Property Assets” means the Intellectual Property owned or
purported to be owned by any of member of the Seller Group that is used in, held for use in, or
related to, the conduct of the Business as currently conducted or proposed to be conducted.

       “Parent” has the meaning set forth in the preamble.

       “Permit” means all permits, authorizations, certificates, franchises, consents and other
approvals from any Governmental Authority.

        “Permitted Liens” means (a) Liens for Taxes, assessments or other governmental charges
not yet due and payable or being contested in good faith by appropriate proceedings as set forth
on Schedule 1.1(a); (b) mechanics’, carriers’, workers’, repairers’ and other similar Liens arising
or incurred in the ordinary course of business for obligations that are not overdue or are being
contested in good faith by appropriate proceedings; (c) zoning, entitlement and building


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regulations and land use restrictions; (d) purchase money Liens and Liens securing rental payments
under capital lease arrangements; (e) Liens arising under leases of property or equipment in favor
of the owner thereof; (f) pledges or deposits made in the ordinary course of business in connection
with workers’ compensation, unemployment insurance and other types of social security;
(g) deposits to secure the performance of bids, Contracts (other than for borrowed money), leases,
statutory obligations, surety and appeal bonds, performance bonds and other obligations of a like
nature incurred in the ordinary course of business; (h) licenses of Intellectual Property granted in
the ordinary course of business; (i) gaps in the chain of title of Intellectual Property applications
or registrations that are evident from the records of the relevant Governmental Authority
maintaining such applications or registrations; (j) Liens arising under or created by this Agreement
or any of the Related Documents; (k) Liens arising in the ordinary course of business which would
not reasonably be expected to have a Material Adverse Effect; and (l) Liens set forth on
Schedule 1.1(b).

       “Person” means any individual, corporation (including any non-profit corporation),
partnership, limited liability company, joint venture, estate, trust, association, organization, labor
union or any other entity or Governmental Authority.

       “Personal Information” means any information in the possession or control of the Seller
Group (solely as related to the Business) about an identifiable individual other than the name, title
or business address, business email address or telephone number of any employee of the Seller
Group.

       “Petition Date” has the meaning set forth in the Recitals.

         “POD Technology Assets” means (a) all Intellectual Property, Technology, and know-
how related to manufacturing and development for the POD devices and INP105 drug product, (b)
all clinical, non-clinical and combination product testing datasets related to the development stage
POD devices and INP105 drug product, (c) device manufacturing and fill-and-finish equipment
related to the development stage POD technology and (d) current inventory of preclinical POD
devices and associated production equipment and know-how.

       “POD Technology Licensing Revenue” means the total amount generated, if any, by the
Purchaser in a fiscal year from licensing or sales or other transfers or dispositions of the POD
Technology Assets to any third party.

       “Pre-Closing Tax Period” means any taxable period ending on or prior to the Closing
Date and the portion of any Straddle Period through the Closing Date.

       “Product” means the pharmaceutical product currently approved, marketed, distributed
and/or sold in the Territory as Trudhesa (dihydroergotamine mesylate) under New Drug
Application No. 213436 filed with the FDA, including any supplements, amendments or
modifications submitted to or required by the FDA or any successor application

       “Product Net Sales” means the total gross amount invoiced on sales of any product sold,
disposed of or distributed by through the operation of the Transferred Assets (other than the POD
Technology Assets), which shall be deemed to include, milestones, upfronts and other similar
payments, (the “Items”), less, without duplication, the following deductions to the extent actually


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incurred or allowed or accrued and not otherwise recovered or reimbursed to Purchaser: (a)
actually given rebates, allowance, customary discounts in the trade for quantity purchased, for
prompt payment or for wholesalers and distributors, (b) credits or refunds for claims or returns that
do not exceed the original invoice amount, and (c) sales, value added, consumption, excise and
use taxes and other fees imposed by a Governmental Authority, each to the extent actually paid
and borne by Purchaser or its Affiliates, to the extent such items are included in the gross invoice
price of the Items and actually borne by Purchaser without reimbursement from a third party.
Product Net Sales shall include the amount or fair market value of all other consideration received
by Purchaser in respect of the Products, whether such consideration is in cash, payment in kind,
exchange or other form. For purposes of this definition, “sale” shall include any transfer or other
disposition of the Items other than transfers or other dispositions of the Items, at no charge or at a
nominal charge, for pre-clinical, clinical or regulatory purposes or to physicians or hospitals for
promotional purposes, provided such transfer, distribution or disposition is not made in exchange
for lower prices on other products sold by or on behalf of Purchaser or its Affiliates, as applicable,
or for other noncash consideration. Product Net Sales shall be calculated in accordance with
GAAP.

        If any Item is sold in the form of a combination product (whether co-formulated or
copackaged) with another product or therapy that is not an Item (each a “Combination Product”),
then the Product Net Sales for any such Combination Product shall be calculated by multiplying
actual Product Net Sales of such Combination Product by the fraction A/(A+B) where “A” is the
weighted average invoice price of the Item, as applicable, when sold separately during the
applicable accounting period in which the sales of the Combination Product were made, and “B”
is the combined weighted average invoice prices of all of the active ingredients and delivery
technologies and systems other than price of the Product contained in such Combination Product
sold separately during such same accounting period. If the Product contained in such Combination
Product is not sold separately in finished form, the Company and Seller shall mutually determine
on Product Net Sales for the Product based on the relative contribution of the Product in good faith
and shall take into account in good faith any applicable allocations and calculations that may have
been made for the same period in other countries. If the Company or any of its Affiliates recover
monetary damages, settlement amounts or other monetary recovery with respect to the Product
from a Third Party in a Claim brought for infringement, misappropriation or other violation of any
Intellectual Property relating to the Product, (A) such damages will be allocated first to the
reimbursement of any expenses incurred by the Company or such Affiliates, as applicable, for
bringing such action (including reasonable attorney’s fees) not already reimbursed from other
damages awarded under the same action, and (B) any remaining amount of such damages will be
reduced, if and to the extent applicable, to allocate recovered damages to Third Party licensors of
such Intellectual Property (other than damages for lost royalties), only as legally required under
pre-existing Contract with such Licensor, then any remaining amount of such damages, settlement
amounts or other monetary recovery after application of (A) and (B) will be included as Product
Net Sales.

       “Public Health Measures” means any closures, “shelter-in-place,” “stay at home,”
workforce reduction, social distancing, shut down, closure, curfew or other restrictions or any other
Applicable Law, Orders, directives, guidelines or recommendations issued by any Governmental
Authority, the Centers for Disease Control and Prevention, the World Health Organization, or any



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industry group in connection with COVID-19 or any other epidemic, pandemic, or outbreak of
disease, or in connection with or in response to any other public health conditions.

       “Purchase Price” means $17,500,000.

       “Purchaser” has the meaning set forth in the preamble.

       “Purchaser Group Members” has the meaning set forth in Section 10.17.

       “Purchaser Releasing Party” has the meaning set forth in Section 10.16(b).

       “Purchaser Schedules” has the meaning set forth in ARTICLE 4.

        “Related Claims” means all claims or causes of action (whether in contract or tort, in law
or in equity, or granted by statute or otherwise) that may be based upon, arise out of or relate to
this Agreement, the Related Documents and any other document or instrument delivered pursuant
to this Agreement or the Related Documents, or the negotiation, execution, termination, validity,
interpretation, construction, enforcement, performance or nonperformance of this Agreement or
the Related Documents or otherwise arising from the Transactions or the relationship between the
parties (including any claim or cause of action based upon, arising out of or related to any
representation or warranty made in or in connection with, or as an inducement to enter into, this
Agreement or the Related Documents).

        “Related Documents” means the Escrow Agreement, the Bill of Sale and Assignment and
Assumption Agreement and Intellectual Property Assignment Agreement; provided, however, that
the Escrow Agreement and the Bill of Sale and Assignment and Assumption Agreement and
Intellectual Property Assignment Agreement shall not be a Related Document solely for purposes
of applying the provisions in ARTICLE 10 to the extent, and only to the extent, that any such
document expressly conflicts with ARTICLE 10.

        “Release” means any spilling, leaking, pumping, pouring, emitting, emptying, discharging,
injecting, escaping, leaching, dumping, or disposing into the environment of any Hazardous
Substances.

        “Sale Motion” means the motion of the Seller seeking entry of the Sale Order approving
the terms herein, to be filed on or about December 20, 2023 in the Bankruptcy Cases.

        “Sale Order” means an Order of the Bankruptcy Court issued pursuant to sections 105(a),
363 and 365 of the Bankruptcy Code in form and substance acceptable to Purchaser and the Seller,
in each party’s commercially reasonable discretion, approving this Agreement and all of the terms
and conditions hereof and approving and authorizing the Seller to consummate the Transactions
contemplated hereby Free and Clear and containing a finding that Purchaser has acted in “good
faith” within the meaning of Section 363(m) of the Bankruptcy Code.

       “Schedules” has the meaning set forth in ARTICLE 3.

        “Seller” has the meaning set forth in the preamble.



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       “Seller Group” means the Seller and each of its Subsidiaries.

       “Seller Group Members” has the meaning set forth in Section 10.17.

         “Seller Group Taxes” means any (i) Liability of Seller Group for Taxes other than Asset
Taxes for the portion of any Straddle Period beginning after the Closing Date, (ii) any Liability for
Asset Taxes attributable to any Pre-Closing Tax Period, and (iii) any Liability of Seller Group for
the unpaid Taxes of any Person under Treasury Regulation §1.1502-6 (or any similar provision of
state, local, or non-U.S. law), as a transferee or successor, by contract, or otherwise.

       “Seller Permits” has the meaning set forth in Section 3.5(a).

       “Seller Releasing Party” has the meaning set forth in Section 10.16(a)

       “Seller Tax Claim” has the meaning set forth in Section 7.3(e).

        “Solvent” when used with respect to any Person, means that, as of any date of
determination, (a) the fair salable value (determined on a going concern basis) of its assets and
property will, as of such date, exceed the amounts required to pay its debts as they become absolute
and mature, as of such date, (b) such Person will have adequate capital to carry on its business and
(c) such Person will be able to pay its debts as they become absolute and mature, in the ordinary
course of business, taking into account the timing of and amounts of cash to be received by it and
the timing of and amounts of cash to be payable on or in respect of its indebtedness.

       “Subsidiaries” means the entities listed on Schedule A.

        “Tax” means any tax of any kind whatsoever (including any income tax, franchise tax,
branch profits tax, capital gains tax, value-added tax, unclaimed property, escheat, sales tax, use
tax, property tax, transfer tax, payroll tax, social security tax or withholding tax), and any related
fine, penalty, interest, or addition to tax with respect thereto, imposed, assessed or collected by or
under the authority of any Governmental Authority.

        “Tax Return” means any return (including any information return), report, statement,
schedule, notice, form, or other document or information (whether in tangible, electronic or other
form), including any amendments, schedules attachments, supplements, appendices and exhibits
thereto, filed with or submitted to, or required to be filed with or submitted to, any Governmental
Authority in connection with the determination, assessment, collection, or payment, of any Tax.

       “Technology” means algorithms, applied programming interfaces, apparatus, designs,
drawings, data collections, diagrams, systems, procedures, processes, methods, methodologies,
models, formulas, inventions (whether or not patentable), discoveries, improvements, know-how,
methods, network configurations and architectures, processes, proprietary information, protocols,
schematics, specifications, software, software code (in any form, including source code and
executable or object code), subroutines, techniques, tools, user interfaces, technical engineering
and manufacturing information and materials including engineering plans and bills of materials,
web sites, works of authorship and other forms of technology (whether or not embodied in any
tangible form and including all tangible embodiments of the foregoing, such as instruction
manuals, laboratory notebooks, prototypes, samples, studies and summaries).


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       “Termination Fee” means a fee equal to $450,000.

       “Territory” means the United States of America, including the states, territories,
possessions and protectorates thereof, the District of Columbia and the Commonwealth of Puerto
Rico.

     “Transactions” means the transactions contemplated by this Agreement and the Related
Documents.

       “Transfer Taxes” has the meaning set forth in Section 2.10.

       “Transferred Assets” has the meaning set forth in Section 2.1.

         “Trudhesa Assets” means (a) all Intellectual Property, Technology, and know-how related
to manufacturing processes for the Trudhesa drug product and Trudhesa I123 POD devise, (b) all
marketing Permits gained from any Governmental Authority for Trudhesa including the NDA for
Trudhesa obtained from FDA along with any and all permits, licenses, certifications, registrations,
qualifications, authorizations, consents or approvals of the FDA or any other Governmental
Authority, currently used in, necessary for and material to the operation of sale of the Product, and
(c) all clinical, non-clinical and combination product testing datasets related to Trudhesa.

        “Used in the Business” has the meaning set forth in Section 2.1.

       1.2     Other Definitional and Interpretive Matters.

              (a)   Unless otherwise expressly provided, for purposes of this Agreement and
the Related Documents, the following rules of interpretation shall apply:

                       (i)     Calculation of Time Period. All references to a day or days shall be
       deemed to refer to a calendar day or days, as applicable, unless otherwise specifically
       provided. When calculating the period of time before which, within which or following
       which any act is to be done or step taken pursuant to this Agreement, the date that is the
       reference date in calculating such period shall be excluded. If the last day of such period is
       a non-Business Day, the period in question shall end on the next succeeding Business Day.

                       (ii)    Dollars. Any reference to $ shall mean U.S. dollars, which is the
       currency used for all purposes in this Agreement and the Related Documents. The
       specification of any dollar amount in the representations and warranties or otherwise in this
       Agreement, the Related Documents or the Schedules is not intended and shall not be
       deemed to be an admission or acknowledgement of the materiality of such amounts or
       items, nor shall the same be used in any dispute or controversy between the parties hereto
       to determine whether any obligation, item or matter (whether or not described herein or
       included in any schedule) is or is not material for purposes of this Agreement, the Related
       Documents or the Schedules.

                      (iii)    Exhibits/Schedules. The Exhibits and Schedules to this Agreement
       are an integral part of this Agreement. All Exhibits and Schedules annexed hereto or
       referred to herein are hereby incorporated in and made a part of this Agreement as if set


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      forth in full herein. Any matter or item disclosed on one Schedule shall be deemed to have
      been disclosed on each other Schedule. Disclosure of any item on any Schedule shall not
      constitute an admission or indication that any such item is required to be disclosed, or that
      such item or matter is material or has resulted in or will result in a Material Adverse Effect
      or that the included items or actions are not in the ordinary course of business. No
      disclosure on a Schedule relating to a possible breach or violation of any Contract,
      Applicable Law or Order shall be construed as an admission or indication that a breach or
      violation exists or has actually occurred. Any capitalized terms used in any Schedule or
      Exhibit but not otherwise defined therein shall be defined as set forth in this Agreement.

                    (iv)   Gender and Number. Any reference to gender shall include all
      genders, and words imparting the singular number only shall include the plural and vice
      versa.

                      (v)     Headings. The provision of a table of contents, the division of this
      Agreement or Related Documents into articles, sections and other subdivisions and the
      insertion of headings are for convenience of reference only and shall not affect or be
      utilized in construing or interpreting this Agreement or Related Document, as applicable.
      Unless otherwise specified, all references in this Agreement to any “Section” or other
      subdivision are to the corresponding section or subdivision of this Agreement, and all
      references in a Related Document to any “Section” or other subdivision are to the
      corresponding section or subdivision of such Related Document.

                     (vi)    Herein. The words such as “herein,” “hereinafter,” “hereof” and
      “hereunder” that are used in this Agreement refer to this Agreement as a whole and not
      merely to a subdivision in which such words appear unless the context otherwise requires.
      Uses of such words in the Related Documents shall refer to such Related Document as a
      whole and not merely to a subdivision in which such words appear unless the context
      otherwise requires.

                     (vii)   Or. The word “or” shall be construed in the inclusive sense of
      “and/or” unless otherwise specified.

                     (viii) Including. The word “including” or any variation thereof means
      (unless the context of its usage otherwise requires) “including, without limitation” and shall
      not be construed to limit any general statement that it follows to the specific or similar
      items or matters immediately following it.

                    (ix)     Successors. A reference to any party to this Agreement, any
      Related Document or any other agreement or document shall include such party’s
      successors and permitted assigns.

                      (x)      Legislation. A reference to any legislation or to any provision of
      any legislation shall include any amendment thereto, and any modification or re-enactment
      thereof, any legislative provision substituted therefor and all regulations and statutory
      instruments issued thereunder or pursuant thereto.




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                       (xi)    Reflected On or Set Forth In. An item arising with respect to a
       specific representation or warranty shall be deemed to be “reflected on” or “set forth in” a
       balance sheet or financial statement, to the extent any such phrase appears in such
       representation or warranty, if (a) there is a reserve, accrual or other similar item underlying
       a number on such balance sheet or financial statement that relates to the subject matter of
       such representation, (b) such item is otherwise specifically set forth on the balance sheet
       or financial statement or (c) such item is set forth in the notes to the balance sheet or
       financial statement.

                      (xii)   Made Available. Any reference in this Agreement to “made
       available” means a document or other item of information that was provided or made
       available to Purchaser or its representatives in any “data rooms,” “virtual data rooms,”
       management presentations or in any other form in expectation of, or in connection with,
       the Transactions.

                       (b)      All representations and warranties set forth in this Agreement or the
Related Documents are contractual in nature only and subject to the sole and exclusive remedies
set forth herein. No Person is asserting the truth of any representation and warranty set forth in this
Agreement or the Related Documents; rather, the parties have agreed that should any
representations and warranties of any party prove untrue, the other parties shall have the specific
rights and remedies herein specified as the exclusive remedy therefor, but that no other rights,
remedies or causes of action (whether in law or in equity or whether in contract or in tort or
otherwise) are permitted to any party hereto as a result of the untruth of any such representation
and warranty. The phrase “to Seller’s Knowledge” and phrases of similar import or effect are used
herein to qualify and limit the scope of any representation or warranty in which they appear and
are not affirmations of any Person’s “superior knowledge” that the representation or warranty in
which they are used is true.

                         (c)     The parties hereto have participated jointly in the negotiation and
drafting of this Agreement and the Related Documents and, in the event an ambiguity or question
of intent or interpretation arises, this Agreement and the Related Documents shall be construed as
jointly drafted by the parties hereto and no presumption or burden of proof shall arise favoring or
disfavoring any party by virtue of the authorship of any provision of this Agreement and the
Related Documents. The parties hereto agree that changes from earlier drafts to the final version
of this Agreement do not necessarily imply that the party agreeing to such change is agreeing to a
change in meaning (as the party agreeing to such change may believe the change is stylistic and
non-substantive); consequently, no presumption should exist by virtue of a change from a prior
draft.

                                    ARTICLE 2.
                           THE PURCHASE AND SALE; CLOSING

        2.1     Purchase and Sale. Upon the terms and subject to the conditions set forth in this
Agreement and the Sale Order, at the Closing, in exchange for an aggregate payment from
Purchaser to the Seller equal to the Purchase Price, Purchaser shall purchase, assume and accept
from the Seller, and the Seller shall sell, transfer, assign, convey and deliver (or shall cause the
sale, transfer, assignment, conveyance and delivery) to Purchaser, Free and Clear (except for


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Permitted Liens), all of the rights, title and interests in, to and under the following assets and
interests used in the Business (“Used in the Business”) as the same shall exist on the Closing Date
(collectively, the “Transferred Assets”):

               (a)     the Trudhesa Assets;

               (b)     the POD Technology Assets;

               (c)     all supplies and other inventories Used in the Business;

                (d)    to the extent transferable, the Seller Permits (including any applications that
are in process) Used in the Business;

                (e)    all Contracts to which a member of the Seller Group is a party and which
are Used in the Business, all of which are listed on Schedule 2.1(e), excluding Contracts that expire
or are terminated prior to the Closing and all Designated Contracts that Purchaser elects to assume
pursuant to Section 5.3(b) (collectively, the “Assigned Contracts”);

              (f)     all material original books and records, documents, data and information of
the Seller Group solely related to the Business, other than the Excluded Books and Records;
provided, however, that the Seller Group shall be entitled to retain copies of any such materials;

               (g)     all rights to receive mail and other correspondences and communications
(including electronic mail) addressed to Seller relating solely to the Product (including any such
mail and other correspondence and communications (including electronic mail) from the FDA or
any other Governmental Authority, customers, advertisers, suppliers, distributors, agents and
others and payments with respect to the Product);

               (h)     the Owned Intellectual Property Assets, including that Intellectual Property
set forth on Schedule 2.1(h) and all (i) royalties, fees, income, payments, and other proceeds now
or hereafter due or payable to any member of the Seller Group with respect to such Intellectual
Property, and (ii) claims and causes of action with respect to such Intellectual Property, whether
accruing before, on, or after the Agreement Date, including all rights to and claims for damages,
restitution, and injunctive and other legal or equitable relief for past, present, or future
infringement, misappropriation, or other violation thereof;

                (i)    all equipment, and other tangible personal property, including carts, dollies,
office furniture and fixtures, computers, security systems, telephone and internet equipment and
maintenance equipment and supplies, Used in the Business and owned by the Seller Group listed
on Schedule 2.1(i);

                (j)      all of the Seller Group’s rights, claims or causes of action against third
parties relating to the assets, properties, business or operations of the Seller Group with respect to
the Business, the Transferred Assets and the Assumed Liabilities (including all guaranties,
warranties, indemnities and similar rights in favor of the Seller Group or any their Affiliates to the
extent solely related to the Transferred Assets or the Assumed Liabilities), in each case, whether
arising by way of counterclaim or otherwise, and whether arising out of transactions occurring



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prior to, on or after the Closing Date, except for such rights, claims and causes of related to the
Excluded Assets or Excluded Liabilities;

                (k)     all prepaid expenses, claims, deposits, prepayments, refunds, causes of
action, demands, actions, suits, choses in action, rights of recovery, rights under guarantees,
warranties, indemnities and all similar rights against third parties, rights of setoff and rights of
recoupment, in each case, to the extent used in or held for use for the Transferred Assets listed in
clauses (a) through (j) above or the Assumed Liabilities;

               (l)    all accounts receivable, intercompany obligations and other amounts
receivable by the Seller Group (the “Receivables”); and

                             (m)       all inventory of the Seller Group.

        2.2    Excluded Assets. Notwithstanding the provisions of Section 2.1 or anything to the
contrary herein, any and all assets, rights and properties of the Seller Group that are not specifically
identified in Section 2.1 as Transferred Assets, including the following (collectively, the
“Excluded Assets”), shall be retained by the Seller Group, and Purchaser and its designees shall
acquire no right, title or interest in the Excluded Assets in connection with the Transaction:

              (a)      all (i) cash and cash equivalents, wherever located, including bank balances
and bank accounts or safe deposit boxes, monies in the possession of any banks, savings and loans
or trust companies and similar cash items, (ii) escrow monies and deposits in the possession of
landlords and utility companies, and (iii) investment securities and other short- and medium-term
investments;

               (b)    all records, documents or other information exclusively relating to current
or former employees of the Seller Group that are not hired by Purchaser, and any materials to the
extent containing information about any employee, disclosure of which would violate Applicable
Law or such employee’s reasonable expectation of privacy;

              (c)    any interest of the Seller Group under this Agreement or the Related
Documents, including the right to receive the Purchase Price and to enforce the Seller’s rights and
remedies thereunder;

                (d)     all Excluded Contracts (including all prepaid assets relating to the Excluded
Contracts), other than the Assigned Contracts, to which any member of the Seller Group or any of
their respective Affiliates is a party;

                (e)   any (i) Attorney-Client Information arising from communications prior to
the Closing Date between a member of the Seller Group (including any one or more officers,
directors or stockholders of such Seller Group member), on the one hand, and its counsel, on the
other hand, and (ii) claims under any director and officer, errors and omissions, fiduciary and
commercial crime insurance policies; and

  (f)    any rights of the Seller Group to Asset Tax refunds (or credits for overpayment
                         of Taxes in lieu of a refund) attributable to any Pre-Closing Tax Period;



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                (g)     all Permits (including applications therefor and any trade or import/export
Permits) that (i) are not materially related to the Business or (ii) are not transferable to Purchaser
under Applicable Law;

               (h)     the Excluded Books and Records;

              (i)     any assets not otherwise designated as Transferred Assets or from time to
time designated by the parties hereto as Excluded Assets;

               (j)     the Avoidance Actions;

                (k)     all of the Seller Group’s rights, claims or causes of action against third
parties relating to the assets, properties, business or operations of the Seller Group (including all
guaranties, warranties, indemnities and similar rights in favor of the Sellers Group or any of their
Affiliates) to the extent arising under the Bankruptcy Code or relating to any of the Excluded
Assets or Excluded Liabilities, in each case, whether arising by way of counterclaim or otherwise,
and whether arising out of transactions occurring prior to, on or after the Closing Date;

              (l)    all of the Seller Group’s right, title and interest to any the assets set forth on
Schedule 2.2(n); and

                (m)      all prepaid expenses, claims, deposits, prepayments, refunds, causes of
action, demands, actions, suits, rights of recovery, rights under guarantees, warranties, indemnities
and all similar rights against third parties, rights of setoff and rights of recoupment, in each case,
to the extent exclusively related to or exclusively used in or held for use for the Excluded Assets
listed in clauses (a) through (m) above.

Notwithstanding anything to the contrary contained in this Agreement or any of the other Related
Documents, Purchaser acknowledges and agrees that all of the following are also Excluded Assets,
and all right, title and interest in and to all Excluded Assets shall be retained by the Seller Group
and shall remain the property of the Seller Group (and shall expressly be excluded from the sale,
transfer, assignment and conveyance to Purchaser hereunder), and neither Purchaser nor any of its
Affiliates shall have any interest therein: (x) all records and reports prepared or received by the
Seller Group or any of their Affiliates in connection with the sale of the Business and the
Transactions, including all analyses relating to the Business or Purchaser so prepared or received;
and (y) all confidentiality agreements with prospective purchasers of the Business or any portion
thereof and all bids and expressions of interest received from third parties with respect thereto.

        2.3     Assumption of Liabilities. On the terms and subject to the conditions set forth in
this Agreement, Purchaser shall, effective as of the Closing, assume and agree to pay, discharge
and perform in accordance with their terms all Liabilities of the Seller Group arising from or related
to the Business or the Transferred Assets as the same shall exist on the Closing Date and
irrespective of whether the same shall arise prior to, on or after the Closing Date (collectively, the
“Assumed Liabilities”), including:

                 (a)     all Liabilities relating to the Transferred Assets, whether incurred or arising
prior to, at or after the Closing (other than those Liabilities relating to any breach, tort including



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any tort based on a failure to warn, failure to comply with law, failure to comply with industry
standards, Nitrosamine Liabilities, or other wrongful conduct);

               (b)     subject to Section 2.4, all Liabilities arising under the Assigned Contracts,
whether incurred or arising prior to, at or after the Closing (other than those Liabilities relating to
any breach, tort including any tort based on a failure to warn, failure to comply with law, failure
to comply with industry standards, Nitrosamine Liabilities, or other wrongful conduct), and all of
the Determined Cure Costs;

               (c)     all Taxes for which Purchaser is liable pursuant to this Agreement;

                (d)     all accounts payable and other intercompany obligations of the Seller Group
to the extent related to the Business and arising following the Petition Date; and

               (e)     other Liabilities that are listed on Schedule 2.3(d).

        2.4     Excluded Liabilities. Notwithstanding Section 2.3, Purchaser is assuming only the
Assumed Liabilities of the Seller Group and will not assume or be liable for any Excluded
Liabilities (including Seller Group Taxes), and the Seller Group shall retain and shall be
responsible for, all Liabilities of that are not Assumed Liabilities, including all Liabilities related
to Excluded Assets or any other liabilities of the Business (all such Liabilities not being assumed
herein referred to as the “Excluded Liabilities”).

         2.5     Excluded Contracts. Pursuant to Section 5.3(b), Purchaser shall be entitled, in its
sole discretion, by written notice to the Seller up to three Business Days prior to the Closing Date,
to elect not to purchase or assume one or more Assigned Contract, in which case, notwithstanding
anything in this Agreement or any Related Document to the contrary, such Assigned Contract shall
be considered an excluded contract (“Excluded Contract”) (and shall constitute an Excluded
Asset and not be included in the Transferred Assets) for all purposes of this Agreement and
Purchaser shall not have any obligation to satisfy or pay any Cure Costs or other Liabilities with
respect to such Excluded Contract. Each assignable Assigned Contract that Purchaser does not
elect to remove from the list of Assigned Contracts pursuant to Section 5.3(b) shall be an Assigned
Contract.

       2.6     Nontransferable Assets and Liabilities.

                (a)     Notwithstanding any other provision of this Agreement to the contrary, this
Agreement shall not constitute an agreement to assign or transfer any Transferred Asset or any
claim, right or benefit arising thereunder or resulting therefrom if an attempted assignment or
transfer thereof, without the Consent of a third party (including any Governmental Authority)
(after giving effect to the Sale Order or any other applicable order of the Bankruptcy Court that
effects such transfer without any required Consents), would constitute a breach or other
contravention thereof or a violation of Applicable Law (each, a “Non-Transferred Asset”).

               (b)    If, on the Closing Date, any third-party Consent is not obtained for a Non-
Transferred Asset, or if an attempted transfer or assignment thereof would be ineffective or a
violation of Applicable Law, then, until any requisite consent is obtained therefor and the same is
transferred and assigned to Purchaser or its designee, each such Non-Transferred Asset shall be


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held by the Seller as agent for the Purchaser, and the Seller shall, to the extent permitted by
Applicable Law, provide to Purchaser the benefits and Purchaser shall assume the obligations and
bear the economic burdens associated with such Non-Transferred Asset. The Seller and Purchaser
shall use commercially reasonable efforts to enter into agreements (including subcontracting,
sublicensing or subleasing, if permitted) by which (i) the Seller shall, at Purchaser’s sole expense,
without interruption of the Business, provide Purchaser with the economic and operational
equivalent of obtaining the requisite third-party Consent and assigning the applicable Non-
Transferred Asset to Purchaser (including, with the prior written consent of Purchaser, enforcing
for the benefit of Purchaser, and at Purchaser’s sole expense, all claims or rights arising thereunder)
and (ii) Purchaser shall perform, at its sole expense, the obligations and assume the economic
burdens of the Seller or its Affiliates to be performed after the Closing with respect to such Non-
Transferred Asset. Purchaser shall promptly, upon receipt of a written request therefor from the
Seller, reimburse the Seller for all monies paid by the Seller on Purchaser’s behalf in connection
with any Assumed Liability not assigned or transferred to Purchaser pursuant to this Section 2.6.

        2.7    Closing. The closing of the Transactions (the “Closing”) will take place remotely
by electronic exchange of documents on the date (the “Closing Date”) that is the second (2nd)
Business Day after the date on which all of the conditions set forth in ARTICLE 8 (excluding
conditions that, by their terms, are to be satisfied at the Closing, but subject to the satisfaction or
waiver of all such conditions at the Closing), have been satisfied or waived by the party hereto
entitled the benefit of the same, unless another time or date is agreed to in writing by the parties
hereto. Except as otherwise set forth herein, all proceedings to be taken and all documents to be
executed and delivered by all parties hereto at the Closing will be deemed to have been taken and
executed simultaneously and no proceedings will be deemed to have been taken nor documents
executed or delivered until all have been taken, executed and delivered.

       2.8     Closing Deliveries of the Parties. At or prior to the Closing:

             (a)   Purchaser and the Seller shall execute and deliver the Bill of Sale and
Assignment and Assumption Agreement;

            (b)    Purchaser and the Seller shall execute and deliver the Intellectual Property
Assignment Agreement, in a form reasonably acceptable to Purchaser and the Seller;

            (c)        Escrow Agent, Purchaser and the Seller shall execute and deliver the
Escrow Agreement;

                (d)   On the Closing Date, each Party shall transmit the Buyer’s FDA Transfer
Letters to the FDA and shall take any other actions reasonably necessary to effect the transfer of
the Product from the Seller to Purchaser.

               (e)    Purchaser shall deliver, or cause to be delivered, to the Seller or the
applicable Person each of the following:

                      (i)      a certificate, dated as of the Closing Date, executed by or on behalf
       of Purchaser as to the satisfaction of the conditions set forth in Section 8.3(a) and Section
       8.3(b); and



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                       (ii)    payment of the closing payments set forth in Section 2.9.

                (f)   the Seller shall deliver, or cause to be delivered, to Purchaser or the
applicable Person each of the following:

                       (i)       a certificate, dated as of the Closing Date, executed by or on behalf
       of the Seller as to the satisfaction of the conditions set forth in Section 8.2(a) and Section
       8.2(b); and

                      (ii)      an IRS Form W-9 with respect to the Seller, duly completed and
       executed, dated as of the Closing Date.

       2.9     Purchase Price; Assumed Liabilities; Deposits.

                (a)     At the Closing, upon the terms and subject to the conditions set forth herein,
in full consideration for the sale, transfer, conveyance, assignment and delivery of the Transferred
Assets to Purchaser and assumption of the Assumed Liabilities by Purchaser, Purchaser shall
(i) pay to the Seller an aggregate amount equal to the Purchase Price minus the Deposit Escrow
Amount, which shall be released to the Seller by the Escrow Agent pursuant to Section 2.9(c), by
irrevocable wire transfer of immediately available funds in accordance with payment instructions
delivered by the Seller to Purchaser prior to the Closing; and (ii) assume the Assumed Liabilities.

               (b)    At the Closing, on the terms and subject to the conditions set forth in this
Agreement, Purchaser will assume and become responsible for the Assumed Liabilities. Purchaser
agrees to pay, perform, honor, and discharge, or cause to be paid, performed, honored and
discharged, all Assumed Liabilities in a timely manner in accordance with the terms hereof,
including paying or causing to be paid, at or prior to the Closing, all Determined Cure Costs.

               (c)     The Deposit Escrow Amount shall be distributed as follows:

                (i)     if the Closing shall occur, (A) the Seller and Purchaser shall deliver a joint
written instruction to the Escrow Agent in accordance with the Escrow Agreement instructing the
Escrow Agent to release from the Deposit Escrow Account the entire Deposit Escrow Amount to
the Seller, by irrevocable wire transfer of immediately available funds, to an account designated
by the Seller to the Escrow Agent, and (B) the Deposit Escrow Amount shall be delivered to the
Seller at Closing and credited against the amount required to be paid by Purchaser to the Seller at
Closing in accordance with Section 2.9(a);

                (ii)  if this Agreement is terminated by the Seller pursuant to Section 9.1(g), (A)
the Seller and Purchaser shall deliver a joint written instruction to the Escrow Agent in accordance
with the Escrow Agreement instructing the Escrow Agent to release from the Deposit Escrow
Account the entire Deposit Escrow Amount to the Seller, by irrevocable wire transfer of
immediately available funds, to an account designated by the Seller to the Escrow Agent and (B)
the Deposit Escrow Amount, which shall constitute liquidated damages (and not a penalty), shall
be delivered to the Seller within two Business Days following delivery of such joint written
instruction; or




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                (iii) if this Agreement is validly terminated for any reason in accordance with
the terms of this Agreement other than by the Seller pursuant to Section 9.1(g) or Purchaser forfeits
the Deposit Escrow Amount to the Seller pursuant to Section 8.5, (A) the Seller and Purchaser
shall deliver a joint written instruction to the Escrow Agent in accordance with the Escrow
Agreement instructing the Escrow Agent to release from the Deposit Escrow Account the entire
Deposit Escrow Amount to Purchaser, by irrevocable wire transfer of immediately available funds,
to an account designated by Purchaser to the Escrow Agent, and (B) the Deposit Escrow Amount
shall be delivered to Purchaser within two Business Days following delivery of such joint written
instruction.

Any issue regarding the entitlement to the Deposit Escrow Amount shall be determined by the
Bankruptcy Court, and Purchaser consents to the jurisdiction of the Bankruptcy Court for any issue
related to this Agreement.

        2.10 Transfer Taxes. Purchaser shall be solely responsible for, and shall indemnify,
defend, and hold harmless the Seller Group for, any transfer, documentary, sales, use, excise, stock
transfer, value-added, stamp, recording, registration and other similar taxes, levies and fees
(including any penalties, fines and interest), together with any conveyance fees, recording charges
and other similar fees and charges, incurred in connection with this Agreement and the
Transactions (collectively, “Transfer Taxes”). Purchaser and the Seller shall cooperate in good
faith to minimize, to the extent permissible under Applicable Law, the amount of any Transfer
Taxes due with respect to the Transactions.

       2.11    Allocation of Purchase Price.

                 (a)     The Purchase Price (including all other amounts treated as consideration for
U.S. federal income tax purposes, including the Earn-out Payment) and Assumed Liabilities shall
be allocated as set forth on Schedule 2.11 (the “Preliminary Allocation Schedule”). Within 90
days following the final determination of the Purchase Price, Purchaser shall deliver to the Seller
a schedule allocating the Purchase Price (and all other amounts treated as consideration for U.S.
federal income tax purposes) among the Transferred Assets (the “Allocation Schedule”). The
Allocation Schedule shall be reasonable and shall be prepared in accordance with the Preliminary
Allocation Schedule, and Purchaser and the Seller shall negotiate in good faith to resolve disputed
items, if any, in the Allocation Schedule as promptly as practicable. If Purchaser and the Seller are
unable to reach agreement with respect to the Allocation Schedule within 30 days after the delivery
of the Allocation Schedule by Purchaser to the Seller, the parties shall be entitled to use their own
Purchase Price allocations for Tax reporting purposes.

                (b)     To the extent Purchaser and the Seller agree on the Allocation Schedule
pursuant to Section 2.11(a), Purchaser and the Seller shall (i) timely file all Tax Returns required
to be filed in connection with the Allocation Schedule, and (ii) prepare and file all Tax Returns
and determine all Taxes in a manner consistent with the Allocation Schedule, except as may be
required by Applicable Law and except as may be necessary to reflect adjustments to the
Allocation Schedule resulting from post-Closing payments or events. Purchaser, on the one hand,
and the Seller, on the other hand, shall notify the other if it receives notice that any Governmental
Authority proposes any allocation different from Allocation Schedule.



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        2.12 Escrow Accounts. At the Closing, the Deposit Escrow Amount shall be used to
satisfy a portion of the payment obligations of Purchaser pursuant to Section 2.9(c), otherwise the
Deposit Escrow Amount shall be released to Purchaser or the Seller pursuant to Section 2.9(c).
Upon the final release of all of the Deposit Escrow Amount pursuant to the terms of this Agreement
and the Escrow Agreement, the Escrow Agreement shall automatically terminate. Any fees owed
to the Escrow Agent and obligations under the Escrow Agreement shall be borne by Purchaser.
The Deposit Escrow Amount shall be held in trust for the benefit of the Seller and shall not be
subject to any encumbrance, attachment, trustee process or any other judicial process of any
creditor of any party hereto, and shall be held and disbursed solely for the purposes of and in
accordance with the terms of this Agreement and the Escrow Agreement.

       2.13    Additional Consideration.

                      (a)    Earn-out Payments. As additional consideration for the Transferred
Assets, during the period beginning on the first date on which Purchaser or any of its Affiliates,
licensees or sublicensees generates any Product Net Sales (the “Purchaser Product Launch
Date”) and continuing for eight (8) full fiscal years thereafter (the “Earn-out Period”), Purchaser
shall pay Seller:

                     (i)      Ten percent (10%) of the amount, if any, by which the annual
       Product Net Sales for each fiscal year exceeds $20,000,000 but are less than or equal to
       $45,000,000 during each fiscal year of the Earn-out Period (each such payment, a “First
       Tier Earn-out Payment”);

                     (ii)     Fifteen percent (15%) of the amount, if any, by which the annual
       Product Net Sales for each fiscal year exceeds $45,000,000 during each fiscal year of the
       Earn-out Period (each such payment, a “Second Tier Earn-out Payment”);

                       (iii)  A $4,000,0000 one-time payment when the annual Product Net
       Sales equal or exceed $65,000,000 for a fiscal year during the Earn-out Period (the “Third
       Tier Earn-out Payment”);

                       (iv)   A $8,000,000 one-time payment when the annual Product Net
       Sales equal or exceed $100,000,000 for a fiscal year during the Earn-out Period (the “Final
       Tier Earn-out Payment” and together with the First Tier Earn-out Payments, the Second
       Tier Earn-Out Payments and the Third Tier Earn-out Payment, the “Earn-out Payments”,
       and each such payment, an “Earn-out Payment”).

               (b)    Licensing Payments. During the Earn-out Period, Purchaser shall pay Seller
thirty-three percent (33%) of the annual POD Technology Licensing Revenue (the “POD
Licensing Share”) generated during each fiscal year.

                (c)    Payment Procedures. Within ninety (90) calendar days of the end of each
fiscal year during the Earn-out Period, Purchaser shall deliver to Seller (i) a statement (each, an
“Earn-out Statement”) setting forth the Product Net Sales for such fiscal year and the Earn-out
Payment, if any, payable with respect to such period, (ii) a statement (each a “Licensing
Statement”) setting for the POD Technology Licensing Revenue for such fiscal year and the POD
Licensing Share, if any, payable with respect to such period, (iii) the aggregate Earn-out Payment,


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in cash by wire transfer of immediately available funds and (iv) the POD Licensing Share, in cash
by wire transfer of immediately available funds.

                (d)     Earn-Out Covenants. During the Earn-Out Period, Purchaser and its
Affiliates shall (i) use commercially reasonable efforts to maximize the Earn-Out Payments and
the POD Technology Licensing Revenue and (ii) not intentionally act in bad faith with the sole
purpose of frustrating achievement of the Earn-out Payments or maximizing the POD Technology
Licensing Revenue.

                (e)     Asset Sale. If, at any time during the Earn-Out Period, Purchaser (i) sells,
transfers, assigns or otherwise disposes of more than 50% the assets of the Business by value to a
third party or substantially all of the Trudhesa Assets or (ii) enters into any exclusive licensing
deal with respect to any of the foregoing, Purchaser shall cause such subsequent acquirer or
licensor of said assets to assume the obligations set forth in this Section 2.13.

                (f)     Information Rights. During the Earn-Out Period, Purchaser will provide the
Seller with a written report within 60 days after the conclusion of each fiscal year setting forth the
Product Net Sales during the preceding fiscal year (the “Net Sales Report”). If Purchaser
determines that an Earn-Out Payment has been achieved during any fiscal year, Purchaser shall
include a notice in the Net Sales Report that such Earn-Out Payment has been achieved. Purchaser
shall keep, for so long as required under Purchaser’s internal records retention policies, books and
records pertaining to the Product Net Sales of the Products with respect to each fiscal year.

               (g)     Dispute Resolution.

                       (i)      In the event that the Seller disputes the purported occurrence or
       non-occurrence of any Earn-Out Payment or Purchaser’s compliance with Section 2.13,
       then the Seller shall provide written notice to Purchaser (the “Dispute Notice”) specifying
       the amount disputed and the basis for the dispute, together with supporting documentation
       reflecting the analysis and justification thereof. Purchaser and the Seller shall thereafter
       attempt to resolve the dispute as set forth in this Section 2.13(g).

                       (ii)     The Seller and Purchaser shall attempt to resolve any dispute set
       forth in a Dispute Notice promptly by negotiation in good faith between the Seller and an
       officer of Purchaser who has authority to settle the dispute. Each Party shall give the other
       Party involved written notice of any dispute not so resolved within 30 days following the
       Seller’s delivery of the Dispute Notice. Within 15 Business Days following delivery of
       such notice, the Party receiving notice shall submit to the other a written response thereto.
       The notice and the response shall include a statement of each Party’s position(s) regarding
       the matter(s) in dispute and a summary of arguments in support thereof.

                      (iii)   Within 10 Business Days following delivery of the notice delivered
       pursuant to Section 2.13(g)(ii), the designated officer of Purchaser and the Seller shall meet
       at a mutually agreed time and place, and thereafter, as often as they reasonably deem
       necessary, to attempt to resolve the dispute. All negotiations conducted pursuant to this
       Section 2.13(g) (and any of the Parties’ submissions in contemplation hereof) shall be
       kept confidential by the Parties and shall be treated by the Parties and their
       representatives as

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      compromise and settlement negotiations under the Federal Rules of Evidence and any
      similar state rules.

                      (iv)     In the event that the Seller and Purchaser are unable to resolve any
      dispute arising out of this Agreement in accordance with provisions (i), (ii) and (iii) of this
      Section 2.13(g) within 60 days after delivery of any Dispute Notice, Purchaser and the
      Seller agree to appoint a neutral, independent accountant who is mutually agreed upon by
      both parties. This accountant shall have the authority to examine all relevant
      documents, records, and financial statements and make a binding determination regarding
      the dispute. The decision of the neutral accountant shall be final and binding on both
      parties, subject only to manifest error.

                      (v)    The costs for the services of the neutral accountant shall be borne
      equally by the Seller and Purchaser, unless the neutral accountant determines that one
      party's position was substantially unjustified, in which case that party shall bear the full
      cost.

              (h)    Earn-Out Termination.

                    (i)       At any time between the second and the third anniversaries of
      Closing, Purchaser, at its sole discretion, shall be entitled to pay Seller an amount equal to
      the Earn-out Termination Amount, and upon payment of such Earn-out Termination
      Amount, all Earn-out Payments payable pursuant to Section 2.13(a) shall be terminated.
      The “Earn-out Termination Amount” shall be equal to:

              The greater of:

              (X) $5,000,0000, and

              (Y) The product of a) annualized Product Net Sales for the highest quarter of the
              four trailing quarters, b) the applicable First Tier Earnout Payment and Second
              Tier Earn-out Payments, and c) the remaining Earn-out Period, plus the Third Tier
              Earn-out Payment and the Fourth Tier Earn-out Payment, to the extent that
              annualized Product Net Sales are above those thresholds.

              For example, if Purchaser exercises this right on the second anniversary of
              Closing and the highest trailing quarterly Net Sales are $17 million, the buyout
              amount would equal: $17M x 4 = $68M annualized Product Net Sales. First Tier
              Earn-out = $2.5M, Second Tier Earn-out = $3.45M. $5.95M total x 6 (remaining
              term) = $35.7M, plus Third Tier Earnout of $4M. Total Earn-Out Termination
              Amount of $39.7M.

                    (ii)     Upon Seller’s receipt of the Earn-Out Termination Amount,
      Purchaser shall be released from any further obligations related to Earn-out Payments
      under this Agreement, and the Seller shall not be entitled to any additional payments
      beyond the Earn-Out Termination Amount for the Earn-Out Period.



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                      (iii)   Upon written notice to Seller that the Earn-Out Termination
       Amount is being paid, Purchaser shall have thirty (30) days to make the payment in cash
       by wire transfer of immediately available funds.

                               ARTICLE 3.
              REPRESENTATIONS AND WARRANTIES OF THE SELLER

Except as disclosed in a document herewith delivered by the Seller to Purchaser (the “Schedules”),
the Seller hereby makes the representations and warranties contained in this ARTICLE 3 to
Purchaser.

        3.1    Organization, Good Standing and Other Matters; Subsidiaries. Each member
of the Seller Group is duly organized, validly existing and in good standing under the Applicable
Laws of its jurisdiction of organization and has, subject to the necessary authority of the
Bankruptcy Court, the requisite corporate power and authority to operate the Business and
necessary to own, lease or operate the properties and assets owned, leased or operated by it to carry
on the Business as now being conducted, except where the failure to be so duly organized, validly
existing and in good standing, or to have such power and authority, would not, individually or in
the aggregate, have a Material Adverse Effect. Each member of the Seller Group is duly qualified
to do business as a foreign company in each jurisdiction in which the nature of the Business as
currently conducted by it or the property owned or leased by it makes such qualification necessary,
except where the failure to be so qualified would not, individually or in the aggregate, have a
Material Adverse Effect.

         3.2     Authority and Enforceability. Subject to Bankruptcy Court approval, the Seller
has all requisite power and authority to execute and deliver this Agreement and each of the Related
Documents to which it is (or at Closing, will be) a party and to perform its obligations hereunder
and thereunder and to consummate the Transactions. The execution, delivery and performance of
this Agreement and the each of the Related Documents to which the Seller is (or at Closing, will
be) a party thereto, and the consummation by the Seller of the Transactions, has been duly
authorized and approved by all necessary limited liability company action on the part of the Seller
and are subject to the approval of the Bankruptcy Court. This Agreement has been, and each
Related Document will be, at or prior to the Closing, duly executed and delivered by the Seller
and, assuming the due execution and delivery by the other parties hereto or thereto, and subject to
the approval of the Bankruptcy Court, constitutes a valid and binding obligation of the Seller,
enforceable against it in accordance with its respective terms, except to the extent that such
enforceability may be subject to, and limited by, the Enforceability Exceptions.

        3.3     No Conflict; Required Filings and Consents. Except (a) such filings as may be
required in connection with the Transfer Taxes described in Section 2.10 and (b) as otherwise set
forth on Schedule 3.3, the execution and delivery of this Agreement by the Seller does not and the
execution and delivery of the Related Documents by the Seller will not, and the consummation of
the Transactions hereby and thereby will not (i) violate the provisions of the Organizational
Documents of any member of the Seller Group, (ii) subject to the entry of the Sale Order, violate
any Applicable Law or Order to which any member of the Seller Group is subject or by which its
properties or assets are bound, (iii) require any member of the Seller Group to obtain any Consent,
or give any notice to, or make any filing with, any Governmental Authority on or prior to the


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Closing Date (except as required by the Bankruptcy Code or the Sale Order), (iv) subject to the
entry of the Sale Order, result in a breach of or constitute a default (with or without due notice or
lapse of time or both), give rise to any right of termination, cancellation or acceleration under, or
require the Consent of any third party to, any Assigned Contract or (v) subject to the entry of the
Sale Order, result in the imposition or creation of any Lien upon or with respect to any of the assets
or properties of the Seller Group; excluding from the foregoing clauses (ii) through (v) any
Consents, approvals, notices and filings the absence of which, and violations, breaches, defaults,
rights of acceleration, cancellation or termination, and Liens, the existence of which would not,
individually or in the aggregate, have a Material Adverse Effect.

        3.4     Compliance With Laws. To the Seller’s Knowledge, (i) the Seller Group is
conducting the Business in compliance in all material respects with all material Applicable Laws
applicable to the Business and (ii) no member of the Seller Group has received any written notice
since the Petition Date of any material violations of any material Applicable Law applicable to
their conduct of the Business. As of the Agreement Date, the Seller has and, to the Seller’s
knowledge, has obtained all permits, licenses, certifications, registrations, qualifications,
authorizations, consents or approvals of the FDA or any other Governmental Authority, currently
used in, necessary for and material to the operation of sale of the Product as presently conducted,
all such permits, licenses, certifications, registrations, qualifications, authorizations, consents or
approvals are included in the Trudhesa Assets and Seller has made available to Purchaser true and
complete copies of all such permits, licenses, certifications, registrations, qualifications,
authorizations, consents or approvals. As of the Agreement Date, neither Seller nor, to the Seller’s
knowledge, any other Person has received any communication from any Governmental Authority
that threatens to withdraw or suspend any such permits, licenses, certifications, registrations,
qualifications, authorizations, consents or approvals. Seller has filed with the applicable
Regulatory Authorities all required filings, declarations, listings, registrations, reports or
submissions, including adverse event reports, necessary for and material to the operation of sale
of the Product as presently conducted. All relevant filings, declarations, listings, registrations,
reports or submissions were in material compliance with Applicable Law when filed, and no
deficiencies have been asserted by any Governmental Authority with respect to any such filings,
declarations, listing, registrations, reports or submissions. As of the Agreement Date, the Seller
has not received or been subject to: (1) any FDA Form 483s directly relating to the Product; (2)
any FDA notices of adverse findings relating to the Product; or (3) any warning letters or other
correspondence from the FDA or any other Governmental Authority in which the FDA or such
other Governmental Authority asserted that the actions of Seller, with respect to the Product, were
not in compliance with Applicable Laws. There has not been any occurrence of any product recall,
market withdrawal or replacement, or post-sale warning conducted by or on behalf of the Seller
concerning the Product or, to the Seller’s Knowledge, any product recall, market withdrawal or
replacement conducted by or on behalf of any entity as a result of any alleged defect in the Product.

        3.5    Permits. To the Seller’s Knowledge, (i) the Seller Group possess all material
Permits required for the operation of the Business as currently conducted (the “Seller Permits”)
and (ii) no member of the Seller Group has received as of the Agreement Date any written notice




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of any cancellation, suspension, revocation, invalidation or non-renewal of any Permit since the
Petition Date.

        3.6     Litigation. As of the Agreement Date, there is no Action pending or, to the Seller’s
Knowledge, formally threatened in writing, against any member of the Seller Group before any
Governmental Authority that would have a Material Adverse Effect or affect the Transferred
Assets in any material respect after the entry of the Sale Order, if determined adversely and after
taking into effect applicable insurance coverage.

         3.7   Real Property; Personal Property.

               (a)     The Seller Group does not own any real property.

               (b)     Schedule 3.6(b) sets forth each parcel of real property leased by the Seller
Group.

                (c)    Schedule 3.7(b) sets forth a list of all leases of tangible assets and other
personal property of the Seller Group as of the Agreement Date involving annual payments in
excess of $50,000. Each member of the Seller Group has good and valid title to, or in the case of
leased tangible assets and other personal property, a valid leasehold interest in (or other right to
use), all of the material tangible assets and other personal property that are necessary for such
member of the Seller Group to conduct the Business, in each case, free and clear of all Liens to
the maximum extent permitted by Section 363(f) of the Bankruptcy Code (other than Permitted
Liens). All such material tangible assets and other personal property are in good condition and
repair, normal wear and tear excepted.

        3.8     Assigned Contracts. With respect to the Assigned Contracts, (i) except as a result
of, or arising in connection with, the filing of the Bankruptcy Cases, no member of the Seller
Group has received any written notice of any default or event that (with due notice or lapse of time
or both) would constitute a default by the applicable member of the Seller Group under any
Assigned Contract, other than defaults that have been cured or waived in writing or would not
reasonably be expected to have a Material Adverse Effect, (ii) to the Seller’s Knowledge, each
Assigned Contract is a legal, valid and binding obligation of the applicable member of the Seller
Group and is in full force and effect (except to the extent subject to, and limited by, the
Enforceability Exceptions), (iii) to the Seller’s Knowledge, no other party to any Assigned
Contract is (with or without the lapse of time or the giving of notice, or both) in material breach
of or in material default under any Assigned Contract and (iv) to the Seller’s Knowledge, no
member of the Seller Group has provided or received any notice of any intention to terminate any
Assigned Contract. The Seller has made available to Purchaser true, correct and complete copies
of each of the Assigned Contracts listed on Schedule 3.8, together with all amendments thereto.

        3.9     Financial Statements. Schedule 3.9 sets forth the Seller’s (i) balance sheet and
the related financial statements of revenue, expenses, retained earnings, and cash flow for the fiscal
year ending on December 31, 2022, (ii) balance sheet and the related financial statements of
revenue, expenses, retained earnings, and cash flow for the quarter ending on September 30, 2022
and (iii) the Seller’s internally prepared statements of revenue, expenses, retained earnings, and
cash flow for the months ending October 31, 2023 (collectively, the “Seller Financial



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Statements”). The Seller Financial Statements have been prepared in accordance with GAAP
(except as may be indicated in the notes to such financial statements or, in the case of unaudited
financial statements, except as permitted by the SEC on Form 10-Q under the Exchange Act, and
except that the unaudited financial statements may not contain footnotes and are subject to normal
and recurring year-end adjustments), have been prepared on a consistent basis throughout the
periods covered thereby and presents fairly in all respects the financial condition of the Seller as
of such dates and the results of operations of Seller for such periods, and are consistent with the
books and records of Seller (which books and records are correct and complete in all material
respects).

        3.10 Absence of Material Developments. Except as disclosed on Schedule 3.10, since
the Petition Date, there has occurred no fact, event, condition, change or circumstance which has
had or would reasonably be expected to have a Material Adverse Effect.

        3.11 Customers and Suppliers. Except as disclosed on Schedule 3.11(a), to the
Knowledge of the Seller, since the Petition Date, no customer has or has threatened to stop or
decrease the rate of, or as a result of the Bankruptcy Cases or the Transactions, purchasing
materials, products or services from the Business. Except as disclosed on Schedule 3.11(b), to the
Knowledge of the Seller, no supplier has or has threatened to stop or decrease the rate of, or as a
result of the Bankruptcy Cases or the Transactions. supplying materials, products or services to
the Business.

       3.12    Intellectual Property.

               (a)     A true, correct and complete list of all Intellectual Property Registrations,
material unregistered trademarks, and all material software included in the Owned Intellectual
Property Assets is set forth on Schedule 3.12(b).

                 (b)     The Seller Group exclusively owns all Owned Intellectual Property Assets
and, pursuant to an Assigned Contract as of the Agreement Date, has valid and enforceable rights
to use all material Business Intellectual Property that is not an Owned Intellectual Property Asset.
Except as set forth on Schedule 3.12(b), no member of the Seller Group is a party to, or bound by,
(i) any license, royalty agreement, or other agreement relating to the use of any material Business
Intellectual Property (other than non-exclusive licenses grant to a member of the Seller Group for
commercially available, unmodified, off-the-shelf software licensed for aggregate annual fees of
less than $50,000), and (ii) agreements pursuant to which a member of the Seller Group settled
any action, litigation, suit or other judicial or administrative proceeding, claim, assertion, or threat
with respect to Intellectual Property, including settlement agreements, coexistence agreements,
and consent agreements.

                (c)     Other than with respect to Excluded Contracts or Assigned Contracts that
Purchaser does not ultimately assume, no current or former Affiliate, partner, director, stockholder,
officer, member, manager, employee, consultant or contractor of the Seller Group will, after giving
effect to the Transactions, own, license or retain any Business Intellectual Property.

               (d)    All material Intellectual Property Registrations remain pending or in full
force and effect and have not expired or been abandoned or cancelled. The material Intellectual



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Property Registrations are subsisting, valid and, to the to the Seller’s Knowledge, enforceable.
With respect to each item of the material Intellectual Property Registrations, all registration,
issuance, renewal, maintenance and other payments that are or have become due with respect
thereto have been timely paid by or on behalf of the Seller Group. No interference, opposition,
reissue, reexamination, or other proceeding is or has been pending or, to Seller’s Knowledge,
threatened, in which the scope, validity, or enforceability of any material Owned Intellectual
Property Assets is being, has been, or could reasonably be expected to be contested or challenged.
To the Seller’s Knowledge, there is no basis for a claim that any of the Owned Intellectual Property
Assets is invalid or unenforceable.

               (e)    To the Knowledge of the Seller, the conduct of the Business does not
infringe, misappropriate or otherwise violate (and, since January 1, 2021 has not infringed,
misappropriated or otherwise violated) in any material respect any Person’s Intellectual Property,
and no member of the Seller Group has received written notice of any claim or demand since
January 1, 2021 alleging any such infringement, misappropriation or other violation.

               (f)    To the Knowledge of the Seller’s, no Person is currently infringing,
misappropriating or otherwise violating any material Owned Intellectual Property Assets. No
claim of such infringement, misappropriation or other violation of any material Owned Intellectual
Property Assets has been asserted or threatened in writing against any Person since January 1,
2021 by any member of the Seller Group.

               (g)     The Seller Group has taken commercially reasonable steps to safeguard and
maintain the confidentiality of all trade secrets that constitute Owned Intellectual Property Assets,
including by using good faith efforts to require all Persons having access thereto to execute written
non-disclosure agreements. To the Knowledge of the Seller, there has not been unauthorized
disclosure of material trade secrets by any member of the Seller Group that has resulted or is
reasonably likely to result in the loss of trade secret or other rights in and to such information.

                (h)    Each member of the Seller Group is in material compliance with the terms
and conditions of all Contracts pursuant to which such member obtains or uses any Open Source
Software in the Business and (ii) no member of the Seller Group has (A) incorporated Open Source
Software into, or combined Open Source Software with, any material Technology included in the
Owned Intellectual Property Assets; (B) distributed Open Source Software in conjunction with
any such Technology; or (C) used Open Source Software, in each case ((A)-(C)), in such a way
that requires any such Technology to be (1) disclosed or distributed in source code form, (2)
licensed for the purpose of making derivative works or (3) redistributable at no charge.

               (i)     Except as would not have a material impact on the Transferred Assets, the
information technology systems used by, or on behalf of, the Seller Group are each in good
working condition and are adequate for the operation of the Business. The Seller Group undertakes
commercially reasonable efforts to maintain the security and integrity of its information
technology systems. The Seller Group complies, and since January 1, 2021 has complied in all
material respects, with all applicable Laws, internal policies and contractual obligations relating
to privacy, data protection and cybersecurity. Since January 1, 2021, there have not been any
security breaches in any information technology systems used by, or on behalf of, any member of
the Seller Group or with respect to personally identifiable information contained therein, in each


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case, relating to the Transferred Assets, for which notice to any Governmental Authority or
individual was given or required to be given.

        3.13 Inventories. Except as disclosed on Schedule 3.13, all inventories of each member
of the Seller Group (whether or not reflected on the Seller Financial Statements) consist of a quality
and quantity usable and, with respect to finished goods, saleable, in the ordinary course of business.
No member of the Seller Group is in possession of any goods or inventory not owned by a member
of the Seller Group, and the inventories (other than goods in transit) of a member of the Seller
Group are located on the premises of the Seller Group. The reserve for obsolescence with respect
to inventories is adequate and calculated consistent with past practice. Inventories that were
purchased after the date of the balance sheet included in the Seller Financial Statements were
purchased in the ordinary course of business at a cost not exceeding market prices prevailing at
the time of purchase for items of similar quality and quantity. The quantities of each item of
inventory are not excessive, but are reasonable for the continued operation of each member of the
Seller Group in the ordinary course of business.

        3.14 Taxes. The Seller Group has timely filed all Tax Returns that it was required to file
with respect to Transferred Assets. All such Tax Returns were correct and complete in all material
respects. All Taxes owed by the Seller Group (whether or not shown or required to be shown on
any Tax Return) with respect to Transferred Assets have been paid. There are no liens on any of
the Transferred Assets that arose in connection with any failure (or alleged failure) to pay any Tax.
There is no dispute, examination, judicial proceeding or claim concerning any Taxes of the Seller
Group with respect to the Transferred Assets.

         3.15 Product Liability. Except as disclosed on Schedule 3.15, within the three (3) year
period prior to the Closing Date there has not been any, and as of the Closing Date there is no
pending, material litigation commenced against any member of the Seller Group relating to the
sale, distribution or use of any item sold or used in the Business (the “Goods”), including litigation
with respect to product liability or recall claims.

        3.16 Product Warranties; Product Returns. Except for warranties arising solely
pursuant to Applicable Law or in the ordinary course of business, (a) no member of the Seller
Group has made any material warranties, express or implied, written or oral, to any third party
with respect to any of the Goods within the three (3) year period prior to the Closing Date, and (b)
there is no, and within the three (3) year period prior to the Closing Date there has not been any,
material litigation pending or, to the Seller’s Knowledge, threatened with respect to any such
warranty.

        3.17 Accounts Payable. The Seller has fully paid all accounts payable and related
intercompany obligations of the Seller Group associated with the Business, incurred up to the
Petition Date with respect to the suppliers or vendors set forth on Schedule 3.17.

        3.18 Brokers and Finders. Except for Moelis & Company LLC, the Seller has not,
directly or indirectly, entered into any agreement with any Person that would obligate the Seller to
pay any commission, brokerage fee or “finder’s fee” in connection with the Transactions.




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        3.19 No Other Representations or Warranties. Except for the representations and
warranties contained in this ARTICLE 3, the Seller does not, nor do any other Persons on behalf
of the Seller, make any other express or implied representation or warranty with respect to itself,
the Business, the Transferred Assets or the Assumed Liabilities, or with respect to any other
information provided to Purchaser or its representatives, and the Seller disclaims any other
representations or warranties, whether made by or on behalf of the Seller or any other Person. The
Seller will not, and no other Persons will, have or be subject to any Liability to Purchaser or any
other Person resulting from the distribution to Purchaser, or Purchaser’s use of, any such
information, including any information, documents, projections, forecasts or other material made
available to Purchaser or its representatives in any “data rooms,” “virtual data rooms,”
management presentations or in any other form in expectation of, or in connection with, the
Transactions, or in respect of any other matter or thing whatsoever (electronic or otherwise) or
otherwise in expectation of the Transactions.

                                ARTICLE 4.
               REPRESENTATIONS AND WARRANTIES OF PURCHASER

Except as disclosed in a document herewith delivered by Purchaser to the Seller (the “Purchaser
Schedules”), Purchaser hereby makes the representations and warranties contained in this
ARTICLE 4 to the Seller.

        4.1      Organization, Good Standing and Other Matters. Purchaser is duly organized,
validly existing and in good standing under the Applicable Laws of its jurisdiction of organization
and has all requisite corporate power or other entity power and authority to own its properties and
to carry on its business as now being conducted. Purchaser is duly qualified or licensed to conduct
its business as currently conducted and is in good standing in each jurisdiction in which the location
of the property owned, leased or operated by it or the nature of its business makes such
qualification necessary, except where the failure to be so qualified or licensed would not,
individually or in the aggregate, materially impair or delay Purchaser’s ability to consummate the
Transactions.

        4.2      Authority and Enforceability. Purchaser has all requisite corporate power or other
entity power and authority to execute and deliver this Agreement and each of the Related
Documents to which it is (or at Closing, will be) a party and to perform its obligations hereunder
and thereunder and to consummate the Transactions. The execution, delivery and performance of
this Agreement and each of the Related Documents to which it is (or at Closing, will be) a party,
and the consummation of the Transactions, have been duly authorized and approved by its board
of directors (or equivalent governing body) and no other action on the part of Purchaser or its
members is necessary to authorize the execution, delivery and performance of this Agreement and
the Related Documents by Purchaser and the consummation of the Transactions. This Agreement
has been, and each Related Document will be at or prior to Closing, duly executed and delivered
by Purchaser and, assuming the due execution and delivery by the other parties hereto or thereto,
constitutes a valid and binding obligation of Purchaser enforceable against it in accordance with
its respective terms, except to the extent that such enforceability may be subject to, and limited by,
the Enforceability Exceptions.




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        4.3      No Conflict: Required Filings and Consents. Except (a) such filings as may be
required in connection with the Transfer Taxes described in Section 2.10 and (b) as set forth on
Schedule 4.3, the execution and delivery of this Agreement and of the Related Documents and the
consummation of the Transactions by Purchaser will not (i) violate the provisions of its
Organizational Documents, (ii) violate any Applicable Law or Order to which it is subject or by
which any of its properties or assets are bound, (iii) require it to obtain any Consent, or give any
notice to, or make any filing with, any Governmental Authority on or prior to the Closing Date,
(iv) result in a material breach of or constitute a default (with or without due notice or lapse of
time or both), give rise to any right of termination, cancellation or acceleration under, or require
the Consent of any third party to, any material Contract to which it is a party or (v) result in the
imposition or creation of any Lien upon or with respect to any of its assets or properties; excluding
from the foregoing clauses (ii) through (v) Consents, approvals, notices and filings the absence of
which, and violations, breaches, defaults, rights of acceleration, cancellation or termination, and
Liens, the existence of which would not, individually or in the aggregate, (A) have a material
adverse effect on the ability of Purchaser to perform its obligations under this Agreement or
(B) otherwise prevent, hinder or delay the consummation of the Transactions.

        4.4    Financing. Purchaser has, and at the Closing will have, (a) sufficient internal funds
(without giving effect to any unfunded financing regardless of whether any such financing is
committed) available to pay the Purchase Price in accordance with the terms hereof and any other
payments required hereunder and any expenses incurred or required to be paid by Purchaser in
connection with the Transactions, and (b) the resources and capabilities (financial or otherwise) to
perform its obligations hereunder and under the Related Documents. Purchaser has not incurred
any obligation, commitment, restriction or Liability of any kind, which would impair or adversely
affect such resources and capabilities.

        4.5      Solvency. Purchaser is not entering into this Agreement with the intent to hinder,
delay or defraud either present or future creditors. Immediately after giving effect to all of the
Transactions, including the making of the payments contemplated by Section 2.9, and assuming
satisfaction of the conditions to Purchaser’s obligation to consummate the Transactions as set forth
herein, the accuracy of the representations and warranties of Purchaser set forth herein and the
performance by Purchaser of its obligations hereunder in all material respects, Purchaser will be
Solvent.

        4.6    Litigation. There is no Action pending or, to Purchaser’s Knowledge, formally
threatened against Purchaser or involving any of its properties or assets that would be reasonably
be expected to (a) have a material adverse effect on the ability of Purchaser to perform its
obligations under this Agreement or (b) otherwise prevent, hinder or delay the consummation of
the Transactions.

        4.7     Brokers and Finders. None of Purchaser or its Affiliates have, directly or
indirectly, entered into any agreement with any Person that would obligate the Seller to pay any
commission, brokerage fee or “finder’s fee” in connection with the Transactions.




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      4.8   Investigation and Agreement by Purchaser; Non-Reliance of Purchaser; No
Other Representations and Warranties.

                       (a)     Purchaser acknowledges that it and its representatives have received
access to such books and records, facilities, equipment, contracts and other assets of the Business
which it and its representatives have desired or requested to review. Purchaser acknowledges and
agrees that it has made its own inquiry and investigation into, and, based thereon, have formed an
independent judgment concerning the Seller Group, the Business, the Transferred Assets and the
Assumed Liabilities.

                         (b)     Except for the specific representations and warranties expressly
made by the Seller in ARTICLE 3 as further limited by the specifically bargained-for exclusive
remedies as set forth in ARTICLE 9 of this Agreement, Purchaser acknowledges and agrees that
(i) the Seller is not making and have not made any representation or warranty, expressed or
implied, at law or in equity, in respect of the Business, the Transferred Assets, the Assumed
Liabilities, or any of its operations, prospects or condition (financial or otherwise), including with
respect to merchantability or fitness for any particular purpose of any assets, the nature or extent
of any Liabilities, the prospects of the Business, the effectiveness or the success of any operations,
or the accuracy or completeness of any confidential information memoranda, documents,
projections, material or other information (financial or otherwise) regarding the Business furnished
to Purchaser or its representatives or made available to Purchaser and its representatives in any
“data rooms,” “virtual data rooms,” management presentations or in any other form in expectation
of, or in connection with, the Transactions, or in respect of any other matter or thing whatsoever,
and (ii) no officer, director, manager, stockholder, agent, Affiliate, advisor, representative or
employee of the Seller Group has any authority, express or implied, to make any representations,
warranties or agreements not specifically set forth in ARTICLE 3 and subject to the limited
remedies herein provided.

                        (c)  Other than the specific representations and warranties expressly set
forth in ARTICLE 3 3 as further limited by the specifically bargained-for exclusive remedies as
set forth in ARTICLE 9 of this Agreement, Purchaser specifically disclaims that it is relying upon
or has relied upon any such other representations or warranties that may have been made by any
Person, and acknowledges and agrees that the Seller and the Seller’s Affiliates have specifically
disclaimed and do hereby specifically disclaim, and shall not have or be subject to any Liability
for reliance on any such other representation or warranty made by any Person. Purchaser
specifically waives any obligation or duty by the Seller or the Seller’s Affiliates to make any
disclosures of fact not required to be disclosed pursuant to the specific representations and
warranties expressly set forth in ARTICLE 3 and disclaim reliance on any information not
specifically required to be provided or disclosed pursuant to the specific representations and
warranties set forth in ARTICLE 3.

                       (d)   Purchaser is acquiring the Business, the Transferred Assets and the
Assumed Liabilities subject only to the specific representations and warranties expressly set forth
in ARTICLE 3 as further limited by the specifically bargained-for exclusive remedies as set forth
in Section 9 of this Agreement.




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        4.9      No Other Representations or Warranties. Except for the representations and
warranties contained in this ARTICLE 4, neither Purchaser nor any other Person on behalf of
Purchaser makes any other express or implied representation or warranty with respect to Purchaser
or with respect to any other information provided to the Seller or its representatives, and Purchaser
disclaims any other representations or warranties, whether made by Purchaser or any of its
Affiliates, officers, directors, employees, agents or representatives.

                                     ARTICLE 5.
                              BANKRUPTCY COURT MATTERS

        5.1    Competing Transaction. This Agreement is subject to approval by the Bankruptcy
Court and the consideration by the Seller of higher or better competing bids in respect of all or any
part of the Transferred Assets (whether in combination with other assets of the Seller Group or
otherwise) in accordance with the terms of the Bid Procedures Order (each, a “Competing Bid”).
From the Agreement Date (and any prior time) and until the Closing, the Seller is permitted to,
and to cause its representatives to, initiate contact with, solicit or encourage submission of any
inquiries, proposals or offers by, any Person (in addition to Purchaser and its Affiliates and
representatives) in connection with any sale or other disposition of the Transferred Assets. In
addition, the Seller shall have the authority to respond to any inquiries or offers to purchase all or
any part of the Transferred Assets (whether in combination with other assets of the Seller Group
or otherwise) and perform any and all other acts related thereto which are required under the
Bankruptcy Code, the Bid Procedures Order or other Applicable Law, including supplying
information relating to the Business and the assets of the Seller Group to prospective purchasers.

       5.2     Bankruptcy Court Filings.

                (a)     Subject to its right to pursue a Competing Bid in accordance with the Bid
Procedures Order, the Seller shall diligently pursue the entry by the Bankruptcy Court of the Sale
Order, which Sale Order shall provide for the transfer of the Transferred Assets and the Assumed
Liabilities to Purchaser free from all successor or transferee Liability to the fullest extent permitted
by Section 363 of the Bankruptcy Code. The Seller shall comply (or obtain an Order from the
Bankruptcy Court waiving compliance) with all requirements under the applicable provisions of
the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the Local Bankruptcy Rules
for the Bankruptcy Court in obtaining the entry of the Sale Order. The Seller further covenants and
agrees that, after entry by the Bankruptcy Court of the Sale Order, and provided, that the Sale
Order becomes a Final Order, the terms of any other proposed order submitted by the Seller to the
Bankruptcy Court shall not conflict with, supersede, abrogate, nullify or restrict the terms of this
Agreement, or in any way prevent or interfere with the consummation or performance of the
Transactions. Purchaser agrees that it will promptly take such actions as are reasonably requested
by the Seller to assist in obtaining entry of the Sale Order, including by furnishing affidavits or
other documents or information for filing with the Bankruptcy Court for the purposes, among
others, of providing necessary assurances of performance by Purchaser under this Agreement and
demonstrating that Purchaser is a “good faith” purchaser under Section 363(m) of the Bankruptcy
Code. In the event, if the entry of the Sale Order shall be appealed, the Seller and Purchaser shall
use their respective commercially reasonable efforts to defend such appeal.




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               (b)     Within five (5) days after the Petition Date, Seller will file the Bid
Procedures Motion seeking the Bankruptcy Court’s entry of the Bid Procedures Order substantially
in the form and substance reasonably agreed to by the Buyer and Seller, among other things, (A)
establishing the Bid Procedures, (B) approving payment of the Termination Fee and the Expense
Reimbursement, to the extent payable by the terms of this Agreement and the Bid Procedures
Order, and (C) providing that the Termination Fee and the Expense Reimbursement shall constitute
superpriorirty administrative expenses of the Seller with priority over any and all administrative
expenses pursuant to section 503(b) of the Bankruptcy Code.

                (c)     Seller shall use commercially reasonable efforts to provide Purchaser with
a reasonable opportunity to review and comment upon all motions, applications, and supporting
papers relating to the transactions contemplated by this Agreement prepared by Seller or any
Affiliates (including forms of orders and notices to interested parties) prior to the filing thereof in
the Bankruptcy Cases; provided that the foregoing shall not require the Seller to take any action
that would, in Seller’s reasonable business judgment, threaten to harm the overall value to be
produced by the Seller’s in-court sale process.

                (d)    The form of Bid Procedures Order and form of Sale Order submitted by the
Seller to the Bankruptcy Court for approval must be reasonably satisfactory in form and substance
to the Purchaser; provided that an order approving the form of Bid Procedures Order is, and shall
be deemed to be, acceptable to Purchaser.

                (e)    Seller shall not seek any modification to the Bid Procedures, Bid Procedures
Order, or Sale Order by the Bankruptcy Court that are materially adverse to the Purchaser without
the prior written consent of Purchaser, which such consent shall not be unreasonably withheld.

               (f)     Each of Purchaser and Seller will promptly take such actions as are
reasonably requested by the other party to assist in obtaining entry of the Bid Procedures Order
and, subject to the Bid Procedures Order, the Sale Order, including furnishing affidavits or other
documents or information for filing with the Bankruptcy Court for purposes, among others, of
providing necessary assurances of performance by Seller of its obligations under this Agreement
and demonstrating that Purchaser is a good faith buyer under section 363(m) of the Bankruptcy
Code.

                (g)     Seller shall use commercially reasonable efforts to provide appropriate
notice of the hearings on the Sale Motion to all Persons entitled to notice, including, but not limited
to, all Persons that have asserted Liens on the Transferred Assets, all parties to the Assigned
Contracts and all taxing authorities in jurisdictions applicable to Seller and as otherwise required
by the Bankruptcy Code and bankruptcy rules.

                (h)      Within five (5) Business Days of the Auction (subject to the Bankruptcy
Court’s availability), if Purchaser is the successful bidder at the Auction (or if there is no Auction),
Seller will seek entry of the Sale Order by the Bankruptcy Court.

               (i)    The Seller and Purchaser agree that, in the event that Purchaser is not the
winning bidder at an auction undertaken pursuant to the Bid Procedures Order (the “Auction”),
and (i) Purchaser submits the Back-Up Bid at the Auction or (ii) the terms of this Agreement are



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deemed to constitute a Back-Up Bid, then Purchaser shall be obligated to promptly consummate
the Transactions upon the terms and conditions as set forth herein, including the payment of the
Purchase Price as the same may be increased by Purchaser at the Auction; provided that, the Seller
gives written notice to Purchaser on or before the Back-up Termination Date, stating that the Seller
(A) failed to consummate the sale of the Transferred Assets with the winning bidder, and (B)
terminated the purchase agreement with the winning bidder.

       5.3     Assumption of Assigned Contracts.

                (a)    On or before the date that is five Business Days following the date on which
the Bid Procedures Order is entered by the Bankruptcy Court, the Seller shall file (or cause to be
filed) a notice of assumption (the “Assumption Notice”) with the Bankruptcy Court and serve
such notice on each counterparty to an Assigned Contract listed thereon. The Assumption Notice
shall identify all Assigned Contracts that the Seller and Purchaser believe may be assumed and
assigned in connection with the sale of the Transferred Assets and set forth a good faith estimate
of the amount of Cure Costs applicable to each such Assigned Contract (and if no Cure Cost is
estimated to be applicable with respect to any particular Assigned Contract, the amount of such
Cure Cost designated for such Assigned Contract shall be “$0.00”). In accordance with the Bid
Procedures Order, the Seller reserves the right to supplement such list of Assigned Contracts and
provide additional notice of assumption, and to remove an Assigned Contract from the list of
Assigned Contracts, up to five days prior to the hearing by the Bankruptcy Court with respect to
the Sale Motion.

                (b)     On or before the date that is five Business Days before the Closing Date
(the “Designation Deadline”), Purchaser shall provide to the Seller a list of those Assigned
Contracts that it elects to have assumed and assigned to Purchaser on the Closing Date
(the “Designated Contracts”). Purchaser shall be entitled to remove certain Assigned Contracts
from the list of Designated Contracts at any time prior to the Designation Deadline by providing
the Seller written notice of such removal. In the event that Purchaser removes any of such Assigned
Contracts from such list, the Seller will provide the relevant counterparty written notice that the
applicable Assigned Contract is no longer identified as a Designated Contract. For the avoidance
of doubt, only those executory Assigned Contracts that remain identified as Designated Contracts
as of the Closing Date will constitute Assigned Contracts and will be assumed by the Seller and
assigned to Purchaser pursuant to the Sale Order. The Seller shall file such motions or pleadings
as may be appropriate or necessary to assume and assign the Assigned Contracts and to determine
the amount of the Cure Costs; provided, that nothing herein shall preclude the Seller from filing
one or more motion to reject any Contracts that are not Assigned Contracts.

                (c)     Notwithstanding any provision in this Agreement to the contrary, a Contract
shall not be a Designated Contract hereunder and shall not be assigned to, or assumed by, Purchaser
to the extent that such Contract is (i) deemed rejected under Section 365 of the Bankruptcy Code,
(ii) the subject of an objection to assignment or assumption or requires the consent of any
Governmental Authority or other third party (other than, and in addition to, the Bankruptcy Court)
in order to permit the assumption and assignment by the applicable Seller to Purchaser of such
Contract pursuant to Section 365 of the Bankruptcy Code, and such objection has not been resolved
or such consent has not been obtained prior to the thirtieth day following the Closing Date (as such
period may be extended by mutual agreement of Seller and Purchaser), or (iii) is terminated by


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any party thereto other than Seller, or terminates or expires by its terms, on or prior to such time
as it is to be assumed by Purchaser as a Designated Contract hereunder and is not continued or
otherwise extended upon assumption. In no event shall the failure to assign to Purchaser any
Contract in accordance with subsections (i) through (iii) above reduce the Purchase Price payable
to Seller or constitute a failure to satisfy the conditions precedent of Seller under Section 8.3.

               (d)     Subject to the terms of Section 2.5, Section 2.8, Section 5.3(a) and Section
5.3(b), Purchaser shall make provision for the payment of the Determined Cure Costs in cash at
Closing in accordance with the Sale Order.

                (e)      Notwithstanding any provision in this Agreement to the contrary, from and
after the date of the Assumption Notice through the Closing Date, the Seller will not reject or take
any action (or fail to take any action that would result in rejection by operation of Applicable Law)
to reject, withdraw, repudiate or disclaim any Assigned Contract unless (i) Purchaser has provided
its prior written consent or (ii) Purchaser has removed such Assigned Contract from the list of
Designated Contracts.

                                       ARTICLE 6.
                                 PRE-CLOSING COVENANTS

        6.1     Conduct of Business. Except (i) as set forth on Schedule 6.1, (ii) as may be
approved by Purchaser (which approval will not be unreasonably withheld, delayed or conditioned;
provided, however, that the consent of Purchaser shall be deemed to have been given if Purchaser
does not object within 48 hours after written request for such consent is provided by the Seller to
Purchaser), (iii) for actions taken or omitted to be taken by any member of the Seller Group in
response to any Public Health Measure, or (iv) as is otherwise permitted, contemplated or required
by this Agreement, any Assigned Contract, by Applicable Laws or by order of the Bankruptcy
Court, from the Agreement Date through the earlier of the Closing Date or the termination of this
Agreement in accordance with its terms:

                (a)    The Seller Group shall use their commercially reasonable efforts to carry
on the Business in all material respects in the ordinary course of business as it has been conducted
since the Petition Date; and

               (b)     The Seller shall not, and shall cause its Subsidiaries not to:

                      (i)       sell, license, abandon or otherwise dispose of any material asset or
       property constituting Transferred Assets other than, in each case, in the ordinary course of
       business or for the purpose of disposing of obsolete or worthless assets;

                       (ii)      except in the ordinary course of business, acquire by merging or
       consolidating with, or by purchasing a substantial portion of the assets of any business or
       any corporation, partnership or other business organization or otherwise acquire any assets
       (except inventory), that as of the Closing would constitute Transferred Assets, except for
       the acquisition of assets in the ordinary course of business;

                      (iii)     change its present accounting methods or principles in any
       material respect, except as required by GAAP or Applicable Law; or


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                       (iv)      make or change any Tax election, change an annual accounting
       period, adopt or change any Tax accounting method, file any amended Tax Return, enter
       into any closing agreement, settle any material Tax claim or assessment or surrender any
       right to claim a refund of Taxes, other than in the ordinary course of business or as required
       by the Code or Applicable Law, and in each case that could have a material effect on the
       amount of Taxes due from the Business or due as a result of the Transferred Assets for a
       taxable period (or portion thereof) beginning after the Closing Date.

                       (c)     Notwithstanding anything to the contrary, nothing contained in this
Agreement shall give Purchaser or any of its Affiliates, directly or indirectly, any right to control
or direct the Business, assets and operations prior to the Closing. Prior to the Closing, the Seller
shall exercise, consistent with the terms and conditions of this Agreement, complete control and
supervision over its Business, assets and operations.

       6.2     Access to Information; Confidentiality.

                (a)     From the Agreement Date until the earlier of the Closing Date and the
termination of this Agreement, the Seller shall grant Purchaser and its representatives (at
Purchaser’s sole cost and expense) reasonable access, during normal business hours and upon
reasonable notice (and in the event of a facility visit request, at least 48 hours prior notice), and
subject to any limitations resulting from any Public Health Measures, to the personnel, facilities,
book and records of the Seller Group related to the Business or the Transferred Assets that are in
the possession or under the control of the Seller Group; provided, however, that (i) all requests for
access shall be directed to such other person(s) as the Seller may designate in writing from time to
time (the “Seller Access Contact”), (ii) such activities do not unreasonably interfere with the
ongoing business or operations of the Seller Group, (iii) the Seller shall have the right to have one
or more of its representatives present at all times during any visits, examinations, discussions or
contacts contemplated by this Section 6.2(a), (iv) Purchaser shall have no right to perform invasive
or subsurface investigations or conduct any sampling or analysis of environmental media of the
nature commonly referred to as a “Phase II Environmental Investigation,” such as any soil or
groundwater testing, (v) such access or related activities would not cause a violation of any
agreement to which any Seller is a party, (vi) no Personal Information shall be disclosed or used
other than in compliance with applicable privacy law and (vii) nothing herein shall require any
member of the Seller Group or their representatives to furnish to Purchaser or provide Purchaser
with access to information that (A) is subject to an attorney-client or an attorney work-product
privilege, (B) legal counsel for the Seller Group reasonably concludes may give rise to antitrust or
competition law issues or violate a protective order or otherwise may not be disclosed pursuant to
Applicable Law (including any Public Health Measure) or (C) would cause significant competitive
harm to the Seller Group if the Transactions are not consummated.

               (b)    Notwithstanding anything to the contrary contained in this Agreement, from
the Agreement Date until the Closing Date, Purchaser shall not, and shall cause its representatives
not to, have any contact or discussions concerning any member of the Seller Group, the Business,
the Transaction or any other matters with any lender, borrower, creditor, guarantor, business
partner, bank, landlord, tenant, supplier, customer, employee, manager, franchisee, distributer,
noteholder, independent contractor, consultant or other material business relation of any Seller, in
each case, without the prior written consent of the Seller Access Contact (which consent may be


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withheld in the Seller’s sole discretion and, if given, may be conditioned on the Seller Access
Contact or his or her designee having the right to participate in any meeting or discussion).

                (c)     Any information provided to or obtained by Purchaser or its representatives,
including pursuant to this Section 6.2 is confidential information and subject to the terms of, and
the restrictions contained in, the Confidentiality Agreement. Purchaser agrees to be bound by and
comply with the provisions set forth in the Confidentiality Agreement as if such provisions were
set forth herein, and such provisions are hereby incorporated herein by reference. Effective upon
(and only upon) the Closing, the Confidentiality Agreement shall automatically terminate and none
of the parties thereto shall have any further Liability or obligation thereunder except with respect
to any confidential information provided to or obtained by Purchaser or its representatives
concerning the Seller Group, which information shall remain subject to the terms and conditions
of the Confidentiality Agreement after the Closing Date. If this Agreement is terminated prior to
Closing for any reason, the duration of the confidentiality of the Confidentiality Agreement shall
be deemed extended, without any further action by the parties, for a period of time equal to the
period of time elapsed between the date such Confidentiality Agreement was initially signed and
the date of termination of this Agreement.

        6.3     Efforts to Consummate. Except as otherwise provided in this Agreement, each of
the parties hereto agrees to use its commercially reasonable efforts to cause the Closing to occur
as soon as possible after the Agreement Date, including satisfying the conditions precedent set
forth in ARTICLE 8 applicable to such party including (a) defending against any Actions, judicial
or administrative, challenging this Agreement or the consummation of the Transactions, (b)
seeking to have any preliminary injunction, temporary restraining order, stay or other legal
restraint or prohibition entered or imposed by any court or other Governmental Authority that is
not yet final and nonappealable vacated or reversed, and (c) and executing any additional
instruments reasonably requested by another party hereto (without cost or expense to the executing
party) necessary to carry out the Transactions and to fully carry out the purposes of this Agreement;
provided, however, that, for purposes of “commercially reasonable efforts” standard as required
by this Section 6.3, Section 6.4 or Section 6.5, neither the Seller nor its Affiliates or representatives
shall be required to offer or grant any accommodation or concession (financial or otherwise) to
any third party or to otherwise expend any money or suffer any detriment, to expend any money
to remedy any breach of any representation or warranty hereunder, to commence any Action, to
waive or surrender any right, to modify any agreement (including any Assigned Contract) or to
provide financing to Purchaser for the consummation of the Transactions.

        6.4     Notices and Consents. Reasonably promptly following the execution of this
Agreement, the Seller will give, or cause to be given, applicable notices to third parties and
thereafter will use commercially reasonable efforts (as limited by Section 6.3) to obtain the third-
party consents set forth on Schedule 6.4; provided, however, that no representation, warranty,
covenant or agreement of the Seller shall be breached or deemed breached, and no condition shall
be deemed not satisfied, as a result of (a) the failure to obtain any such third-party consent, (b) any
termination of a Contract as a result of the failure to obtain such third-party consent or (c) any
Action commenced or threatened by or on behalf of any Person arising out of or relating to the
failure to obtain any such consent or any such termination; provided, further, that nothing in this
Section 6.4 shall require the Seller to expend any money or grant any concessions to obtain any



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such third-party consent (unless Purchaser provides the funds for or reimburses the Seller for such
payment).

       6.5     Regulatory Matters.

                (a)     Purchaser and the Seller will establish a mutually acceptable and prompt
communication and interaction process to ensure the orderly transfer of the NDA for the Product.
Promptly after Closing, the Parties shall file with the FDA, and any other relevant Governmental
Authority all information required in order to transfer the NDA from the Seller to Purchaser,
including the information required pursuant to 21 C.F.R. § 314.72, or any successor regulation
thereto, any authorization letters or notices, and letters of acceptance. Seller shall file the
information required of a former owner, and Purchaser shall file the information required of a new
owner, at each Party’s own expense. Both Purchaser and the Seller also agree to use all
commercially reasonable efforts to take any actions required by the Governmental Authority or
other government/health agencies to effect the transfer of the NDAs from the Seller to Purchaser,
and hereby further agree to cooperate with each other in order to effectuate the foregoing transfer
of the Product. The Parties agree to use all commercially reasonable efforts to complete the filing
of the transfer of the NDAs within ten (10) days from the Closing Date. The Seller may retain an
archival copy of the NDAs, including supplements and records that are required to be kept under
21 C.F.R. § 314.81.

              (b)    From and after the Closing Date until the Seller is dissolved, the Seller shall
cooperate with Purchaser in preparing, disclosing and providing any relevant records, reports,
responses or any other documentation that are required to be made, maintained and reported
pursuant to the Governmental Authority in the Territory. The Parties agree to use their
commercially reasonable efforts to take any other actions required by the FDA or any other
Governmental Authority to effect the transaction.

                 (c)    Until the completion of the transfer of the Product to Purchaser, the Seller
shall take all reasonably necessary or advisable actions to maintain the relevant NDA.

        6.6    Public Announcements. Between the Agreement Date and the Closing Date,
except to the extent required by any Applicable Law or Action (including the Bankruptcy Cases),
neither Purchaser nor the Seller shall, and Purchaser and the Seller shall cause their respective
Affiliates and representatives not to, directly or indirectly, issue any press release or public
announcement of any kind without the prior written consent of Purchaser and the Seller; provided,
however, that the Seller and its Affiliates may make announcements from time to time to their
respective employees, customers, suppliers, and other business relations and otherwise as the
Seller may reasonably determine is necessary to comply with Applicable Law or the requirements
of this Agreement or any other agreement to which any Seller or any such Affiliate is a party.
Purchaser and the Seller shall cooperate in good faith to prepare a joint press release to be issued
on the Closing Date, the terms of which shall be mutually agreed upon by the parties.

        6.7    Update of Schedules; Knowledge of Breach. From time to time prior to the
Closing, the Seller may supplement or amend the Schedules with respect to any matter first arising
after the Agreement Date that would have been required to be set forth or described in such
Schedules. Any such supplemental or amended disclosure shall not be deemed to have cured any


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such breach of representation or warranty for purposes of determining whether or not the
conditions set forth in Section 8.2(a) have been satisfied. From and after the Closing, references
to the Schedules shall be references to the Schedules as supplemented, modified and/or updated.
If, prior to the Closing, Purchaser shall have reason to believe that any breach of a representation
or warranty of the Seller has occurred (other than through notice from the Seller), Purchaser shall
promptly so notify the Seller, in reasonable detail. Nothing in this Agreement, including this
Section 6.7, shall imply that the Seller is making any representation or warranty as of any date
other than the Closing Date (other than representations and warranties that are expressly made as
of an earlier date).

                                        ARTICLE 7.
                                 POST-CLOSING COVENANTS

        7.1     Access to Information; Books and Records. From and after the Closing, and
without prejudice to the obligations of Purchaser pursuant to Section 7.3(g), Purchaser and its
Affiliates shall (i) afford the Seller Group and their respective representatives reasonable access,
during normal business hours, upon reasonable advance notice and under reasonable
circumstances, to the books and records of Purchaser and the Business shall permit the Seller
Group and their respective representatives to examine and copy such books and records to the
extent reasonably requested by such party and (ii) cause their representatives to furnish all
information reasonably requested by any member of the Seller Group or their representatives in
connection with financial or regulatory reporting, audit, third party litigation, preparing or filing
of any Tax Return or the defense of any Tax claim or assessment or any other business purpose;
provided, however, that nothing in this Section 7.1 shall require Purchaser or its Affiliates to
furnish to the Seller Group or their respective representatives any material that is subject to an
attorney-client or solicitor-client privilege or an attorney or solicitor work-product privilege or
which may not be disclosed pursuant to Applicable Law. For a period of six (6) years following
the Closing Date, or such longer period as may be required by Applicable Law or necessitated by
applicable statutes of limitations, Purchaser shall, and shall cause its Affiliates to, maintain all such
books and records in the jurisdiction in which such books and records were located prior to the
Closing Date and shall not destroy, alter or otherwise dispose of any such books and records. On
and after the end of such period, Purchaser shall, and shall cause its Affiliates to, provide the Seller
with at least ten Business Days prior written notice before destroying, altering or otherwise
disposing any such books and records, during which period the Seller may elect to take possession,
at its own expense, of such books and records.

        7.2     Post-Closing Receipt and Possession of Assets.

               (a)      After the Closing Date, the Seller shall transfer promptly to Purchaser from
time to time (but in any event on a monthly basis) any payments constituting Transferred Assets
received by the Seller. After the Closing Date, Purchaser shall transfer promptly to the Seller, from
time to time (but in any event on a monthly basis), any payments constituting Excluded Assets,
including any accounts receivable constituting Excluded Assets, received by Purchaser after the
Closing.

               (b)     In the event that, after the Closing Date, Purchaser receives or otherwise is
in possession of any other Excluded Asset, Purchaser shall promptly notify the Seller of its receipt


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or possession of such other Excluded Asset and transfer, at the Seller’s expense, such Excluded
Asset to the Seller. In the event that, after the Closing Date, the Seller receives or otherwise is in
possession of any other Transferred Asset, the Seller shall promptly notify Purchaser of its receipt
or possession of such other Transferred Asset and transfer, at Purchaser’s expense (unless the
Seller was required to transfer such Transferred Asset to Purchaser at Closing, in which case, and
without limitation of any other remedies available to Purchaser, such transfer will be at the Seller’s
expense), such Transferred Asset to Purchaser.

       7.3     Tax Matters.

                (a)     The Seller shall be responsible for preparing or causing to be prepared all
Asset Tax Returns for itself for the Pre-Closing Tax Period that are required to be filed after the
Closing. After the Closing, Purchaser will assist and cooperate with the Seller in preparing such
Asset Tax Returns. The Seller shall provide Purchaser with completed drafts of such Asset Tax
Returns for Purchaser’s review and reasonable comment at least thirty days prior to the due date
for the filing thereof, taking into account extensions (or, if such due date is within thirty days
following the Closing Date, as promptly as practicable following the Closing Date) and shall make
such revisions to such Asset Tax Returns as are reasonably requested by Purchaser; provided, that
Purchaser’s requests are consistent with the prior practice of the Seller (to the extent relevant) and
comply with Applicable Law. Purchaser shall cause all such Asset Tax Returns received from the
Seller to be duly executed (as may be required) and timely filed (taking into account all extensions
properly obtained).

                 (b)     Purchaser shall prepare and timely file or cause to be prepared and timely
filed (taking into account all extensions properly obtained) all Tax Returns that are required to be
filed for any taxable period that begins on or before the Closing Date and ends after the Closing
Date (a “Straddle Period”) and shall timely pay (subject to Purchaser’s right to reimbursement of
Seller Taxes), or cause to be timely paid, the amount of any Taxes due thereon. Purchaser shall
prepare such Tax Returns in a manner consistent with past practice to the extent relevant and
consistent with Applicable Law and shall provide the Seller with completed drafts of such Tax
Returns for the Seller’s review and reasonable comment at least thirty days prior to the due date
for filing thereof, taking into account extensions (or, if such due date is within thirty days following
the Closing Date, as promptly as practicable following the Closing Date) and shall make such
revisions to such Tax Returns as are reasonably requested by the Seller, provided such requests
are consistent with the prior practice of the Seller (to the extent relevant) and comply with
Applicable Law.

                (c)     The Seller shall be liable for, and shall indemnify and hold Purchaser
harmless against, any Asset Taxes with respect to a Pre-Closing Tax Period and the portion of any
Straddle Period ending on the Closing Date (“Seller Taxes”). For purposes of this Agreement, in
the case of any Straddle Period, (a) the amount of any Asset Taxes based on or measured by income
or receipts, sales or use, employment, or withholding allocated to the portion of such Straddle
Period ending on the Closing Date shall be determined based on an interim closing of the books
as of the end of the day on the Closing Date and (b) any other Asset Taxes shall be allocated to the
portion of such Straddle Period ending on the Closing Date by prorating the amount of such Tax
for the entire premium or taxable period per diem.



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               (d)    Purchaser and its Affiliates shall not make or change any Tax election,
amend, refile or otherwise modify (or grant an extension of any statute of limitation with respect
to) any Asset Tax Return.

               (e)     Purchaser shall promptly notify the Seller in writing upon receipt by
Purchaser or any of its Affiliates of notice of any pending or threatened federal, state, local or
foreign Tax audits, proceedings or assessments relating to Pre-Closing Tax Period, Straddle Period
or otherwise relating to a Tax for which the Seller may be liable, in each case, solely with respect
to Seller Group Taxes or any Asset Taxes (a “Seller Tax Claim”).

                 (f)     The Seller shall have the sole right to control the defense or resolution of
any Seller Tax Claim, and to employ counsel of its choice at the Seller’s expense; provided,
however, that Purchaser and its representatives shall be permitted, at their expense, to observe and
participate in any defense or resolution of such Seller Tax Claim. Neither Purchaser nor any of its
Affiliates shall be entitled to settle, either administratively or after the commencement of litigation,
any Seller Tax Claim without the prior written consent of the Seller, which shall not be
unreasonably conditioned, denied or delayed. Notwithstanding anything herein to the contrary,
Purchaser shall be entitled to deduct and withhold from the consideration otherwise payable
pursuant to this Agreement to any Person such amounts as are required to be deducted and withheld
under the Code or applicable Tax law. To the extent that amounts are so deducted or withheld and
remitted to the applicable Tax authority, such withheld amounts shall be treated for all purposes
of this Agreement as having been paid to such Person in respect of which such deduction or
withholding was made. Purchaser shall use commercially reasonable efforts to notify the Seller at
least five (5) Business Days prior to the Closing if any payment would be subject to deduction or
withholding for Taxes and reasonable cooperate with the Seller to reduce or eliminate such
withholding in a manner consistent with Applicable Law.

                (g)     After the Closing, each of the Seller and Purchaser shall (and shall cause
their respective Affiliates to):

                      (i)      timely sign and deliver such certificates or forms as may be
       necessary or appropriate to establish an exemption from (or otherwise reduce), or file Tax
       Returns or other reports with respect to, Transfer Taxes;

                      (ii)      cooperate fully in preparing for and defending any audits or
       proceedings of or disputes with Governmental Authorities regarding any Tax Returns
       required to be filed by, or Taxes related to the Transferred Assets due from, the Seller for
       any Pre-Closing Tax Period or Straddle Period;

                       (iii)  maintain and preserve until the expiration of the applicable statutes
       of limitations, and make available to the other parties as reasonably requested and to any
       Governmental Authority as reasonably required, all information, records and documents
       relating to Taxes related to the Transferred Assets for any Pre-Closing Tax Period or
       Straddle Period, and make employees available to the other parties as reasonably requested
       during business hours to supplement or explain such information, records and documents;
       and




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                      (iv)    furnish the other parties with copies of all correspondence received
       from any Governmental Authority in connection with any Tax audit, proceeding,
       assessment or information request relating to Taxes related to the Transferred Assets for a
       Pre-Closing Tax Period or Straddle Period, and furnish the other parties with copies of all
       records and documents relating to Taxes related to the Transferred Assets for a Pre-Closing
       Tax Period or Straddle Period that are proposed to be destroyed (and not otherwise in the
       possession of such other party).

                (h)     Purchaser shall pay, or cause to be paid, to the Seller the amount of any
refunds of Taxes related to the Transferred Assets from a Pre-Closing Tax Period or the portion of
a Straddle Period ending on the Closing Date to the Seller within five days of receipt of the refund
in cash (or through offset against other cash Taxes payable).

                                      ARTICLE 8.
                                 CONDITIONS PRECEDENT

       8.1     Conditions to Each Party’s Obligation. The respective obligations of the parties
hereto to effect the Transactions are subject to the satisfaction (or, to the extent permitted by
Applicable Law, waiver by the Seller and Purchaser), at or prior to the Closing, of the following
conditions:

            (a)     No Injunctions or Restraints. No Order or Applicable Law preventing the
consummation of the Transactions shall be in effect.

              (b)      Sale Order. The Bankruptcy Court shall have entered the Sale Order and
such Sale Order shall be a Final Order (unless such Final Order requirement is waived by the Seller
and Purchaser in their respective sole discretion).

       8.2     Conditions to Obligation of Purchaser. The obligations of Purchaser to effect the
Transactions is subject to the satisfaction (or, to the extent permitted by Applicable Law, waiver
by Purchaser), at or prior to the Closing, of the following conditions:

                (a)      Representations and Warranties. Each of the representations and warranties
of the Seller set forth in ARTICLE 3 shall be true and correct in all respects (without giving effect
to any qualifications or limitations as to “materiality”, “Material Adverse Effect” or words of
similar import set forth therein) as of the Closing as though made at and as of such time (other
than such representations and warranties as are made as of an earlier date, which shall be so true
and correct as of such date), except where the failure of such representations and warranties to be
so true and correct would not have, individually or in the aggregate, a Material Adverse Effect.

                (b)    Performance of Covenants and Obligations. The Seller shall have
performed or complied in all material respects with all obligations and covenants required to have
been performed or complied with by it under this Agreement at or prior to the Closing, except to
the extent of changes or developments contemplated by the terms of this Agreement or caused by
the Transactions.

               (c)     Closing Deliverables. The Seller shall have delivered to Purchaser the
closing deliveries required to be delivered by the Seller pursuant to Section 2.8(a), Section 2.8(b)


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and Section 2.8(f). The Escrow Agent shall have delivered its duly executed signature page of the
Escrow Agreement to Purchaser pursuant to Section 2.8(b).

       8.3      Conditions to Obligations of the Seller. The obligation of the Seller to effect the
Transactions is subject to the satisfaction (or, to the extent permitted by Applicable Law, waiver
by the Seller), at or prior to the Closing, of the following conditions:

                (a)     Representations and Warranties. Each of the representations and warranties
of Purchaser set forth in ARTICLE 4 shall be true and correct in all respects (without giving effect
to any qualifications or limitations as to “materiality” or words of similar import set forth therein)
as of the Closing as though made at and as of such time (other than such representations and
warranties as are made as of an earlier date, which shall be so true and correct as of such date),
except where the failure of such representations and warranties to be so true and correct would
not, individually or in the aggregate, (i) have a material adverse effect on the ability of Purchaser
to perform its obligations under this Agreement or (ii) otherwise prevent, hinder or delay the
consummation of the Transactions.

                (b)    Performance of Covenants and Obligations of Purchaser. Purchaser shall
have performed or complied in all material respects with all obligations and covenants required to
have been performed or complied with by it under this Agreement at or prior to the Closing, except
to the extent of changes or developments contemplated by the terms of this Agreement or caused
by the Transactions.

               (c)     Closing Deliverables. Purchaser shall have delivered to the Seller the
closing deliveries required to be delivered by Purchaser pursuant to Section 2.8(a), Section 2.8(b)
and Section 2.8(e). The Escrow Agent shall have delivered its duly executed signature page of the
Escrow Agreement to the Seller pursuant to Section 2.8(b).

        8.4    Waiver of Condition; Frustration of Conditions. All conditions to the Closing
shall be deemed to have been satisfied or waived from and after the Closing. Neither Purchaser
nor the Seller may rely on the failure of any condition set forth in this ARTICLE 8, as applicable,
to be satisfied if such failure was caused by such party’s failure to use, as required by this
Agreement, its reasonable best efforts to consummate the Transactions.

        8.5      Delivery of a Notice of Readiness to Close. At any time after the Seller’s
satisfaction of its conditions to Closing in accordance with the terms of Section 8.1 and Section 8.3
of this Agreement, the Seller may deliver a notice to the Purchaser (a “Notice of Readiness to
Close”). The Purchaser shall have three (3) Business Days from delivery of a Notice of Readiness
to Close to satisfy its conditions to Closing in accordance with the terms of Section 8.1 and
Section 8.2 of this Agreement and consummate the Transactions. If Purchaser does not satisfy its
conditions to Closing and consummate the Transaction within three (3) Business Days, Purchaser
shall forfeit the entire Deposit Escrow Amount to the Seller.

                                          ARTICLE 9.
                                         TERMINATION

      9.1     Events of Termination. Notwithstanding anything to the contrary, this Agreement
may be terminated and the Transactions may be abandoned at any time prior to the Closing:


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               (a)     by mutual written consent of Purchaser and the Seller;

                (b)    automatically, upon (i) the consummation of a sale or other disposition of
all or substantially all of the Transferred Assets to a Person other than Purchaser (each,
an “Alternate Transaction”), (ii) if, at close of the Auction, Purchaser’s bid has not been selected
as either the winning bid or the Back-Up Bid or (iii) if, at the close of the Auction, Purchaser’s bid
was selected as the Back-Up Bid, upon the consummation of a Competing Bid or Alternative
Transaction;

                (c)   by Purchaser or the Seller by written notice to Purchaser or the Seller from
the other, if the Bankruptcy Case is dismissed or converted to a case under chapter 7 of the
Bankruptcy Code;

                (d)     by Purchaser or the Seller by written notice to Purchaser or the Seller from
the other, if Purchaser is not selected as having the winning bid or Back-Up Bid at Auction, if any;

              (e)      by Purchaser if the Seller (i) withdraws the motion for the Sale Order, or
publicly announces its intention to withdraw such motion, (ii) moves to voluntarily dismiss the
Bankruptcy Cases, (iii) moves for conversion of the Bankruptcy Cases to Chapter 7 of the
Bankruptcy Code, or (iv) moves for appointment of an examiner with expanded powers pursuant
to Section 1104 of the Bankruptcy Code or a trustee in the Bankruptcy Cases;

                (f)      by Purchaser, by written notice from Purchaser to the Seller, if there has
been a breach or inaccuracy of a covenant, representation or warranty made by the Seller in this
Agreement, such that the conditions in Section 8.1 or Section 8.2 are not capable of being satisfied
and which breach is incapable of being cured or, if capable of being cured, has not been cured by
the Seller prior to the earlier of (i) 20 Business Days after receipt of written notice from Purchaser
requesting such breach be cured or (ii) the Outside Date; provided, however, that the right to
terminate this Agreement pursuant to this Section 9.1(f) shall not be available to Purchaser if the
failure of Purchaser to fulfill any of its obligations under this Agreement has been the primary
cause of, or resulted in, such breach, or if the conditions in Section 8.1 or Section 8.3 are not
capable of being satisfied because there is then a breach or inaccuracy of a covenant, representation
or warranty made by Purchaser in this Agreement;

                (g)     by the Seller, by written notice from the Seller to Purchaser, if there has
been a breach or inaccuracy of a covenant, representation or warranty made by Purchaser in this
Agreement, such that the conditions in Section 8.1 or Section 8.3 are not capable of being satisfied
and which breach is incapable of being cured or, if capable of being cured, has not been cured by
Purchaser prior to the earlier of (i) 20 Business Days after receipt of written notice from the Seller
requesting such breach be cured or (ii) the Outside Date; provided, however, that the right to
terminate this Agreement pursuant to this Section 9.1(g) shall not be available to the Seller if the
failure of the Seller to fulfill any of its obligations under this Agreement has been the primary
cause of, or resulted in, such breach, or if the conditions in Section 8.1 or Section 8.3 are not
capable of being satisfied because there is then a breach or inaccuracy of a covenant, representation
or warranty made by the Seller in this Agreement;




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                (h)    by Purchaser or the Seller, by written notice from Purchaser or the Seller to
the other, if any Governmental Authority of competent jurisdiction shall have issued an Order,
enacted any Applicable Law or taken any other action restraining, enjoining or otherwise
prohibiting the consummation of the Transactions and, in the case of Orders and other actions,
such Order or other action shall have become Final Orders; provided, however, that the right to
terminate this Agreement pursuant to this Section 9.1(h) shall not be available to the party seeking
to terminate if any action of such party or any failure of such party to act has contributed to such
Order or other action and such action or failure constitutes a breach of this Agreement; or

                (i)    by Purchaser or the Seller, by written notice from Purchaser or the Seller to
the other, if the Closing has not occurred on or prior to March 13, 2023 (the “Outside Date”);
provided, however, that the party exercising the right to terminate this Agreement pursuant to this
Section 9.1(i) shall not have been responsible for such failure of the Closing to occur through a
breach or inaccuracy of a covenant, representation or warranty contained in this Agreement.

               (j)    by Purchaser by written notice to the Seller if the Bankruptcy Court does
not approve the Bid Procedures Order without any material modifications (other than such
modifications reasonably acceptable to Purchaser) to the protections to Purchaser set forth in
Section 9.3(a) and Section 9.3(b).

       9.2     Effect of Termination.

                (a)     In the event that this Agreement shall be terminated pursuant to Section 9.1,
(a) Purchaser and its representatives shall promptly return all documents, work papers and other
materials of the Seller including any confidential information and (b) all further obligations of the
parties hereto under this Agreement shall terminate without further Liability or obligation to the
other parties hereto; provided, however, that, notwithstanding the foregoing, the Liabilities and
obligations under (i) the Confidentiality Agreement, and (ii) Section 2.9(c), Section 6.2(c), this
Section 9.2 and ARTICLE 10 shall continue in full force and effect.

               (b)     Notwithstanding anything to the contrary in this Agreement, in the event of
valid termination of this Agreement pursuant to Section 9.1, (i) the Seller’s Liability hereunder for
any and all breaches of this Agreement prior to such termination of this Agreement shall be capped
at an amount equal to the Deposit Escrow Amount, and (ii) no such termination shall relieve
Purchaser from any Liability hereunder for any and all breaches of this Agreement prior to such
termination of this Agreement (including if this Agreement is terminated by the Seller pursuant to
Section 9.1(g)) and the Seller shall be entitled to all remedies available at law or in equity,
including payment of the Deposit Escrow Amount pursuant to Section 2.9(c).

       9.3     Termination Fee and Expense Reimbursement.

               (a)     Subject to limitations set forth in the Bid Procedures Order, in consideration
of Purchaser having expended considerable time and expense in connection with this Agreement
and the negotiation thereof, and the identification and quantification of assets to be included in the
Transferred Assets, and to compensate Purchaser as a stalking-horse bidder, the Seller shall pay in
cash to Purchaser, by wire transfer of immediately available funds to the account specified by
Purchaser to the Seller in writing, an amount equal to the Termination Fee in the event that this



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Agreement is terminated pursuant to Section 9.1(b), in which case the Termination Fee shall be
due and payable simultaneously with any termination of this Agreement; provided, that, Purchaser
shall not be entitled to the fee described in this Section 9.3(a) to the extent Purchaser is in material
breach of this Agreement at the time this Agreement is terminated pursuant to Section 9.1(b) if
Seller has provided notice of such material breach to Purchaser and such material breach has
remained uncured for more than five (5) Business Days after Purchaser’s receipt of such notice.
The Termination Fee shall be payable solely from the proceeds of such Competing Bid or
Alternative Transaction. The Seller’s obligation to pay the Termination Fee pursuant to this
Section 9.3(a) shall survive termination of this Agreement and shall constitute an administrative
expense of the Seller under section 364(c)(1) of the Bankruptcy Code with priority over any and
all administrative expenses of the kind specified in section 503(b) or 507(b) of the Bankruptcy
Code.

                        (b)     Subject to limitations set forth in the Bid Procedures Order, in
consideration of Purchaser having expended considerable time and expense in connection with
this Agreement and the negotiation thereof, and the identification and quantification of assets to
be included in the Transferred Assets, if this Agreement is terminated in accordance with the terms
set forth in Section 9.1(b), then the Seller shall pay to Purchaser in cash not later than two Business
Days following receipt of documentation supporting the request for reimbursement of costs, fees
and expenses, the Expense Reimbursement, in an amount not to exceed $300,000, by wire transfer
of immediately available funds to an account specified by Purchaser to the Seller in writing;
provided, that, Purchaser shall not be entitled to the fee described in this Section 9.3(a) to the extent
Purchaser is in material breach of this Agreement at the time this Agreement is terminated pursuant
to Section 9.1(b) if Seller has provided notice of such material breach to Purchaser and such
material breach has remained uncured for more than five (5) Business Days after Purchaser’s
receipt of such notice. The Expense Reimbursement shall be payable solely from the proceeds of
such Competing Bid or Alternative Transaction. The Seller’s obligation to pay the Expense
Reimbursement pursuant to this Section 9.3(b)9.3(b) shall survive termination of this Agreement
and shall constitute an administrative expense of Seller under section 364(c)(1) of the Bankruptcy
Code with priority over any and all administrative expenses of the kind specified in section 503(b)
or 507(b) of the Bankruptcy Code.

               (c)      The Seller agrees and acknowledges that Purchaser’s due diligence, efforts,
negotiation, and execution of this Agreement have involved substantial investment of management
time and have required significant commitment of financial, legal, and other resources by
Purchaser, and that such due diligence, efforts, negotiation, and execution have provided value to
the Seller and, in the Seller’s reasonable business judgment, is necessary for the preservation of
the value of the Seller’s estate. The Seller further agrees and acknowledges that the Termination
Fee and the Expense Reimbursement are not a penalty, but rather represent liquidated damages
that are reasonable in relation to Purchaser’s efforts, Purchaser’s lost opportunities from pursuing
the Transactions, and the magnitude of the Transactions. The provision of the Termination Fee
and the Expense Reimbursement is an integral part of this Agreement, without which the Purchaser
would not have entered into this Agreement.

                                       ARTICLE 10.
                                     GENERAL PROVISIONS



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        10.1 Survival of Representations, Warranties and Covenants. All covenants and
agreements contained in this Agreement that by their term are to be performed in whole or in part,
or which prohibit actions, subsequent to Closing shall, solely to the extent such covenants and
agreements are to be performed, or prohibit actions, subsequent to Closing, survive the Closing in
accordance with their terms until fully performed or satisfied. All other covenants and agreements
contained herein, and all representations and warranties contained herein or in any certificated
deliveries hereunder shall not survive Closing and shall therefor terminate, including any Action
for damages in respect of any breach or inaccuracy thereof. Notwithstanding the foregoing, the
provisions of Section 2.9(c), Section 6.2, Section 9.2, this Article 10 and the Confidentiality
Agreement shall survive the Closing.

        10.2 Entire Agreement. This Agreement, including the Exhibits and Schedules hereto,
the Confidentiality Agreement and the Related Documents, contain the entire understanding of the
parties hereto with respect to the subject matter contained herein and therein. This Agreement
supersedes all prior and contemporaneous agreements, arrangements, contracts, discussions,
negotiations, undertakings and understandings (including any letters of intent or term sheets),
whether written or oral, among the parties with respect to such subject matter (other than, for the
avoidance of doubt, the Confidentiality Agreement and the Related Documents) or any prior
course of dealings. The parties hereto have voluntarily agreed to define their rights, Liabilities and
obligations respecting the Transactions exclusively in contract pursuant to the express terms and
conditions of this Agreement, the Confidentiality Agreement and the Related Documents, and the
parties hereto expressly disclaim that they are owed any duties or entitled to any remedies not
expressly set forth in this Agreement, the Confidentiality Agreement and the Related Documents.
Furthermore, the parties each hereby acknowledge that this Agreement, the Confidentiality
Agreement and the Related Documents embody the justifiable expectations of sophisticated parties
derived from arm’s-length negotiations, and all parties to this Agreement, the Confidentiality
Agreement and the Related Documents specifically acknowledge that no party has any special
relationship with another party that would justify any expectation beyond that of an ordinary
purchaser and an ordinary seller in an arm’s-length transaction. The sole and exclusive remedies
for any Related Claims shall be those remedies available at law or in equity for breach of contract
only (as such contractual remedies have been further limited or excluded pursuant to the express
terms of this Agreement); and the parties hereby agree that neither party hereto shall have any
remedies or cause of action (whether in contract or in tort or otherwise) of any statements,
communications, disclosures, failures to disclose, representations or warranties not set forth in this
Agreement.

        10.3 Amendment; No Waiver. This Agreement and the Related Documents may be
amended, supplemented or changed, and any provision hereof or thereof can be waived, only by a
written instrument making specific reference to this Agreement (and, if applicable, the Related
Documents) executed by the party against whom enforcement of any such amendment,
supplement, modification or waiver is sought. The waiver by any party of a breach of any provision
of this Agreement or the Related Documents shall not operate or be construed as a further or
continuing waiver of such breach or as a waiver of any other or subsequent breach. No failure on
the part of any party to exercise, and no delay in exercising any right, power or remedy hereunder
shall operate as a waiver thereof, nor shall a single or partial exercise of such right, power or
remedy by such party preclude any other or further exercise thereof or the exercise of any other
right, power or remedy.


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        10.4 Severability; Specific Versus General Provisions. Whenever possible, each
provision of this Agreement and the Related Documents shall be interpreted in such manner as to
be effective and valid under Applicable Law, but if any term or other provision of this Agreement
or the Related Documents is invalid, illegal, or incapable of being enforced by any Applicable Law
or public policy, all other terms or provisions of this Agreement and the Related Documents shall
nevertheless remain in full force and effect so long as the economic or legal substance of the
Transactions is not affected in any manner materially adverse to any party. Upon such
determination that any term or other provision is invalid, illegal, or incapable of being enforced,
in whole or in part, such term or provision is hereby deemed modified to give effect to the original
written intent of the parties to the greatest extent consistent with being valid and enforceable under
Applicable Law. No party hereto shall assert, and each party shall cause its respective Affiliates
or related parties not to assert, that this Agreement or any part hereof is invalid, illegal or
unenforceable. Notwithstanding anything to the contrary, to the extent that a representation,
warranty, covenant or agreement of the Seller contained in this Agreement or the Schedules (each,
a “Provision”) addresses a particular issue with specificity (a “Specific Provision”), and no breach
by the Seller exists under such Specific Provision, the Seller shall not be deemed to be in breach
of any other Provision (with respect to such issue) that addresses such issue with less specificity
than the Specific Provision, and if such Specific Provision is qualified or limited by the Seller’s
Knowledge, or in any other manner, no other Provision shall supersede or limit such qualification
in any manner.

        10.5 Expenses and Obligations. Except as otherwise provided in this Agreement, all
costs and expenses incurred by the parties hereto in connection with the Transactions, including
the costs, expenses and disbursements of counsel and accountants, shall be borne solely and
entirely by the party that has incurred such expenses; provided, however, that Purchaser shall pay,
or promptly reimburse the Seller for, any filing fees which relate to any required governmental
filing or notification and Purchaser shall pay any Transfer Taxes.

         10.6 Notices. All notices, consents, waivers, and other communications under this
Agreement or the Related Documents must be in writing and will be deemed to have been duly
given (a) if personally delivered, on the date of delivery, (b) if delivered by express courier service
of national standing for next day delivery (with charges prepaid), on the Business Day following
the date of delivery to such courier service, (c) if delivered by electronic mail (unless the sender
receives an automated message that the email has not been delivered) on the date of transmission
if on a Business Day before 5:00 p.m. local time of the business address of the recipient party
(otherwise on the next succeeding Business Day) and (d) if deposited in the United States mail,
first-class postage prepaid, on the date of delivery, in each case to the appropriate addresses or
email addresses set forth below (or to such other addresses as a party may designate by notice to
the other parties in accordance with this Section 10.6):

               If to Purchaser:

               JN Bidco LLC
               c/o Honigman LLP
               660 Woodward Ave #2290




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              Detroit, MI 48226
              Attention: Nick Gorga; Nicholas Pedersen; Scott Kitei
              Email: ngorga@honigman.com; npedersen@honigman.com;
              skitei@honigman.com


              with a copy to (which will not constitute notice):

              Honigman LLP
              660 Woodward Ave #2290
              Detroit, MI 48226
              Attention: Nick Gorga; Nicholas Pedersen; Scott Kitei
              Email: ngorga@honigman.com; npedersen@honigman.com;
              skitei@honigman.com

              If to the Seller:

              Impel Pharmaceuticals Inc.
              201 Elliott Avenue West
              Suite 260
              Seattle, WA 98101
              Attention: Len Paolillo
              Email: lpaolillo@impelpharma.com

              with a copy to (which will not constitute notice):

              Fenwick & West LLP
              401 Union Street
              5th Floor
              Seattle, WA 98101
              Attention: Alan Smith; Ethan Skerry
              Email: acsmith@fenwick.com; eskerry@fenwick.com

              and

              Sidley Austin LLP
              2021 McKinney Ave.
              Suite 2000
              Dallas, TX 75201
              Attention: Rakhee Patel
                           Samuel Newman
                           Jeri Leigh Miller
              Email: rpatel@sidley.com
                      sam.newman@sidley.com
                      jeri.miller@sidley.com




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        10.7 Counterparts. This Agreement may be executed in two or more counterparts (any
of which may be delivered by electronic transmission), each of which shall constitute an original,
and all of which taken together shall constitute one and the same instrument. The exchange of a
fully executed Agreement (in counterparts or otherwise) by electronic transmission in .PDF
format, or other agreed format shall be sufficient to bind the parties to the terms and conditions of
this Agreement. Minor variations in the form of the signature page, including footers from earlier
versions of this Agreement or any Related Document, shall be disregarded in determining the
party’s intent or the effectiveness of such signature.

        10.8 Governing Law. This Agreement, the Related Documents and all Related Claims
shall be governed by the internal laws of the State of Delaware (including its statute of limitations),
without giving effect to any choice or conflict of law principles or rules that would cause the
application of the Applicable Laws of any other jurisdiction.

       10.9    Submission to Jurisdiction; Consent to Service of Process.

                        (a)     Without limiting any party’s right to appeal any Order of the
Bankruptcy Court, (i) the Bankruptcy Court shall retain exclusive jurisdiction to interpret and/or
enforce the terms of this Agreement and to decide any claims or disputes which may arise or result
from, or be connected with, this Agreement, any Related Document, any breach or default
hereunder or thereunder, or the Transactions, and (ii) any and all proceedings related to the
foregoing shall be filed and maintained only in the Bankruptcy Court, and the parties hereby
consent to and submit to the jurisdiction and venue of the Bankruptcy Court and shall receive
notices at such locations as indicated in Section 10.6; provided, however, that if the Bankruptcy
Cases have closed, the parties agree to irrevocably submit to the exclusive jurisdiction of the of
the Court of Chancery of the State of Delaware or, to the extent the Court of Chancery of the State
of Delaware does not have subject matter jurisdiction, the federal courts of the United States of
America and the courts of the State of Delaware, in each case, located within the City of
Wilmington in the State of Delaware over all Related Claims, and each party hereto hereby
irrevocably agrees that all Related Claims may be heard and determined in such courts. The parties
hereto hereby irrevocably and unconditionally waive, to the fullest extent permitted by Applicable
Law, any objection which they may now or hereafter have to the laying of venue of any such
Related Claim brought in such court or any defense of inconvenient forum for the maintenance of
such dispute. Each of the parties hereto agrees that a judgment in any such dispute may be enforced
in other jurisdictions by suit on the judgment or in any other manner provided by Applicable Law.

                      (b)    Each of the parties hereto hereby consents to process being served
by any party to this Agreement in any Related Claim by the delivery of a copy thereof in
accordance with the provisions of Section 10.6 (other than by email) along with a notification that
service of process is being served in conformance with this Section 10.9(b). Nothing in this
Agreement will affect the right of any party to serve process in any other manner permitted by
Applicable Law.

     10.10 Waiver of Jury Trial. EACH PARTY HERETO ACKNOWLEDGES AND
AGREES THAT ANY CONTROVERSY WHICH MAY ARISE UNDER THIS AGREEMENT,
THE RELATED DOCUMENTS OR ANY RELATED CLAIMS IS LIKELY TO INVOLVE
COMPLICATED AND DIFFICULT ISSUES, AND THEREFORE IT HEREBY


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IRREVOCABLY AND UNCONDITIONALLY EXPRESSLY WAIVES ANY RIGHT IT MAY
HAVE TO A TRIAL BY JURY IN RESPECT OF ANY PROCEEDING OR RELATED CLAIM
BROUGHT BY OR AGAINST IT, DIRECTLY OR INDIRECTLY ARISING OUT OF OR
RELATING TO THIS AGREEMENT, THE RELATED DOCUMENTS OR ANY RELATED
CLAIMS.

      10.11 Rights Cumulative. All rights and remedies of each of the parties under this
Agreement and the Related Documents will be cumulative, and the exercise of one or more rights
or remedies will not preclude the exercise of any other right or remedy available under this
Agreement, the Related Documents or Applicable Law.

         10.12 Assignment. Except as otherwise provided herein, the provisions hereof shall inure
to the benefit of, and be binding upon, the successors by operation of law and permitted assigns of
the parties hereto. No assignment of this Agreement or any of the rights, interests or obligations
under this Agreement may be made by any party hereto at any time, whether or not by operation
of law, without the prior written consent of the Seller and Purchaser, and any attempted assignment
without the required consent shall be void; provided, however, that (a) Purchaser may assign (i)
any of its rights or delegate any of its duties under this Agreement to any of its Affiliates, and (ii)
its rights, but not its duties, under this Agreement to any of its financing sources and (b), the Seller
may assign any of its rights or delegate any of its duties under this Agreement (i) to any of its
Affiliates, (ii) to any creditor or group of creditors pursuant to an order of the Bankruptcy Court
entered in the Bankruptcy Cases, including Seller’s rights to payment hereunder and rights and
ability to enforce the terms of this Agreement and (iii) for collateral security purposes to any lender
of the Seller or its Affiliates; provided, further, however, that, in each case, such assignment shall
not release Purchaser from its obligations under this Agreement and the Seller shall have no
obligation to pursue remedies against any assignee of Purchaser before proceeding against
Purchaser for any breach of Purchaser’s obligations hereunder.




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        10.13 Specific Enforcement; Remedies. The parties hereto agree that irreparable
damage (for which monetary relief, even if available, would not be an adequate remedy) would
occur in the event that any of the provisions of this Agreement were not performed by the parties
hereto in accordance with their specific terms or were otherwise breached. It is accordingly agreed
that (i) Purchaser, on the one hand, and the Seller, on the other hand, shall be entitled to an
injunction or injunctions to prevent breaches of this Agreement and to enforce specifically the
terms and provisions hereof in any court of competent jurisdiction without proof of damages or
otherwise and that this shall include the right of the Seller to cause Purchaser to fully perform the
terms of this Agreement to the fullest extent permissible pursuant to this Agreement and
Applicable Laws and to thereafter cause this Agreement and the Transactions to be consummated
on the terms and subject to the conditions thereto set forth in this Agreement, and (ii) the right of
specific performance and other equitable relief is an integral part of the Transactions and without
that right, neither the Seller nor Purchaser would have entered into this Agreement. Remedies shall
be cumulative and not exclusive and shall be in addition to any other remedies which any party
may have under this Agreement. Each of the parties hereto hereby (A) waives any defenses in any
action for specific performance, including the defense that a remedy at law would be adequate,
(B) waives any requirement under any Applicable Law to post a bond or other security as a
prerequisite to obtaining equitable relief and (C) agrees not to assert that a remedy of specific
performance or other equitable relief is unenforceable, invalid, contrary to law or inequitable for
any reason, and not to assert that a remedy of monetary damages would provide an adequate
remedy or that the parties otherwise have an adequate remedy at law. Notwithstanding anything to
the contrary, in no event shall this Section 10.13 be used, alone or together with any other provision
of this Agreement, to require the Seller to remedy any breach of any representation or warranty of
the Seller.

         10.14 Third-Party Beneficiaries. Except as set forth in ARTICLE 2 (with respect to the
Seller), Section 10.15 (with respect to the Nonparty Affiliates), Section 10.16 (with respect to the
released parties identified therein), Section 10.17 (with respect to the Sellers’ Group Members)
and the next sentence, nothing in this Agreement, express or implied, is intended to confer upon
any Person other than the parties hereto any rights or remedies of any nature whatsoever under or
by reason of this Agreement. From and after the Closing, all of the Persons identified as third-
party beneficiaries in the first sentence of this Section 10.14 shall be entitled to enforce such
provisions and to avail themselves of the benefits of any remedy for any breach of such provisions,
all to the same extent as if such Persons were parties to this Agreement. The representations and
warranties in this Agreement are the product of negotiations among the parties hereto and are for
the sole benefit of the parties hereto. Any inaccuracies in such representations and warranties are
subject to waiver by the parties hereto in accordance with this Agreement without notice or
Liability to any other Person. In some instances, the representations and warranties in this
Agreement may represent an allocation among the parties hereto of risks associated with particular
matters regardless of the knowledge of any party hereto. Consequently, Persons other than the
parties hereto may not rely upon the representations and warranties in this Agreement as
characterizations of actual facts or circumstances as of the Agreement Date or as of any other date.

        10.15 No Personal Liability of Directors, Officers and Owners. All Related Claims
may be made only against (and are those solely of) the entities that are expressly identified as
parties in the preamble to this Agreement (the “Contracting Parties”). No Person who is not a
Contracting Party, including any current, former or future director, officer, employee, incorporator,


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member, partner, manager, stockholder, Affiliate, agent, attorney, representative or assignee of, or
any financial advisor or lender to, any Contracting Party, or any current, former or future director,
officer, employee, incorporator, member, partner, manager, stockholder, Affiliate, agent, attorney,
representative or assignee of, or any financial advisor or lender to, any of the foregoing
(collectively, “Nonparty Affiliates”), shall have any Liability pursuant to any Related Claim; and,
to the maximum extent permitted by Applicable Law, each Contracting Party hereby waives and
releases all such Liabilities, claims, causes of action, and obligations against any such Nonparty
Affiliates. Without limiting the foregoing, to the maximum extent permitted by Applicable Law,
(a) each Contracting Party hereby waives and releases any and all rights, claims, demands, or
causes of action that may otherwise be available at Applicable Law or in equity, or granted by
statute, to avoid or disregard the entity form of a Contracting Party or otherwise impose Liability
of a Contracting Party on any Nonparty Affiliate, whether granted by statute or based on theories
of equity, agency, control, instrumentality, alter ego, domination, sham, single business enterprise,
piercing the veil, unfairness, undercapitalization, or otherwise; and (b) each Contracting Party
disclaims any reliance upon any Nonparty Affiliates with respect to the performance of this
Agreement or any representation or warranty made in, in connection with, or as an inducement to
this Agreement or the Related Documents.

       10.16 General Release.

                        (a)     Effective as of the Closing, the Seller, on behalf of itself, its
Affiliates and each of their respective successors and assigns (each of the foregoing, a “Seller
Releasing Party”), hereby fully, irrevocably and unconditionally releases and forever discharges
Purchaser and its respective past and present directors, managers, officers, employees, agents,
stockholders, members, representatives and Affiliates from and against, and covenants that it will
not (directly or indirectly) assert any claim or proceeding of any kind before any Governmental
Authority based upon, any and all claims, Actions, causes of action, suits, rights, agreements,
Liabilities and demands whatsoever and all consequences thereof, known or unknown, actual or
potential, suspected or unsuspected, fixed or contingent, both in law and in equity, whether existing
as of the Closing or arising thereafter, that a Seller Releasing Party has or may have, now or in the
future, arising out of, relating to, or resulting from any act or omission, error, negligence, breach
of contract, tort, violation of law, matter or cause whatsoever from the beginning of time to the
Closing Date. The foregoing sentence shall not be deemed to be a release or waiver by a Seller
Releasing Party of any Action it may have under this Agreement or any of the other Related
Documents.

                         (b)     Effective as of the Closing, Purchaser, on behalf of itself, its
Affiliates and each of their respective successors and assigns (each of the foregoing, a “Purchaser
Releasing Party”), hereby fully, irrevocably and unconditionally releases and forever discharges
the Seller, the Seller’s Affiliates and its and their respective past and present directors, managers,
officers, agents, stockholders, members, representatives and Affiliates from and against, and
covenants that it will not (directly or indirectly) assert any claim or proceeding of any kind before
any Governmental Authority based upon, all claims, Actions, causes of action, suits, rights,
agreements, Liabilities and demands whatsoever and all consequences thereof, known or
unknown, actual or potential, suspected or unsuspected, fixed or contingent, both in law and in
equity, whether existing as of the Closing or arising thereafter, that a Purchaser Releasing Party
has or may have, now or in the future, arising out of, relating to, or resulting from any act or


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omission, error, negligence, breach of contract, tort, violation of law, matter or cause whatsoever
from the beginning of time to the Closing Date. The foregoing sentence shall not be deemed to be
a release or waiver by a Purchaser Releasing Party of any Action it may have under this Agreement
or any of the other Related Documents.

        10.17 Legal Representation. Purchaser and the Seller acknowledge and agree that the
Law Firms have represented the Seller Group in connection with the negotiation, preparation,
execution, delivery and performance of this Agreement and the Related Documents and the
consummation of the Transactions, and that the Seller, its Affiliates and its partners, officers,
directors and representatives (the “Seller Group Members”) have a reasonable expectation that
the Law Firms will represent them in connection with any Action involving any Seller Group
Member, on the one hand, and Purchaser or any of its Affiliates and representatives (the
“Purchaser Group Members”), on the other hand, arising under this Agreement, the Related
Documents or the Transactions. Purchaser hereby, on behalf of itself and the other Purchaser
Group Members, irrevocably: (a) acknowledges and agrees that any attorney-client privilege,
solicitor-client privilege, work product or other attorney-client or solicitor-client confidential
information (“Attorney-Client Information”) arising from communications prior to the Closing
between any Seller (including any one or more officers, directors or stockholders of such Seller),
on the one hand, and the Law Firms, on the other hand, are not included in the property, rights,
privileges, powers, franchises and other interests that are possessed by or vested in the Business
or the Transferred Assets, that any such Attorney-Client Information shall be deemed property of,
and controlled solely by, such Seller for the benefit and on behalf of the Seller Group Members
and, upon request, convey and transfer any Attorney-Client Information to the Seller; (b)
acknowledge and agree that the Seller Group Members shall have the right to retain, or cause the
Law Firm to retain, any such documentation or information in the possession of the Law Firms or
such Seller Group Members at the Closing; (c) agree not to access, retain or use any documentation
or information constituting Attorney-Client Information and that no Purchaser Group Member
shall have any right to waive any attorney-client privilege or other right to confidentiality with
respect to such Attorney-Client Information; (d) disclaim the right to assert a waiver by any Seller
Group Member with regard to the attorney-client privilege, solicitor-client privilege or other right
to confidentiality with respect to such Attorney-Client Information solely due to the fact that such
documentation or information is physically in the possession of Purchaser after the Closing; (e)
consent to the Law Firms’ representation after the Closing of any Seller Group Member in any
Action that may relate to a Purchaser Group Member or the Transactions and consent to and waive
any conflict of interest arising therefrom without the need for any future waiver or consent; and (f)
consent to the disclosure by the Law Firms to any Seller Group Member of any documentation or
information obtained by the Law Firms during the course of its representation of Seller or any
Affiliate prior to the Closing, whether related to this Agreement, the Related Documents, the
Transactions or otherwise, whether or not such disclosure is made prior to or after the Closing and
whether or not the documentation or information disclosed is subject to any attorney-client
privilege, solicitor-client privilege or confidentiality obligation to any Seller, any Affiliate of such
Seller or any other Person. In the event that any Action arises after the Closing between any
Purchaser Group Member and a Person other than a Seller Group Member, such Purchaser Group
Member shall not disclose any documentation or information that is subject to an attorney-client
privilege or other rights of confidentiality referenced in this Section 10.17 without the prior written
consent of the applicable Seller; provided, however, that if such Purchaser Group Member is
required by judicial order or other legal process to make such disclosure, such Purchaser Group


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Member shall promptly notify the applicable Seller in writing of such requirement (without making
disclosure) and shall provide such Seller with such cooperation and assistance as shall be necessary
to enable such Seller to prevent disclosure by reason of such attorney-client privilege, solicitor-
client privilege or other rights of confidentiality. This Section 10.17 is for the benefit of the Seller
Group Members and such Persons are intended third-party beneficiaries of this Section 10.17.



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                   IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
            executed as of the date first written above.


                                                             PURCHASER:


                                                             JN BIDCO LLC


                                                             By:
                                                                   Name: Ray Canole
                                                                   Title: Authorized Signatory




                                                             PARENT:


                                                             WOODWARD PHARMA SERVICES LLC


                                                             By:
                                                                   Name: Ray Canole
                                                                   Title: Authorized Signatory




                                             Signature Page to Asset Purchase Agreement
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                                       SELLER:


                                       IMPEL PHARMACEUTICALS INC.


                                       By:
                                             Name: Leonard Paolillo
                                             Title: Interim Chief Executive Officer




                       Signature Page to Asset Purchase Agreement
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                                  Exhibit 3

                                  Sale Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                         Chapter 11

    IMPEL PHARMACEUTICALS INC., et al. 1                           Case No. 23-80016 (SGJ)

                             Debtors.                              (Jointly Administered)


             NOTICE OF SALE, BID PROCEDURES, AUCTION, AND SALE HEARING

PLEASE TAKE NOTICE:

       On December 19, 2023 (the “Petition Date”), the debtors and debtors in possession in the
above-captioned chapter 11 cases (collectively, the “Debtors”) filed voluntary petitions for relief
under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Northern District of Texas (the “Court”).

         On December 20, 2023, the Debtors filed a motion [Docket No. 18] (the “Bid Procedures
Motion”) with the Court seeking entry of orders, among other things: (i)(a) approving procedures
for the solicitation of bids in connection with the proposed sale of substantially all of the Debtor’s
assets, (the “Bid Procedures”), (b) authorizing the Debtors to select JN Bidco LLC as the Stalking
Horse Purchaser substantially along the terms defined in the Stalking Horse APA and approving
Bid Protections, (c) establishing the dates and deadlines set forth in these Bid Procedures,
including the Bid Deadline, Auction, and Sale Hearing, (d) approving the form of Sale Notice, (e)
approving the Assumption and Assignment Procedures for the Designated Contracts (if any), (f)
approving the form of Assignment Notice, and (ii)(a) authorizing the sale of the Assets free and
clear of all pledges, liens, security interests, encumbrances, claims, charges, options, and interests
except to the extent otherwise set forth in the purchase agreement executed by the Debtors and the
Winning Bidder and (b) approving the assumption and assignment of Designated Contracts (if
any), and (iii) granting related relief.

        On [•], 2024, the Court entered the Order (I)(A) Approving the Bid Procedures;
(B) Authorizing the Debtors to Select JN Bidco LLC as the Stalking Horse Purchaser Substantially
Along the Terms Defined in the Stalking Horse APA and Approving Bid Protections; (C)
Establishing Bid Deadlines, an Auction, and a Sale Hearing;(D) Approving the Form and Manner
of Sale Notice; (E) Approving Assignment and Assumption Procedures; (F) Approving the Form
and Manner of Potential Assumption and Assignment Notice; and (II)(A) Authorizing the Sale of
Assets Free and Clear; (B) Approving the Assumption and Assignment of Designated Contracts;


1
 The Debtors in this chapter 11 case, together with the last four digits of the Debtor’s federal tax identification number,
are: Impel Pharmaceuticals Inc. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’ service
address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
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and (III) Granting Related Relief [Docket No. [•]] (the “Bid Procedures Order”), 2 which, among
other things, establishes key dates and deadlines related to the Auction for, and the Sale of, the
Assets. All interested bidders and parties in interest in the chapter 11 case should carefully
read the Bid Procedures Order and the Bid Procedures in their entirety.

                                     Participation in the Sale Process

       The Bid Procedures set forth the requirements for submitting a Qualified Bid and any
person interested in making an offer to purchase the Assets must strictly comply with the Bid
Procedures. Only Qualified Bids will be considered by the Debtors in accordance with the Bid
Procedures.

         Any interested bidder should contact Moelis & Company LLC as soon as practicable.

                                     Important Dates and Deadlines 3

       The Bid Procedures include a number of dates and deadlines that must be strictly complied
with, only a few of which are highlighted here:

•     Bid Deadline. The deadline to submit a qualified Bid is January 23, 2024, at 4:00 p.m.
      (prevailing Central Time).

•     Auction. The Auction (if any) will commence on January 29, 2024, at 9:00 am (prevailing
      Central Time) (which date may be modified by the Debtors in their business judgment with
      the consent of the Administrative Agent) virtually or at such other place as agreed by the
      Debtors, the Administrative Agent, and Committee, or approved by order of the Court, and of
      which the Debtors will notify the Auction Participants.

•     Deadline to Object to the Sale. Objections to the Sale (or the assumption and assignment of
      any Designated Contract) must be filed with the Court by January 25, 2024, at 4:00 p.m.
      (prevailing Central Time) and otherwise meet the requirements set forth in the Bid Procedures
      Order.

•     Sale Hearing. A hearing to consider approval of the proposed Sale will be held before the
      Court on February 1, 2024, at 9:30 a.m. (prevailing Central Time) in Courtroom #1, 14th
      Floor, Earle Cabell Federal Building, 1100 Commerce Street, Suite 1254, Dallas, Texas,
      75242. Participation in the hearing may be in person or by an audio and video
      connection, as set forth in the Bid Procedures Motion.




2
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Bid Procedures Motion,
the Bid Procedures, and the Bid Procedures Order, as applicable.
3
 The following dates and deadlines may be extended by the Debtors by filing a notice with the Court, pursuant to the
Bid Procedures.
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                    Consequences of Failing to Timely Assert an Objection

        Except as otherwise ordered by the Court, any party or entity that fails to timely make an
objection to the Sale on or before the objection deadline in accordance with the Bid Procedures
Order and this notice shall be forever barred from asserting any objection to the Sale, including
with respect to the transfer of the assets free and clear of all liens, claims, encumbrances, and other
interests.

                                      No Successor Liability

        By the Bid Procedures Motion, the Debtors are seeking to transfer the Assets to the
Winning Bidder free and clear of, among other things, any claim arising from any conduct of the
Debtors prior to the closing of the Sale, whether known or unknown, due or become due, accrued,
absolute, contingent or otherwise, so long as such claim arises out of or relates to events occurring
prior to the closing of the Sale. The Debtors are requesting the Court order that, as a result of the
Sale, the Winning Bidder will not be a successor to the Debtors by reason of any theory of law or
equity and the Winning Bidder will have no liability, except as expressly provided in the definitive
documentation for the Sale, for any liens, claims, encumbrances, and other interests against or in
the Debtors or their assets under any theory of law including successor liability theories.
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Dated: December [●], 2024
Dallas, Texas                              SIDLEY AUSTIN LLP

                                           /s/ [DRAFT]
                                           Samuel A. Newman (admitted pro hac vice)
                                           555 West Fifth Street
                                           Los Angeles, California 90013
                                           Telephone:    (213) 896-6000
                                           Facsimile:    (213) 896-6600
                                           Email:        sam.newman@sidley.com

                                           Rakhee V. Patel (TX Bar No. 00797213)
                                           Nathan C. Elner (admitted pro hac vice)
                                           Parker G. Embry (TX Bar No. 24126826)
                                           Chelsea M. McManus (TX Bar No. 24131499)
                                           2021 McKinney Avenue, Suite 2000
                                           Dallas, Texas 75201
                                           Telephone: (214) 981-3300
                                           Facsimile:    (214) 981-3400
                                           Email:         rpatel@sidley.com
                                                          nelner@sidley.com
                                                          parker.embry@sidley.com
                                                          cmcmanus@sidley.com

                                           Jackson T. Garvey (admitted pro hac vice)
                                           One South Dearborn
                                           Chicago, IL 60603
                                           Telephone:    (312) 853-7000
                                           Facsimile:    (312) 853-7036
                                           Email:        jgarvey@sidley.com

                                           Proposed Counsel to the Debtors and Debtors in
                                           Possession
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                                   Exhibit 4

                      Assumption and Assignment Procedures
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                         Chapter 11

    IMPEL PHARMACEUTICALS INC., et al. 1                           Case No. 23-80016 (SGJ)

                             Debtors.                              (Jointly Administered)


                        ASSUMPTION AND ASSIGNMENT PROCEDURES

        On December 20, 2023, the debtors and debtors in possession in the above-captioned
chapter 11 cases (collectively, the “Debtors”) filed with the United States Bankruptcy Court for
the Northern District of Texas (the “Court”) a motion (the “Bid Procedures Motion”) seeking entry
of orders, among other things: (i)(a) approving procedures for the solicitation of bids in connection
with the proposed sale of substantially all of the Debtor’s assets, (the “Bid Procedures”), (b)
authorizing the Debtors to select JN Bidco LLC as the Stalking Horse Purchaser substantially
along the terms defined in the Stalking Horse APA and approving Bid Protections, (c) establishing
the dates and deadlines set forth in these Bid Procedures, including the Bid Deadline, Auction, and
Sale Hearing, (d) approving the form of Sale Notice, (e) approving the Assumption and
Assignment Procedures for the Designated Contracts (if any), (f) approving the form of
Assignment Notice, and (ii)(a) authorizing the sale of the Assets free and clear of all pledges, liens,
security interests, encumbrances, claims, charges, options, and interests except to the extent
otherwise set forth in the purchase agreement executed by the Debtors and the Winning Bidder
and (b) approving the assumption and assignment of Designated Contracts (if any), and (iii)
granting related relief. On [•], 2024, the Court entered the Order (I)(A) Approving the Bid
Procedures; (B) Authorizing the Debtors to Select JN Bidco LLC as the Stalking Horse Purchaser
substantially along the terms defined in the Stalking Horse APA and Approving Bid Protections,
(C) Establishing Bid Deadlines, an Auction, and a Sale Hearing;(D) Approving the Form and
Manner of Sale Notice; (E) Approving Assignment and Assumption Procedures; (F) Approving the
Form and Manner of Potential Assumption and Assignment Notice; and (II)(A) Authorizing the
Sale of Assets Free and Clear; (B) Approving the Assumption and Assignment of Designated
Contracts; and (III) Granting Related Relief [Docket No. [•]] (the “Bid Procedures Order”), 2
approving, among other things, the procedures in connection with the assumption and assignment
of Designated Contracts (if any) set forth below (the “Assumption and Assignment Procedures”).

1.           The Assumption and Assignment Procedures are as follows:


1
 The Debtors in this chapter 11 case, together with the last four digits of the Debtor’s federal tax identification number,
are: Impel Pharmaceuticals Inc.. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’ service
address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
2
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Bid Procedures Motion,
the Bid Procedures, and the Bid Procedures Order, as applicable.
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     a.    The Cure Notice. On or before January 5, 2024 (the “Initial Cure Notice
           Deadline”), the Debtors shall file with the Court and serve on each counterparty
           (each, a “Counterparty,” and collectively, the “Counterparties”) to an executory
           contract or unexpired lease that potentially could be assumed and assigned in
           connection with the sale of Assets (collectively, the “Executory Contracts or
           Unexpired Leases”) a notice setting forth (a) each of the Executory Contracts and
           Unexpired Leases that potentially could be assumed and assigned in connection
           with the sale of Assets, including the name of each Counterparty (the “Potential
           Assumed Contracts”), and (b) the amount of cure owed thereunder according to the
           Debtors’ books and records (the “Cure Notice”).

     b.    The Cure Objection. The Cure Notice shall include, without limitation, (a) a list
           of the Potential Assumed Contracts, (b) the cure amount (each, a “Cure Amount”),
           if any, that the Debtors reasonably believe is required to be paid to the applicable
           Counterparty under section 365(b)(1)(A) and (B) of the Bankruptcy Code for each
           of the Potential Assumed Contracts listed, (c) an express disclaimer that the
           assumption or assignment of any Executory Contracts or Unexpired Leases is not
           guaranteed and is subject to Court approval, (d) the Cure Objection Deadline (as
           defined below), and (e) the date, time, and location of the Sale Hearing. If a
           Counterparty objects to (i) the Cure Amount for its Potential Assumed Contract or
           (ii) the provision of adequate assurance of future performance, the Counterparty
           must file with the Court and serve on the Objection Notice Parties (as defined
           below) a written objection (such objection to adequate assurance of future
           performance, an “Adequate Assurance Objection” and any other such objection, a
           “Cure Objection”). If a Potential Assumed Contract is designated by the Winning
           Bidder (or Stalking Horse Bidder, as applicable) as an executory contract or
           unexpired lease it wishes to have assumed and assigned in connection with the Sale
           (the “Designated Contracts”), then unless a Counterparty properly and timely files
           and serves a Cure Objection pursuant to the Cure Notice, the Counterparty will
           receive payment from the Winning Bidder of the Cure Amount (if any) as set forth
           in the Cure Notice consistent with the terms and procedures set forth in the Stalking
           Horse Bidder’s or Winning Bidder’s asset purchase agreement, as applicable.

     c.    The Cure Objection Deadline. Any Cure Objection shall: (i) be in writing;
           (ii) comply with the Bankruptcy Rules and the Bankruptcy Local Rules; (iii) be filed
           with the Clerk of the Court, by electronic submission through PACER (Public
           Access to Court Electronic Records at https://ecf.txnb.uscourts.gov/), or if
           submitted through non- electronic means, by U.S. Mail or other hand delivery
           system at the following address: United States Bankruptcy Court, 1100 Commerce
           St, #5300, Dallas, TX 75242, on or before 4:00 p.m. (CT) on January 26, 2024
           (the “Cure Objection Deadline”); (iv) be served, so as to be actually received on or
           before the Cure Objection Deadline, upon the Objection Notice Parties (as defined
           below) by email; and (v) state with specificity the legal and factual grounds for such
           objection, including, without limitation, the Cure Amounts the Counterparty
           believes is required to cure defaults under the relevant Executory Contracts or
           Unexpired Leases. Any objections to adequate assurance of performance by such
           Stalking Horse Bidder shall be filed by the Cure Objection Deadline. Any Adequate
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           Assurance Objection must be filed and in the same manner as a Cure Objection no
           later than 4:00 p.m. (CT) on January 30, 2024.

     d.    The Objection Notice Parties. The “Objection Notice Parties” are as follows:
           (i) proposed counsel to the Debtors, Sidley Austin LLP, Attn: Rakhee V. Patel
           (rpatel@sidley.com) and Jackson T. Garvey (jgarvey@sidley.com), (ii) proposed
           special corporate counsel to the Debtors, Fenwick & West, LLP, Attn: Alan Smith
           (acsmith@fenwick.com), Ethan Skerry (eskerry@fenwick.com), and Matthew
           McCabe (mmccabe@fenwick.com); (iii) counsel to any official committee of
           unsecured creditors appointed in the Debtors’ chapter 11 cases; (iv) the Office of
           the United States Trustee, 1100 Commerce Street, Room 976, Dallas, Texas 75242,
           Attn: Lisa L. Lambert (Lisa.L.Lambert@usdoj.gov) and Erin Schmidt
           (erin.schmidt2@usdoj.gov); and (v) counsel to the Stalking Horse Bidder,
           Honigman LLP, Attn: Scott Kitei (skitei@honigman.com) and Gray Reed, Attn:
           Aaron Kaufman (akaufman@grayreed.com).

     e.    The Supplemental Cure Notice. If after the Initial Cure Notice Deadline
           additional executory contracts or unexpired leases of the Debtors are determined to
           be Designated Contracts (such additional contracts, the “Additional Contracts”), as
           soon as practicable thereafter, the Debtors shall file with the Court and serve, by
           overnight delivery, on the Counterparties a supplemental notice (the “Supplemental
           Cure Notice”), and such Counterparties shall file a Cure Objection to the
           Supplemental Cure Notice (the “Supplemental Cure Objection”) not later than
           fourteen (14) days following the date of service of such Supplemental Cure
           Notice. The Debtors may file with the Court and serve Supplemental Cure Notices
           until such time as the closing of the Sale.

     f.    The Notice of Winning Bid. As set forth in the Bid Procedures, as soon as
           reasonably practicable after the conclusion of the Auction, the Debtors shall file
           with the Court a notice identifying the Winning Bidder (a “Notice of Winning
           Bid”), which shall set forth, among other things, the Designated Contracts and
           applicable Cure Amounts and a certification by the Debtors that the Debtors have
           provided, or will provide, in coordination with the proposed assignee, the Winning
           Bidder’s Adequate Assurance Information to each affected Counterparty on a
           confidential basis.

     g.    The Assignment Notice. As soon as reasonably practicable after filing the Notice
           of Winning Bid, the Debtors will cause to be served by overnight mail upon each
           affected Counterparty and its counsel (if known) a notice, substantially in the form
           attached to the Bid Procedures Order as Exhibit 5 (the “Assignment Notice”),
           which shall: (i) identity the Winning Bidder(s); (ii) identify the Designated
           Contracts; (iii) identify the applicable Cure Amounts for each Designated Contract;
           (iv) expressly state that assumption or assignment of an Executory Contract or
           Unexpired Lease is not guaranteed and is subject to Court approval; (v) prominently
           display the deadline to object solely on the basis of adequate assurance of future
           performance by no later than the Post-Auction Objection Deadline, or January 30,
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           2024, at 4:00 p.m. (prevailing Central Time); and (vi) prominently display the time,
           date, and location of the Sale Hearing.

     h.    Reservation of Rights. At the Sale Hearing, the Debtors will seek Court approval
           of their assumption and assignment to any Winning Bidder of only those Executory
           Contracts or Unexpired Leases that have been selected by any Winning Bidder to
           be Designated Contracts. The Debtors and their estates reserve any and all rights
           with respect to any Executory Contracts or Unexpired Leases that are not ultimately
           designated as Designated Contracts.

     i.    No Cure Objections. If no Cure Objection or Supplemental Cure Objection is
           timely received with respect to an Executory Contract or Unexpired Lease
           designated by the Stalking Horse Bidder, if any, or Winning Bidder as a Designated
           Contract: (i) the Counterparty to such Designated Contract shall be deemed to have
           consented to the assumption by the Debtors and assignment to the Winning Bidder
           of the Designated Contract, and be forever barred from asserting any objection with
           regard to such assumption and assignment (including, without limitation, with
           respect to adequate assurance of future performance by the Stalking Horse Bidder
           or Winning Bidder, as applicable); (ii) any and all defaults under the Designated
           Contract and any and all pecuniary losses related thereto shall be deemed cured and
           compensated pursuant to section 365(b)(1)(A) and (B) of the Bankruptcy Code; and
           (iii) the Cure Amount for such Designated Contract shall be controlling,
           notwithstanding anything to the contrary in such Designated Contract, or any
           other related document, and the Counterparty shall be deemed to have consented
           to the Cure Amount and shall be forever barred from asserting any other claims
           related to such Designated Contract against the Debtors and their estates or any
           Winning Bidder, or the property of any of them, that existed prior to the entry of
           the Sale Order.

     j.    Dispute Resolution. To the extent that the parties are unable to consensually
           resolve any Cure Objection or Supplemental Cure Objection prior to the
           commencement of the Sale Hearing, including, without limitation, any dispute with
           respect to the cure amount required to be paid to the applicable Counterparty under
           section 365(b)(1)(A) and (B) of the Bankruptcy Code (any such dispute, a “Cure
           Dispute”), such Cure Objection or Supplemental Cure Objection will be
           adjudicated at the Sale Hearing or at such other date and time as may be determined
           by the Debtors or fixed by the Court; provided, however, that to the extent that any
           Cure Dispute cannot be resolved by the parties, such Designated Contract shall be
           assumed and assigned only upon satisfactory resolution of the Cure Dispute, to be
           determined in the Stalking Horse Bidder’s (if applicable) or other Winning Bidder’s
           reasonable discretion. To the extent a Cure Dispute exists, the Designated Contract
           may be conditionally assumed and assigned, subject to the consent of the Stalking
           Horse Bidder, if any, or other Winning Bidder, pending a resolution of the Cure
           Dispute after notice and a hearing. If a Cure Dispute is not satisfactorily resolved,
           the Stalking Horse Bidder, if any, or other Winning Bidder may determine that such
           Designated Contract should be rejected and not assigned, in which case the Stalking
           Horse Bidder, if any, or other Winning Bidder will not be responsible for any Cure
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             Amounts in respect of such contract unless otherwise provided in the applicable
             asset purchase agreement.

2.    Notwithstanding anything to the contrary herein, if after the Sale Hearing or the entry of
      the Sale Order additional executory contracts or unexpired leases of the Debtors are
      determined to be Designated Contracts, as soon as practicable thereafter, the Debtors shall
      file with the Court and serve, by overnight delivery, on the Counterparties a supplemental
      Assignment Notice (the “Supplemental Assignment Notice”), and such Counterparties
      shall file any objections not later than twenty-one (21) days thereafter. If no objection is
      timely received, the Debtors shall be authorized to assume and assign such Designated
      Contracts included on the Supplemental Assignment Notice to the Stalking Horse Bidder,
      if any, or any Winning Bidder, without further notice to creditors or other parties in interest
      and without the need for further order of the Court, and such assumption and assignment
      shall be subject to the terms of the Sale Order.

3.    Counterparties to the Designated Contracts may request adequate assurance of future
      performance by the Winning Bidder or Backup Bidder by contacting counsel to the
      Debtors, Sidley Austin LLP, 2021 McKinney Ave #2000, Dallas, TX 75201, Attn: Rakhee
      V. Patel (rpatel@sidley.com) and Jackson T. Garvey (jgarvey@sidley.com). Such
      adequate assurance may be provided on a confidential basis for all nonpublic information.

4.    The Winning Bidder will pay undisputed cure amounts consistent with the terms and
      procedures set forth in the Winning Bidder’s asset purchase agreement.

5.    Except as otherwise ordered by the Court, any party or entity that fails to timely object to
      the assumption and assignment of a Designated Contract on or before the objection
      deadline in accordance with the Bid Procedures Order shall be forever barred from
      asserting any objection to the assumption and assignment of such Designated Contract, the
      proposed cure cost, or adequate assurance of future performance. Any counterparty to a
      Designated Contract that fails to object to the proposed assumption and assignment by the
      applicable objection deadline will be deemed to assent to the assumption of the Designated
      Contract on the terms set forth in the Assignment Notice.

6.    The inclusion of an Executory Contract or Unexpired Lease, or Cure Amounts with respect
      thereto on a Cure Notice, a Supplemental Cure Notice, or an Assignment Notice, shall not
      constitute or be deemed a determination or admission by the Debtors, the Stalking Horse
      Purchaser, if any, the Winning Bidder(s), or any other party in interest that such contract or
      lease is an executory contract or unexpired lease within the meaning of the Bankruptcy
      Code. The Debtors reserve all of their rights, claims, and causes of action with respect to
      each Executory Contract and Unexpired Lease listed on a Cure Notice, a Supplemental
      Cure Notice, or an Assignment Notice. The Debtors’ inclusion of any Executory Contract
      or Unexpired Lease on the Cure Notice, a Supplemental Cure Notice, or an Assignment
      Notice shall not be a guarantee that such Executory Contract or Unexpired Lease, Potential
      Assumed Contract, or Designated Contract, ultimately will be assumed or assumed and
      assigned.
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7.    Assumption and assignment of any Designated Contract shall result in the full release
      and satisfaction of any cures, claims, or defaults, whether monetary or nonmonetary,
      including defaults of provisions restricting the change in control or ownership interest
      composition or any bankruptcy-related defaults, arising at any time prior to the
      effective date of assumption. Any and all proofs of claim based upon executory
      contracts or unexpired leases that have been assumed in the chapter 11 cases,
      including pursuant to the Sale Order, shall be deemed disallowed and expunged as of
      the later of (1) the date of entry of an order of the Court (including the Sale Order)
      approving such assumption and (2) the effective date of such assumption without the
      need for any objection or any further notice to or action, order, or approval of the
      Court.

 Dated: [●], 2024
 Dallas, Texas                                    SIDLEY AUSTIN LLP

                                                  /s/ [DRAFT]
                                                  Samuel A. Newman (admitted pro hac vice)
                                                  555 West Fifth Street
                                                  Los Angeles, California 90013
                                                  Telephone:    (213) 896-6000
                                                  Facsimile:    (213) 896-6600
                                                  Email:        sam.newman@sidley.com

                                                  Rakhee V. Patel (TX Bar No. 00797213)
                                                  Nathan C. Elner (admitted pro hac vice)
                                                  Parker G. Embry (TX Bar No. 24126826)
                                                  Chelsea M. McManus (TX Bar No. 24131499)
                                                  2021 McKinney Avenue, Suite 2000
                                                  Dallas, Texas 75201
                                                  Telephone: (214) 981-3300
                                                  Facsimile:    (214) 981-3400
                                                  Email:         rpatel@sidley.com
                                                                 nelner@sidley.com
                                                                 parker.embry@sidley.com
                                                                 cmcmanus@sidley.com

                                                  Jackson T. Garvey (admitted pro hac vice)
                                                  One South Dearborn
                                                  Chicago, IL 60603
                                                  Telephone:    (312) 853-7000
                                                  Facsimile:    (312) 853-7036
                                                  Email:        jgarvey@sidley.com

                                                  Proposed Counsel to the Debtors and Debtors in
                                                  Possession
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                                  Exhibit 5

                              Assignment Notice
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                         Chapter 11

    IMPEL PHARMACEUTICALS INC., et al. 1                           Case No. 23-80016 (SGJ)

                             Debtors.                              (Jointly Administered)


     NOTICE OF ASSUMPTION AND ASSIGNMENT OF DESIGNATED CONTRACTS

PLEASE TAKE NOTICE:

        On December 20, 2023, the debtors and debtors in possession in the above-captioned
chapter 11 cases (collectively, the “Debtors”) filed with the United States Bankruptcy Court for
the Northern District of Texas (the “Court”) a motion (the “Bid Procedures Motion”) seeking entry
of orders, among other things: (i)(a) approving procedures for the solicitation of bids in connection
with the proposed sale of substantially all of the Debtor’s assets, (the “Bid Procedures”), (b)
authorizing the Debtors to select JN Bidco LLC as the Stalking Horse Purchaser substantially
along the terms defined in the Stalking Horse APA and approving Bid Protections, (c) establishing
the dates and deadlines set forth in these Bid Procedures, including the Bid Deadline, Auction, and
Sale Hearing, (d) approving the form of Sale Notice, (e) approving the Assumption and
Assignment Procedures for the Designated Contracts (if any), (f) approving the form of
Assignment Notice, and (ii)(a) authorizing the sale of the Assets free and clear of all pledges, liens,
security interests, encumbrances, claims, charges, options, and interests except to the extent
otherwise set forth in the purchase agreement executed by the Debtors and the Winning Bidder
and (b) approving the assumption and assignment of Designated Contracts (if any), and (iii)
granting related relief.

        On [•], 2024, the Court entered the Order (I)(A) Approving the Bid Procedures;
(B) Authorizing the Debtors to Select JN Bidco LLC as the Stalking Horse Purchaser Substantially
Along the Terms Defined in the Stalking Horse APA and Approving Bid Protections (C)
Establishing Bid Deadlines, an Auction, and a Sale Hearing;(D) Approving the Form and Manner
of Sale Notice; (E) Approving Assignment and Assumption Procedures; (F) Approving the Form
and Manner of Potential Assumption and Assignment Notice; and (II)(A) Authorizing the Sale of
Assets Free and Clear; (B) Approving the Assumption and Assignment of Designated Contracts;
and (III) Granting Related Relief [Docket No. [•]] (the “Bid Procedures Order”), 2 approving,
among other things, the Assumption and Assignment Procedures, which establish the process by

1
 The Debtors in this chapter 11 case, together with the last four digits of the Debtor’s federal tax identification number,
are: Impel Pharmaceuticals Inc. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’ service
address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
2
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Bid Procedures Motion,
the Bid Procedures, and the Bid Procedures Order, as applicable.
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which any executory contracts designated by the Winning Bidder shall be assumed and assigned
to the Winning Bidder. All recipients of this notice should carefully read the Bid Procedures
Order and the Assumption and Assignment Procedures in their entirety.

       On [•], 2024, the Debtors filed with the Court the notice attached as Schedule 1, disclosing
the Winning Bid [and Backup Bid], which included a list of Designated Contracts (the “Notice of
Winning Bid”). The inclusion of a contract shall not (a) obligate the Debtors to assume or assign
such contract or (b) constitute any admission or agreement by the Debtors that such contract is an
executory contract. Only those contracts that are included on a schedule of assumed and acquired
contracts attached to definitive documentation in the Sale that is approved by the Sale Order will
be assumed and assigned.

                 Assignment of Designated Contracts to the Winning Bidder

        You are receiving this notice (the “Assignment Notice”) because you are a counterparty to
the executory contract(s) listed on Schedule 2, which the Debtors are proposing to assume and
assign to the Winning Bidder in connection with the Sale.

       A.      Cure Amounts

         Section 365(b)(1) of the Bankruptcy Code requires a debtor to cure, or provide adequate
assurance that it will promptly cure, any defaults under executory contracts and unexpired leases
at the time of assumption.

        In accordance with the assumption and assignment procedures authorized by the Court
pursuant to the Bid Procedures Order (the “Assumption and Assignment Procedures”), on January
5, 2024, the Debtors filed with the Court and served upon the non-Debtor counterparties to the
Designated Contracts, one or more notices (each, a “Cure Notice”) setting forth that such executory
contract or unexpired lease may be assumed or assigned to the Purchaser and the applicable cure
amount the Debtors believe is necessary to satisfy to assume such executory contract or unexpired
lease in accordance with section 365 of the Bankruptcy Code. The deadline to object to that Cure
Notice was on January 26, 2024 (the “Cure Objection Deadline”).

        Schedule 2 sets forth the cure amount (if any) of Designated Contracts according to the
Debtors’ records that is required pursuant to section 365(a) of the Bankruptcy Code. The cure
amounts set forth in Schedule 2 shall be controlling as of the date of this Assignment Notice; the
non-debtor party to each unexpired lease set forth on Schedule 2 stipulated that the Cure Amount
set forth in this Assignment Notice is correct in accordance with the Assignment and Assumption
Procedures; the non-debtor party shall be forever barred, estopped, and enjoined from asserting or
claiming that any additional amounts are due or other defaults exist.

        Schedule 3 sets forth the proposed cure amount (if any) of Designated Contracts not
previously included on a Cure Notice according to the Debtors’ records that is required pursuant
to section 365(a) of the Bankruptcy Code. The proposed cure amount represents all monetary
defaults of any nature that the Debtors believe are or may be outstanding under the
Designated Contract prior to the closing of the Sale. If you believe the proposed cure amount
is listed with an incorrect amount, you must object in accordance with the procedures
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described in this notice by no later than the objection deadline set forth below under the
heading “Important Dates and Deadlines.”

         B.      Adequate Assurance of Future Performance

       Section 365(a) of the Bankruptcy Code conditions assignment on the Winning Bidder
providing “adequate assurance of future performance.” Counterparties to Designated Contracts
may request adequate assurance of future performance by the Winning Bidder or Backup Bidder
by contacting counsel to the Debtors, Sidley Austin LLP, 2021 McKinney Ave #2000, Dallas, TX
75201, Attn: Rakhee V. Patel (rpatel@sidley.com) and Jackson T. Garvey (jgarvey@sidley.com).
Such adequate assurance may be provided on a confidential basis for all nonpublic information. If
you object to assumption and assignment of your Designated Contract based solely on the
adequate assurance of future performance, you must object in accordance with the
procedures described in this notice by no later than the objection deadline set forth below
under the heading “Important Dates and Deadlines.”

         To the maximum extent permitted by law, to the extent any provision in any Designated
Contract assumed and assigned pursuant to the Sale Order restricts or prevents, or purports to
restrict or prevent, or is breached or deemed breached by, the assumption or assumption and
assignment of such Designated Contract (including any “change in control” provision), then such
provision shall be deemed modified such that the transactions contemplated by the Sale Order and
any definitive documentation for the Sale shall not entitle the non-Debtor party to terminate such
Designated Contract or to exercise any other default-related rights with respect, unless such
non-Debtor party properly and timely files an objection and such objection is not overruled,
withdrawn or otherwise resolved.

                                         Important Dates and Deadlines 3

       The Bid Procedures Order and Assumption and Assignment Procedures include a number
of dates and deadlines, only a few of which are highlighted here:

•     Deadline to Object to the Sale. Objections to the Sale (or the assumption and assignment of
      any Designated Contract, including objections to the proposed cure amount of the Designated
      Contracts on Schedule 3 must be filed with the Court by January 25, 2024, at 4:00 p.m.
      (prevailing Central Time) and otherwise meet the requirements set forth in the Bid Procedures
      Order. Objections solely based on the adequate assurance of future performance by the
      Winning Bidder or Backup Bidder must be filed with the Court by January 30, 2024, at 4:00
      p.m. (prevailing Central Time).

•     Any objection to the assumption and assignment of a Designated Contract must: (a) be in
      writing; (b) comply with the Bankruptcy Code, Bankruptcy Rules, the Bankruptcy Local Rules,
      and any orders of the Court; (c) state the name and address of the objecting party and identify
      the Designated Contract at issue; (d) state, with particularity, the basis and nature of any
      objection to the assumption and assignment, cure cost, and/or adequate assurance of future

3
 The following dates and deadlines may be extended by the Debtors by filing a notice with the Court, pursuant to the
Bid Procedures.
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    performance; and (e) be filed with the Court with proof of service thereof so as to be actually
    received on or before the objection deadline.

•   Sale Hearing. A hearing to consider approval of the proposed Sale (including assignment of
    Designated Contracts) will be held before the Court on February 1, 2024, at 9:30 a.m.
    (prevailing Central Time) in Courtroom #1, 14th Floor, Earle Cabell Federal Building, 1100
    Commerce Street, Suite 1254, Dallas, Texas, 75242. Participation in the hearing may be in
    person or by an audio and video connection, as set forth in the Bid Procedures Motion.

                    Consequences of Failing to Timely Assert an Objection

         Except as otherwise ordered by the Court, any party or entity that fails to timely make an
objection to the Sale on or before the objection deadline in accordance with the Bid Procedures
Order and this notice shall be forever barred from asserting any objection to the Sale, including
with respect to (a) the transfer of the assets free and clear of all liens, claims, encumbrances, and
other interests and (b) the assumption and assignment of a Designated Contract, proposed cure
amount, or adequate assurance of future performance. Any counterparty to a Designated Contract
that fails to object to the proposed assumption and assignment by the objection deadline will be
deemed to assent to the assumption of the Designated Contract on the terms defined in this Notice.

        Assumption and assignment of any Designated Contract shall result in the full release
and satisfaction of any cures, claims, or defaults, whether monetary or nonmonetary,
including defaults of provisions restricting the change in control or ownership interest
composition or any bankruptcy-related defaults, arising at any time prior to the effective
date of assumption. Any and all proofs of claim based upon executory contracts or unexpired
leases that have been assumed in the chapter 11 cases, including pursuant to the Sale Order,
shall be deemed disallowed and expunged as of the later of (1) the date of entry of an order
of the Court (including the Sale Order) approving such assumption and (2) the effective date
of such assumption without the need for any objection or any further notice to or action,
order, or approval of the Court.
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Dated: [●], 2024
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                                SCHEDULE 1

                             Notice of Winning Bid
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                                 SCHEDULE 2

 Designated Contract(s)        Counterparty Name
                                                     Proposed Cure Cost (if any)
 Title and/or Description         and Address
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                                SCHEDULE 3

                                [Forthcoming]
